          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 1 of 229




                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

    KINNIE MA IRA; JEFFERY S. GRAMM IRA;
    STACY GREASOR IRA: VICTOR WADE IRA;
    KAZUE BELL; DEAN CROOKS; CORRI RENE
    EDEN; CATHERINE KOMINOS; KAREN LOCH;                             Cause No. 19-CV-1050-LY
    ROBERT A. STONE LIVING TRUST; SHIRLEY
    STONE LIVING TRUST; THE STANLEY S. AND                           CONSOLIDATED
    MILLICENT R. BARASCH LIVING TRUST;                               COMPLAINT
    AND LORETTA DEHAY,
                                                                     JURY TRIAL DEMANDED

      Plaintiffs,

          -v-

    ASCENDANT CAPITAL, LLC, et al.,

      Defendants.


         1.         Plaintiffs Kinnie Ma IRA, Dean Crooks, Jeffery S. Gramm IRA, Stacy Greasor

IRA, Corri Rene Eden, Catherine Kominos, Karen Loch, Robert A. Stone Living Trust, Shirley

Stone Living Trust, Victor Wade IRA, Kazue M. Bell (collectively, the “Kinnie Ma Plaintiffs”),

The Stanley S. and Millicent R. Barasch Living Trust (the “Barasch Trust”) through Jeffrey

Barasch and Phillip Barasch, in their capacities as powers of attorney and/or trustees of the Barasch

Trust, and Loretta DeHay (collectively, the Barasch Plaintiffs,” and with the Kinnie Ma Plaintiffs,

referred to herein collectively as “Plaintiffs”), individually and on behalf of all other similarly

situated persons who purchased or otherwise acquired securities issued by the GPB Funds (as

defined below), by and through Plaintiffs’ undersigned counsel, file this consolidated class action

complaint (the “Consolidated Complaint”)1 against Ascendant Capital, LLC (“Ascendant


1
 This Consolidated Complaint is filed pursuant to the Court’s Order Consolidating Cases dated June 1, 2022 (Doc.
898) and consolidates the allegations and claims of two pending complaints: Kinnie Ma Individual Retirement
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 2 of 229




Capital”) and Ascendant Alternative Strategies, LLC (“Ascendant Alternative Strategies” or

“Ascendant Strategies”) (collectively, “Ascendant”), GPB Capital Holdings, LLC (“GPB” or

“GPB Capital”), Axiom Capital Management, Inc. (“Axiom”), DJ Partners LLC (“DJ Partners”),

MR Ranger LLC (“MR Ranger”), David Gentile (“Gentile”), Jeffry Schneider (“Schneider”),

Mark D. Martino (“Martino”), Michael Frost (“Frost”), Dotty Bollinger (“Bollinger”), Evan

Myrianthopolous (“Myrianthopolous”), Scott Naugle (“Naugle”), GPB Holdings, LP (“GPB

Holdings” or “Holdings”), GPB Holdings Qualified, LP (“GPB Holdings Qualified” or “Holdings

Qualified”), GPB Holdings II, LP (“GPB Holdings II” or “Holdings II”), GPB Automotive

Portfolio, LP (“GPB Automotive” or “Automotive”), GPB Cold Storage, LP (“GPB Cold Storage”

or “Cold Storage”), GPB NYC Development, LP (“GPB NYC Development” or “NYC

Development”), GPB Waste Management, LP (also known as Armada Waste Management LP)

(“GPB Waste Management” or “Waste Management”), GPB Managed IT Fund (n/k/a “Austin

Lake Technologies”), and GPB Holdings III, LP (“GPB Holdings III” or “Holdings III”)

(collectively referred to herein as the “GPB Funds,” the “Funds” or the “Fund Defendants”),

Highline Management, Inc. (“Highline”), RSM US LLP (formally known as McGladrey LLP)

(“RSM”), Crowe Horwath LLP (“Crowe”), CohnReznick LLP (“CohnReznick”), EisnerAmper

LLP (“EisnerAmper”), Margolin Winer & Evens LLP (“Margolin”), and Withum Smith+ Brown,

PC (“Withum”) (collectively, the “Auditor Defendants”), Phoenix American Financial Services,

Inc. (“Phoenix” or the “Fund Administrator”), Deloitte Transactions and Business Analytics LLP

and Morrison, Brown, Argiz & Ferra, LLC (collectively, the “Valuation Defendants”), Gentile




Account, et al. v. Ascendant Capital, LLC, et al., 1:19-cv-1050-LY; and The Stanley S. and Millicent R. Barasch Living
Trust, et al. v. GPB Capital Holdings, LLC, et al., No. 1:19-CV-1079-LY. Accordingly, nothing herein is intended to
or should be construed to add claims not already included in one of those two complaints. In accordance with the
Court’s Order (Doc. 898), Plaintiffs have identified in the Causes of Action Section below any causes of action that
were not asserted in the Kinnie Ma and/or Barasch complaints.

                                                          2
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 3 of 229




Pismeny & Brengel LLP (now known as Gentile Brengel & Lin, LLP), CKGF Holding, LLC,

McAnna, LP, Robert Kessler, Gerald Francese, Rina Chernaya, as well as the various brokerage

firms identified herein (collectively, the “Broker Defendants”). All defendants are collectively

referred to herein as “Defendants.” Plaintiffs allege the following upon information and belief,

except as to those allegations concerning Plaintiffs, which are based upon personal knowledge.

Plaintiffs’ information and belief is based upon the investigation made by and through its attorneys,

which included, among other things, a review of public filings and statements Defendants made,

court and regulatory filings, media articles, and other publicly available information as well as

substantial voluntary disclosure made by brokerage firms and other individuals who participated

in the distribution of GPB securities, pursuant to an improperly unregistered public offering.

                                PRELIMINARY STATEMENT

       2.      This class action arises out of Defendants’ improper conduct in offering and selling

limited partnership interests in the GPB-sponsored Funds (also referred to herein as the

“Securities”) at the direction of Ascendant Capital, an alternative asset management firm that was

secretly acting as the general partner of each of the Funds. Ascendant Capital, GPB’s primary

distribution agent, and GPB itself, were in fact both “commonly controlled” by their principals,

David Gentile and Jeffry Schneider. However, neither GPB, nor Ascendant, nor their principals

made disclosure of this co-ownership and common control to investors in the offering materials

for the Securities or otherwise. The failure to disclose this gross conflict of interest — that the

issuers of GPB securities and the purportedly independent agent selling these securities were

commonly controlled—rendered the offerings of these Securities illegal. Moreover, the other

Defendants, unlike the purchasers of the Securities (Plaintiffs and the other Class members herein),

were in fact aware of or should have been aware of this undisclosed conflict at all relevant times.



                                                 3
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 4 of 229




       3.      Defendants also knowingly made numerous material misstatements and omitted

material facts in their Private Placement Memoranda (“PPM”), Forms D, and other

communications related to the offerings of the Securities (collectively, the “Offering Materials”),

and/or provided substantial assistance in connection with the issuance of such misstatements or

omissions and the sales of the Securities. Defendants sold and/or materially assisted with the sale

of the Securities through a massive series of improperly unregistered public offerings (the

“Offerings”) in which they paid themselves and a network of brokers exorbitant fees and falsely

promised investors, including Plaintiffs and the other members of the Class, prompt dividends of

8% or more per annum from “operating profits,” and an expected net Internal Rate of Return

(“IRR”) of 15%. Defendants were actually aware of material misrepresentations and omissions in

the Offering Materials but effected the Offerings nevertheless—because of their greed. Indeed,

Defendants received extensive due diligence reports (“DD Reports”) from at least five third parties

informing them of the material misrepresentations and omissions, which were hidden from

investors. Indeed, the DD Reports, disseminated by Ascendant Capital to the Broker Defendants

and other Defendants—but not to Plaintiffs or Class members—warned those recipients not to

divulge the secret and damaging contents of the DD Reports.

       4.      GPB, Ascendant (and its predecessor Axiom), and their principals Gentile,

Schneider, and Martino, as well as each of the remaining Defendants aided and substantially

assisted in the GPB scheme, acted with knowledge of the scheme because they knew of the

material misrepresentations and omissions in the Offering Materials, and that GPB would never

succeed in generating any profits for limited partners through the ownership of operating/portfolio

businesses. GPB’s “investment strategy” was destined to fail because it included exorbitant,

unprecedented fees, which were not accurately described in its PPM. As described below,



                                                4
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 5 of 229




Defendants received non-public DD Reports and other information or were otherwise made aware

of the fraudulent and material misrepresentations and omissions at issue.

         5.    On May 27, 2020, the Enforcement Section of the Massachusetts Securities

Division of the Office of the Secretary of the Commonwealth (hereinafter, “Massachusetts”)

commenced an adjudicatory proceeding against GPB Capital for violations of Massachusetts law

asserting that GPB Capital, in connection with the offer or sale of securities, directly or indirectly

to Massachusetts investors, (a) made untrue statements of material fact or omitted to state a

material fact necessary in order to make the statements made, in the light of the circumstances

under which they are made, not misleading, and (b) engaged in an act, practice, or course of

business which operated or would operate as a fraud or deceit upon such investors.

         6.    In its administrative complaint against GPB Capital, Massachusetts alleged that

GPB Capital and Ascendant essentially operated as a single company and were “one-and-the

same”:

               GPB Capital paid Ascendant Alternative Strategies and Ascendant
               Capital millions of dollars in connection with marketing GPB
               Capital funds and in connection with acquisitions made by GPB
               Capital. Publicly, GPB Capital and Ascendant Capital sought to
               appear as two distinct companies, but in reality, they were one-
               and-the-same. Schneider was intimately involved in GPB
               Capital’s strategy and direction, and served as Gentile’s top
               confidant. The line between Gentile, Schneider, GPB Capital,
               and Ascendant Alternative Strategies and Ascendant Capital is
               blurred beyond recognition. The firms even share office space
               in Austin, Texas. The only difference between GPB Capital and
               the Ascendant entities is the e-mail addresses used. Gentile
               profited directly whenever GPB Capital paid Ascendant Alternative
               Strategies selling commissions.

Massachusetts Administrative Complaint at 4 (emphasis added).

         7.    The total amount of fees paid to the Broker Defendants cannot be precisely

determined from the various inconsistent statements made by Defendants, but based upon their

                                                  5
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 6 of 229




disclosures, these fees were in the range of 16% to 20% of the gross capital investment of limited

partners.   Stated differently, for each $1,000,000 of gross investment, only approximately

$800,000 was actually available for investment.

       8.      This fee structure made reasonable investment returns impossible, let alone the

distributions of 8% or more per annum, and expected net IRR of 15%, promised by GPB,

Ascendant, and the Broker Defendants. Defendants knew that this unprecedented fee payout,

which was not accurately disclosed in the Offering Materials, made it impossible for GPB to

perform as promised. The GPB Funds, GPB, Ascendant, their affiliates, and their principals

(Axiom, DJ Partners, MR Ranger, Gentile, Schneider, Martino) hid this fact through deliberately

confusing disclosures. Rather than acknowledging that investing only 80% of the committed

capital would make the promised market returns extremely unlikely or impossible, they offered a

chimerical 8% return. While the monthly disclosure of this 8% current annual return changed over

time, it was always designed to cause investors to believe that it was being paid from returns and/or

profits of the underlying businesses that the GPB Funds operated or owned. The GPB Funds, GPB,

Ascendant Capital, and their affiliates and principals repeatedly described this 8% return as “fully

covered from funds from operations” or from “healthy cash flows” or from “steady cash flows.”

These statements in the Offering Materials and in other written communications to the Class were

false and the Broker Defendants, Phoenix, Gentile Pismeny, the Valuation Defendants and the

Auditor Defendants were aware of this falsity.

       9.      The promised 8% return was a trick devised to convince investors that they were

receiving 8% from business operations, when in fact the 8% was merely a repayment of the capital

invested. Each time the Funds paid 8%, the capital account of an investor—the value of its

investment—was reduced by this amount. Although investors did not know it, and the monthly



                                                  6
         Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 7 of 229




statements investors received from GPB, Gentile, and Phoenix did not reflect it, there was no

underlying cash flow or profit funding the 8% dividend. It was a scam. The Broker Defendants

were aware of this scam as the DD Reports they received made clear that GPB was using investors’

monies to pay this 8% purported dividend. After payment of the previously described fees of up

to 20%, the remainder of customer capital (approximately 80%) was not sufficient to generate

profit or cash flow to pay the purported dividends. Instead, investors simply received back their

own capital, effectively reducing the NAV (net asset value) of their investment while being

deceived into believing they were receiving payment from underlying profits.

       10.     GPB was operating a Ponzi scheme in which it was paying investors money from

their own (or other later investors’) accounts and describing such payments as investment returns.

Defendants hid this essential economic fact from investors because disclosure would have revealed

the nature of the scam and the inevitable failure of GPB. Instead, Defendants misled investors into

believing their capital was secure and intact and that they were earning an actual 8% return from

the operating businesses owned by the Funds.

       11.     Fees paid out of investor funds included at least 8-11% paid to brokers who sold

the Securities (an unprecedented amount), and an additional 5% to 9% paid to GPB and its

(undisclosed) affiliates on a regular and continuous basis. The DD Reports provided to the

Defendants made clear that certain of the brokers or agents, including Ascendant Capital and

Axiom, also received additional fees and that such compensation was not disclosed to investors.

GPB also paid itself and its affiliates, including Axiom and Ascendant Capital, as well as Broker

Defendants, various other fees, which it has never quantified for its limited partners, including “tax

indemnity” fees, operation and support fees, operational expenses, managerial expense fees,

acquisition fees, and lending fees. Stated simply, GPB was created for one purpose and one



                                                  7
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 8 of 229




purpose only: to make GPB and Ascendant Capital (the primary distributor of the Securities) and

their respective principals, Gentile and Schneider, rich, while misleading investors into believing

GPB was steadily earning an 8% current return from operations, and should expect a net return, or

net IRR, of 15%.

       12.     While deceiving investors into believing they were earning an 8% current return,

Defendants attempted to mask the inevitable failure of the Funds by telling the Class that they

would receive payments (distributions), on a regular and continuous basis, “fully covered from

funds from operations” and from “healthy cash flows,” in an amount of 8% annualized. Indeed,

as late as 2019, Defendants continued to represent that distributions were being based upon

“performance results.” This was all a lie. GPB played a game with the limited partners. The

distributions made to limited partners were simply returns of the limited partners’ own (or other

limited partners’) capital. There was no 8% in operational income, only losses hidden beneath

Defendants’ falsely described 8% return of investor capital.

       13.     Far from being profitable, as demonstrated by a now withdrawn audit (available in

late 2017) prepared by defendant RSM US LLP for GPB Holdings II, LP, GPB lost a substantial

amount in 2016. Indeed, these audited financials show that GPB paid itself, Ascendant, Axiom,

and other brokers more in commissions than the total revenue earned by the underlying Fund.

These financial statements indicate that GPB’s businesses (the Funds) were on the rocks as early

as mid-2017 and that RSM and the Broker Defendants who received these audited financials knew

it. Moreover, these financial statements clearly indicate that GPB, and the Funds for which it acted

as investment advisor, never earned sufficient profits to pay distributions from the businesses

which they owned. GPB was, based upon its own financial information, a Ponzi scheme. GPB was

taking money from limited partners (ostensibly for investment in the Funds) at a clip of



                                                 8
         Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 9 of 229




approximately 20% on each dollar that such limited partners contributed, and then paying them

back fictious distributions which in fact were simply repayments from their own capital

contributions to the partnerships, or from the capital contributions of other limited partners.

       14.     Much of the truth has now come out and RSM (the auditor who prepared the 2015

and 2016 audited financials for at least GPB Holdings II, LP) and Crowe (the auditor who prepared

the 2016 audited financials for GPB Automotive Portfolio, LP and GPB Holdings, LP) have

withdrawn their respective audit opinions regarding those financials and GPB has failed to provide

restated audited financials. GPB has stated that investors can no longer rely upon its prior

financials. Moreover, GPB itself has acknowledged that it overstated the NAV of two of its biggest

funds (GPB Holdings II and GPB Automotive Portfolio, LP) by between 25% and 50%, an

acknowledged loss to the Class of hundreds of millions of dollars. GPB has also revealed that its

five other Funds had declined in value between 25% and 73%. In total, GPB has admitted that it

has overstated the value of assets in its Funds by approximately $750,000,000.

       15.     Furthermore, GPB and its affiliates who controlled GPB now have acknowledged

that they operated the Funds in violation of federal disclosure laws for years. Certain of the Funds

operated and controlled by GPB, Ascendant, Gentile, and Schneider were, as of late 2016, required

to register certain share classes under section 12(g) of the Securities Exchange Act of 1934 (the

“Securities Exchange Act” or the “1934 Act”), because their limited partnership interests were

held by more than 2,000 holders and were valued at well over $10 million. Such Funds included

at least GPB Holdings II, LP and GPB Automotive Portfolio, LP. Each of the Defendants that sold

those Funds, as identified herein, was aware of this failure to register the Securities, as they knew

the true asset value of the Funds and that scores of brokers were selling the funds to small investors

nationwide. Moreover, as shown herein, each of the Broker Defendants knew that 12(g)



                                                  9
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 10 of 229




registration would be necessary early on as the DD Reports prepared by third parties and made

available to them by Ascendant made this clear. These DD Reports were not made available to

investors. This illegal failure to register the Securities was highly consequential.

       16.     Because it failed to register the securities under 12(g) of the 1934 Act, GPB could

no longer legally operate these Funds. Moreover, GPB was in violation of the Securities Exchange

Act, because the requirement to register under 12(g) also imposed on GPB and its control persons

the obligation to make extensive public filings on a quarterly basis disclosing the financial

condition and business management of the Funds and GPB itself. These disclosures would

necessarily have included disclosure of the Ponzi scheme. And, because it failed to prepare such

filings and provide them to investors, GPB could not rely upon the registration exemption provided

under Regulation D, which requires delivery of such quarterly reports to investors. Because it

could not rely on the exemption provided in Regulation D, GPB was in continuous violation of the

Texas Securities Act (the “TSA”), as it was offering and selling unregistered securities in a public

offering without any federal or state exemption.

       17.     GPB’s failure to comply with 12(g) was a gross breach of both the Texas Securities

Act and the fiduciary duties GPB and Gentile, GPB’s managing member, owed to investors. GPB

and Gentile were obligated to make comprehensive financial disclosures consistent with the

federal and Texas disclosure scheme imposed by the Securities Exchange Act and the TSA,

respectively, and failed entirely to do so, and GPB, as well as Ascendant Capital, and their

principals was obligated not to offer these Securities until that was accomplished. Had they made

such disclosures, the fraudulent scheme would have been disclosed and investors would not have

purchased hundreds of millions of dollars’ worth of the overvalued GPB Securities.




                                                 10
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 11 of 229




       18.        Each of the aiders and abettors involved in this scheme and each of the Defendants

who substantively participated and assisted in it was aware of this gross disclosure failure, because

they knew through underwriting agreements and their work for the Funds that GPB had engaged

in a widespread offering of the Securities through more than 80 brokers (as well as additional

registered investment advisors) across the country. Further, given the small denomination of

investments (minimums of $50,000 or $100,000 each) made by investors, it is inconceivable that

any of the Broker Defendants was unaware that there were 2,000 or more investors and that GPB

was in violation of federal disclosure requirements. Moreover, as shown herein, the Broker

Defendants were provided with DD Reports that made this 12(g) violation clear, and this

information was also made available to them through GPB’s Form D filings. The Fund

Administrator, Auditor Defendants and Valuation Defendants (as defined herein) were also aware

of this 1934 Act violation as they were provided with, and were actually working with, GPB

financial information showing the exact number of investors and the value of each Fund.

       19.        In addition to having failed to make required comprehensive disclosure under the

Securities Exchange Act, GPB and Ascendant Capital, and their affiliates and principals

(Ascendant Strategies, Axiom, DJ Partners, MR Ranger, Gentile, Schneider, Martino), as well as

the Broker Defendants, also knowingly engaged in a massive unregistered public offering in

violation of both the Securities Act of 1933 (the “Securities Act” or the “1933 Act”) and the Texas

Securities Act.

       20.        Although they used public promotion and marketing to sell the Securities,

Defendants purported to rely upon an exemption from registration under Regulation D, Rule 506

(17 CFR § 230.506). But GPB, Ascendant, Axiom, and their principals (Schneider, Gentile and

Martino) knew at all times that this exemption was unavailable: (i) because the primary distributor



                                                  11
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 12 of 229




of the Securities (Ascendant Capital and, previously, Axiom) and their control persons (Schneider

and Martino) were so-called “bad actors” under Rule 506; (ii) because they failed to make required

disclosures in their Regulation D or the PPMs filings that Schneider, Martino, Ascendant, and

Axiom were “promoters” of the Offerings; and (iii) because they did not describe their respective

roles as “promoters” in the Regulation D filings or the PPMs. GPB’s public filings also failed to

comply with Regulation D by failing to disclose the full amount of the compensation paid to the

Broker Defendants and promotors for distributing the Securities. Each of the Broker Defendants,

the Fund Administrator, and the Auditor Defendants knew of these material violations of

Regulation D, and thus of the illegality of the unregistered public offerings, because of their work

for GPB and/or because the status of these individuals and entities as “promoters” and the full

amount of their compensation was disclosed in the DD Reports provided to these Defendants. The

Fund Administrator knew of these violations because it processed payments to such Broker

Defendants directly and dealt directly with Schneider, Ascendant, and Axiom and thus knew their

status as undisclosed “promoters”. The Auditor Defendants knew of these violations because they

reviewed each fiscal year the fees Ascendant Capital and Axiom received as “promotors” in

connection with their audit review, and/or were made aware of the results of those reviews upon

accepting their audit engagements.

       21.     Under Rule 506 these “bad acts”—suspensions by State securities regulators or the

Financial Industry Regulatory Authority (“FINRA”) (formerly the “NASD”)—were required to

be fully disclosed to investors for any registration exemption to be effective. But the “bad acts”

were not disclosed. Schneider’s and Martino’s primary role in the distribution of the Securities

required comprehensive disclosure of their prior violations of state and federal securities laws, i.e.,




                                                  12
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 13 of 229




“bad acts”. Instead, these violations were hidden, rendering Rule 506 unavailable, and the failure

to register the Securities illegal under both federal and Texas law.

       22.     Defendants lacked the temerity to make these “bad acts” disclosures because they

knew that once such prior securities infractions were disclosed to investors the jig would be up

and no one would purchase the Securities. Accordingly, Defendants illegally hid this information

from investors (and federal and Texas regulators). Defendants’ glaring failure to disclose

Schneider’s prior infractions when he was not only the owner of the primary distributor of the

Securities, but also (unbeknownst to investors) a co-owner of GPB Capital itself, rendered a Rule

506 registration exemption unavailable. Defendants’ failure to disclose the prior infractions of

Martino, the CEO of Axiom and later the CEO of the Ascendant broker dealer (Ascendant

Alternative Strategies), also violated Rule 506. Consequently, the Offerings were illegal and all

the purchasers of the Securities, including Plaintiffs and the other Class members, are entitled to

rescission under Texas law. Because GPB and the Funds had no valid Rule 506 exemption, GPB

was required to file a registration statement under the Securities Act and fully disclose Defendants’

fraudulent Ponzi scheme. The Offerings also failed to qualify for a Regulation D exemption for

the other reasons set forth herein.

       23.     Finally, and perhaps most importantly, Defendants’ scheme to bilk investors with

fees of up to 20% on invested capital involved a hidden common control relationship between

GPB Capital and the lead broker dealers themselves. Although never clearly disclosed to the

limited partners, GPB Capital, Axiom/Ascendant, Schneider, and Gentile, from the start commonly

owned the entire revenue stream from organizing, managing and operating the various limited

partnership interests, and from brokering, selling, and underwriting them. The Broker




                                                 13
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 14 of 229




Defendants—but not the investors—were fully aware of this gross conflict because it was

disclosed to them in the DD Reports provided or made available by Ascendant.

       24.     This created the most glaring conflict of interest that can exist in the securities

business: the brokers offering the Securities and purportedly providing independent, objective

advice were also secretly sharing in the massive fees earned by GPB Capital in connection with

operating the limited partnerships themselves. The nature of this revenue sharing and co-control

relationship was never fully disclosed as required under both Texas law and the 1933 and 1934

Acts to which the Funds were subject. The advice offered by Schneider, Martino, Ascendant, and

Axiom (as lead underwriters of the Offerings) was accordingly anything but objective. Their goal

was to sell as much as they could because they were personally profiting not only from the

exorbitant broker commissions that they were receiving, but also from the excessive (and not fully

disclosed) fees that were received by GPB.

       25.     Defendants never fully disclosed these relationships to investors, but instead

provided misleading information in a piecemeal fashion through an ever-changing series of half-

truths in the many subsequent amendments to their PPMs made in connection with their continuous

unregistered Offerings. Defendants never told the whole truth: that the entire GPB business was

operated and controlled by Gentile, Schneider, and Ascendant Capital, collectively, from the start.

       26.     GPB’s, Ascendant’s, Axiom’s, Gentile’s, Schneider’s, and Martino’s attempts to

cover up this gross, irremediable conflict through piecemeal misleading disclosures over the period

of several years were improper and legally ineffective. Investors in the Securities were entitled to

know specifically and clearly that they were not receiving objective advice from the brokerage

firm effecting the underwriting and that the primary underwriter (Ascendant Capital, Axiom,

Schneider, and Martino, collectively) was anything but objective. Its primary hidden goal was to



                                                14
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 15 of 229




sell as many Securities as possible in order to earn a double income stream (from biased brokerage

operations and from the operation of GPB).

       27.        As shown herein, Defendants GPB, Axiom, and Ascendant could not have achieved

their fraudulent goals alone. Various other Defendants, in violation of Texas law, aided and abetted

and substantially assisted them in their wrongdoing, including:

             a.   the Auditor Defendants, which negligently prepared false and misleading audits,

                  reviewed, approved and authorized the dissemination of false and misleading

                  financial statements for the Funds, and allowed their names and reputations to be

                  used for salesmanship and marketing in connection with the sale of the Securities

                  (GPB repeatedly referenced that their financials were audited by RSM (respecting

                  GPB Holdings II, LP), Crowe (respecting GPB Automotive Portfolio, LP and

                  Holdings, LP), CohnReznick (respecting Waste Management), and Margolin

                  (respecting GPB Capital, Automotive, Holdings Qualified, Holdings and NYC

                  Development), EisnerAmper (respecting Automotive, Holdings, and Holdings II),

                  and Withum (respecting Waste Management/Armada Waste, Cold Storage,

                  Holdings III and NYC Development) as a part of their marketing of the Offerings);

             b. more than 60 broker dealers (the Broker Defendants herein) which, among other

                  things, (i) knew that the Offerings were unregistered public offerings; (ii) knew that

                  GPB was required to but failed to register under 12(g) of the Securities Exchange

                  Act and to prepare and distribute quarterly and annual financial documents to

                  investors; and (iii) were aware of numerous red flags with respect to the Offerings,

                  including excessive compensation, lack of track record, prior poor performance,

                  inter-company conflicts of interest, and commingling of assets among ostensibly



                                                   15
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 16 of 229




                separate GPB Funds, as well as that Schneider and Martino were undisclosed “bad

                actors” under Rule 506 and that GPB, therefore, was required to register the

                Offerings under the Securities Act. As shown below, much of this red-flag

                information was provided to the Broker Defendants directly through the DD

                Reports which were hidden from the investors;

             c. the Valuation Defendants, which provided inflated valuations of GPB’s assets.

                Such valuations were necessary because most if not all of the assets held by such

                Funds were not publicly traded and had no reported market value. Thus, Deloitte

                and MBAF knew that such valuations were essential to the financial reports

                prepared by the Funds and their auditors and to investors and prospective investors

                who relied upon such financial reporting to determine the performance of the

                relevant Funds. Indeed, because the assets owned had no reported market value,

                these valuations were a primary constituent of the financial results provided to

                investors and prospective investors and thus a primary factor by which the GPB

                Defendants, the Individual Defendants, and the Broker Defendants touted

                investment in the GPB Funds and on which investors relied in their respective

                investment decisions;

       28.      The Broker Defendants were, in effect, bribed.2 They were paid grossly excessive

commissions (approximately 11%)—more than double the industry average—to look the other

way and to perpetuate the scheme by failing to disclose that their clients’ investments were being

used to pay other investors’ distributions, and by failing to disclose the numerous red flags of

which they were aware, which indicated that the GPB Offerings were highly risky and illegal in


2
  As a registered investment advisor, Defendant Bradley Wealth, LLC, would not have received these high
commissions but would have had knowledge of such commissions.

                                                  16
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 17 of 229




many respects. These Broker Defendants, blinded by excessive commissions, were reckless in

disregarding the fact that GPB could never actually achieve a legitimate 8% current distribution

rate when approximately only 80% of investor capital was actually being invested and, because of

the exorbitant fees and expenses being paid upfront to the Broker Defendants, GPB,

Ascendant/Axiom, and their principals. The Broker Defendants also recklessly disregarded the

inevitable failure of the business model put forward by GPB and the many red flags in the face of

excessive commissions. They also recklessly disregarded the fact that GPB, Ascendant Capital,

and the Broker Defendants themselves were engaged in unregistered public offerings, and that

GPB improperly failed to register under section 12(g) of the Securities Exchange Act and failed to

make public disclosures in violation of federal securities laws. These actions render them jointly

and severely liable under the Texas Securities Act.

       29.     At all times the Broker Defendants knew the factual underpinnings of these

misrepresentations and securities laws violations for multiple reasons: (1) they were specifically

advised of the 12(g) issue in the DD Reports; (2) they knew that the promised 8% current cash

return was impossible given the almost 20% in fees taken off the top; (3) they knew that there were

at least 2,000 investors in several of the Funds, because GPB engaged more than 80 brokers and

additional registered investment advisors to sell the Securities and the amounts individually

invested were small, and because the Forms D disclosed the number of investors and the aggregate

amount invested; and (4) they knew that the Offerings did not qualify for a registration exemption

under Rule 506 because the lead underwriter was a “bad actor” with a long disqualifying

disciplinary history (information that was available on databases the Broker Defendants used,

including the FINRA database), and that GPB had otherwise failed to comply with Regulation D

by failing to disclose its promoters and their entire compensation, facts which were revealed to the



                                                17
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 18 of 229




Broker Defendants in the DD Reports, and thus that the Securities were being sold in violation of

the Securities Act. Moreover, the Auditor Defendants had direct knowledge of undisclosed co-

ownership of GPB as they had access to the financial records of GPB reflecting payments made

by GPB to Ascendant and its affiliates.       They also had direct knowledge of the financial

performance of the GPB investments and knew that they were not generating 8%, and thus the 8%

purported dividend was in fact not a dividend but repayment of invested capital.

       30.     RSM, Crowe, CohnReznick, Margolin, Withum, and EisnerAmper who prepared

audits for the GPB entities, reviewed and passed upon financials or conducted reviews for the GPB

Funds were similarly reckless and provided substantial assistance in perpetuating the fraudulent

scheme. GPB has acknowledged that GPB Holdings II, LP’s assets were overstated in the audit

that RSM prepared by more than 25%, or hundreds of millions of dollars. RSM’s audit opinion

has been withdrawn, but GPB’s own acknowledgement that the assets on this Fund’s balance sheet

were grossly overstated shows that GPB’s auditor was reckless and its opinion was materially

inaccurate. Crowe’s audits of the 2016 financials of GPB Automotive Portfolio, LP and GPB

Holdings, LP also had to be withdrawn. Similarly, in June 2019, GPB acknowledged that GPB

Automotive Portfolio, LP’s assets were overstated by 39% and that GPB’s five remaining Funds

had declined between 25% and 73% in value. The withdrawal of the audit opinions, in the face of

such gross inaccuracies, also reflects that they were negligently or recklessly issued. RSM, Crowe,

and the other Auditor Defendants aided and abetted and provided substantial assistance to the

illegal Offerings by allowing their names to be used in the PPMs as part of the marketing of the

Securities, while they were subjectively aware of the red flags as described herein.

       31.     The Fund Administrator, Phoenix, also provided substantial, material assistance in

effecting and perpetuating the scheme. Fund administrators are charged with calculating



                                                18
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 19 of 229




investment NAVs, processing distributions, and informing investors of the current state of their

investments, and Phoenix agreed to perform these functions for GPB limited partners, i.e.,

Plaintiffs and the other Class members. It also served as the paymaster for the Funds, and thus had

knowledge of who received payments from GPB and that Ascendant and its affiliates shared in

GPB’s profits. If Phoenix had not provided investors with false monthly statements containing the

purported value of their holdings, the scheme would have failed. These statements were false and

misleading because they failed to reduce the respective investors’ capital account value by the up

to 11% paid “off the top” (in broker commissions) before investors funds were paid over to GPB.

Thus, the investors’ statements were inflated by at least 11% and materially misrepresented the

value of the Class members’ investments. Phoenix thus allowed the scheme to continue by failing

to disclose losses and also allowed GPB to raise more funds. Phoenix was aware of these

falsehoods as it processed the Broker payments and received customer subscription amounts, and

thus knew that only approximately 80% of controlled capital was actually employed in the GPB

investments.

       32.     Nevertheless, the Fund Administrator continued to regularly report to investors

“current cash distributions” and “total capital” on monthly statements which showed that limited

partners were in fact earning money rather than losing money and which failed to reflect reductions

in capital accounts due to these distributions of capital. The Fund Administrator, who handled

limited partner payments to GPB, knew the high total expense level associated with the Offerings

(i.e., up to 20%), and knew up front that only approximately 80% of the investment dollars raised

by GBP were actually credited to investor accounts. The Fund Administrator disregarded the fact

that at the initiation of investors’ investment in the Funds, they would have started with a capital

account worth far less than the capital they invested, and thus their “total capital invested” should



                                                 19
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 20 of 229




have been reduced from the beginning. Instead, Phoenix simply disregarded this fact and treated

the capital accounts as if there was no deduction for the exorbitant (and insufficiently disclosed)

brokerage fees. Nor did the statements which were produced and distributed by the Fund

Administrator disclose that distributions being made were from invested capital, not from any

income generated by the Funds’ operating subsidiaries. Characterizing these payments as

distributions was false, as they were entirely returns of investors’ own capital. These were gross

failures on the part of the Fund Administrator that kept the scheme alive.

       33.     The Valuation Defendants also provided substantial, material assistance in

effecting and perpetuating the scheme and had knowledge of the fraudulent nature of the GPB

scheme and of their role therein. The Valuation Defendants had access to the GPB financials and

thus knew that: (1) GPB was not generating current returns sufficient to pay the proposed 8%

current dividend; (2) as described herein, GPB was engaged in large undocumented intercompany

loans and undocumented co-investments, whereby one Fund paid obligations of other Funds, but

did not document these financial transactions in the Funds’ respective books; (3) Ascendant and

Schneider were receiving compensation not disclosed in the PPMs or otherwise in connection with

GPB transactions and were in effect acting as managers of GPB, not just brokers; (4) GPB was

routinely abusing its non-public positions; (5) as described in paragraphs 177 through 179, GPB

was intentionally overpaying for assets with the expectation that some of that overpayment would

be kicked back to GPB or its principals, or held in “reserve” for payment of that 8% dividend; and

(6) as described in paragraph 199, GPB was buying assets from Gentile in a conflict ridden fashion

without express approval, bringing into question the legitimacy of its entire asset buying program.

       34.     GPB, Ascendant Capital, and the Fund Defendants (the “GPB Defendants”), their

respective principals, and the Fund Administrator maintained and perpetuated the scheme by



                                                20
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 21 of 229




failing to accurately report the true NAV (net asset value) of Class members’ investments in the

various Funds, even though they knew that the stated numbers were inaccurate and dramatically

overstated the investors’ interest in the Funds.

       35.      The GPB Defendants made highly material misrepresentations and omissions in

the PPMs for the Securities purchased by the Class. The Broker Defendants, while aware of these

misrepresentations and omissions, nevertheless distributed these PPMs to investors. Defendants’

material misrepresentations and omissions in the Offerings included, inter alia, the following

(collectively, “the Material Misrepresentations and Omissions”):

             a. GPB’s Business Was Destined to Fail. The GPB Defendants, The GPB Affiliated

                Defendants, Schneider, Gentile, Martino, and the Broker Defendants failed to

                disclose in the Offering Materials, or thereafter, that GPB’s business model was

                built and destined to fail because the Funds’ cash flow would not be nearly

                sufficient to generate an actual 8% current return per annum on investment given

                the exorbitant and unprecedented commissions and other fees and expenses

                (totaling up to approximately 20% of invested capital) that the Broker Defendants

                and the GPB Defendants were collecting. Defendants should have disclosed that

                an 8% current return would have necessitated a return much higher than a market-

                based return on the Class members’ actual invested capital. In addition, Defendants

                failed to disclose that the GPB Defendants and their principals were, from the start,

                in fact using new investment money collected from new investors and/or the

                investors’ own capital to pay economically unattainable current distributions—

                effectively a Ponzi scheme. The Broker Defendants were each aware of this Ponzi

                scheme because they knew from the DD Reports that GPB could not pay out from



                                                   21
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 22 of 229




     profits 8% annually and in fact simply held large sums of money (investor capital)

     “in limbo” to make such payments, rather than making them from operating profits

     as represented by GPB. The Valuation Defendants and the Auditor Defendants

     were also aware of these facts as they had access to GPB financials;

  b. Gross Conflicts of Interest. The GPB Defendants, Gentile, Schneider, and

     Ascendant failed to disclose their irremediable conflicts of interests, including: (i)

     that Gentile, the managing member and control person of GPB, the Funds’ general

     partner, who controlled each of the Funds, had a large undisclosed ownership

     interest in Ascendant Capital, which served as the “lead” underwriter for the Funds,

     and Ascendant Strategies. Thus, Gentile and GPB were selling equity interests to

     investors in long-dated assets and contemporaneously (and without disclosure)

     receiving above-market commissions on such sales. This was also a material breach

     of the fiduciary duties of loyalty and full and fair disclosure that GPB and Gentile

     owed to investors, who were unaware (i) that their fiduciary-investment advisor

     was receiving undisclosed commission kickbacks which incentivized these

     Defendants to sell the Funds to Class members without concern as to the Funds’

     actual performance; (ii) that Schneider was a control person (and equity interest

     owner) of GPB (as was Ascendant Capital), and was deeply involved in GPB’s

     business and in structuring and developing the GPB Funds and the offerings to sell

     partnership interests in these Funds. Stated differently, the lead underwriter/broker

     for the GPB Funds—who was obligated to offer objective financial advice under

     state law and industry (FINRA) standards—was conflicted in that he also was

     financially benefiting on an undisclosed basis from the underlying business



                                      22
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 23 of 229




     enterprise; (iii) that Gentile and Schneider had an undisclosed agreement to split

     the profits of both GPB and Ascendant and that they had formed a company,

     Defendant DJ Partners, LLC, to facilitate this. These fiduciary obligations could

     not be waived or be limited by GPB or the Individual Defendants because they were

     registered investor advisors, under the Investment Advisers Act of 1940. The

     Broker Defendants, Phoenix, the Auditor Defendants, and the Valuation

     Defendants were aware of this gross conflict, which was disclosed to the Broker

     Defendants in the DD Reports, and which the Auditor Defendants, Phoenix, and

     the Valuation Defendants knew of because they either processed payments to the

     conflicted parties or reviewed and/or audited GPB financial records reflecting these

     payments; and (iv) that Gentile had an ownership interest in Gentile Pismeny, LLP,

     the same accounting firm that GPB hired for advisory work, and that Gentile was

     also receiving payouts from that firm;

  c. Undisclosed Prior Bad Acts and Other Failures to Disclose Which Made

     Regulation D Unavailable. The GPB Defendants failed to disclose that Schneider

     controlled GPB and previously had been suspended by FINRA and by a state

     regulator, and that Martino, the CEO of the Axiom and Ascendant Strategies, had

     also previously been suspended by FINRA. Schneider and Martino, thus, were

     “bad actors” within the meaning of SEC Rule 506. As a result, a Rule 506

     exemption was unavailable to GPB Capital and the Funds, because the PPMs for

     the Funds failed to disclose and explain these prior bad acts, thus requiring

     registration under the 1933 Act for each of the integrated Offerings. The Broker

     Defendants were aware of this disqualifying information which was available to



                                      23
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 24 of 229




     them on FINRA databases they regularly accessed as part of their business. The

     Rule 506 registration exemption was also unavailable because GPB failed to make

     full and complete disclosure of the role of Schneider as a promoter, and the full

     compensation paid to Schneider and Ascendant.          These facts, substantiating

     Schneider’s and Ascendant Capital’s role as promoters, were also disclosed to the

     Broker Defendants and other Defendants in the DD Reports;

  d. Failure to Register the Offerings in Texas and Federally. The GPB Defendants

     failed to make filings as required under the Securities Exchange Act of 1934, §

     12(g), 15 U.S.C. § 78(l), and Tex. Rev. Civ. Stat. Ann. art. 581-7 given that assets

     in the GPB Automotive Portfolio, LP and GPB Holdings II, LP each totaled well

     over $10 million and each had at least 2,000 investors, requiring such registration

     under the 1934 Act. Thus, Defendants improperly failed to register the Offerings

     under the Securities Act of 1933 and the Securities themselves under the Securities

     Exchange Act of 1934. The Broker Defendants were aware of this failure to register

     under the 1934 Act because the DD Reports disclosed this risk at least by 2016 or

     early 2017 and because they knew the amount of assets raised in the relevant

     Offerings and knew that given the small amount of each individual investment that

     thousands of investors had invested. Phoenix too was aware of this failure to

     register as it processed each investor purchase. The Auditor Defendants and

     Valuation Defendants were also aware of this failure as they were in possession of

     GPB financial data providing the relevant information as to assets held and the

     number of limited partners;




                                      24
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 25 of 229




  e. Concealment of Payments to Underwriters/Brokers. GPB made millions of

     dollars of undisclosed payments to Broker Defendants, as well as Ascendant

     Capital and Schneider in consideration for their services as brokers. These fees

     included at least millions of dollars in so-called Acquisition Fees and “Managerial

     Assistance Fees” which were disguised brokerage commissions. These brokerage

     commissions were not disclosed in the GPB Regulation D filings in violation of

     Regulation D, rendering Regulation D registration exemption unavailable to GPB.

     The Broker Defendants were aware of this violation as these undisclosed payments

     were described in detail in the DD Reports. The Auditor Defendants and Phoenix

     knew about these payments from their oversight of the Funds’ financial accounts;

  f. Failure to Disclose Other Material Conflicts and Commingling of Fund Assets.

     GPB engaged in numerous other material undisclosed conflicts: GPB commingled

     assets and investor capital among the ostensibly separate GPB Funds, exposing

     investors in one Fund to the risks of the others; GPB sold assets between and among

     Funds when it was otherwise unable to obtain market prices or liquidity for such

     assets; GPB used assets of its largest Funds (Holdings I and II) to lend money at

     non-market rates to other GPB Funds, which could not obtain such loans in the

     marketplace—indeed, as of 2017, Holdings had “loaned” $68.4 million to other

     GPB Funds without the approval of its investment committee and without marking

     these loans to market. These loans and inter-company sales show that Holdings was

     in fact treating all of its Funds as one commingled pool and was not properly

     accounting for its assets. This information was not disclosed in the Offering

     Materials. The Auditor Defendants and the Valuation Defendants were aware of



                                     25
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 26 of 229




     this undisclosed fraudulent conduct, which directly affected the value of GPB assets

     and liabilities, as they had access to GPB financials;

  g. Concealment of Conflicted Purchases. GPB also engaged in highly conflicted

     material purchases of assets from Gentile himself. Indeed, “the first two [car]

     dealerships that GPB Holdings invested in were partly owned by Gentile.” GPB

     also purchased private companies owned at least in part by Gentile, including

     Alphaserve Technologies and Jachiraga Inc., without disclosing the conflicts to

     limited partners. These purchases were not approved by the GPB investment

     committee and were ultra vires. GPB also failed to disclose at least $40 million in

     “loans” made by Gentile to car dealerships owned by the GPB partnerships that

     provided him with a first lien on dealership assets. None of these gross conflicts of

     interest and insider dealings were disclosed to investors, but they were disclosed to

     the Broker Defendants and Phoenix in the DD Reports and were known to the

     Auditor Defendants and the Valuation Defendants who reviewed the GPB

     financials;

  h. Concealment of Poor Prior Performance. GPB also failed to disclose that its

     commitment to pay 8% current distributions and to achieve a 15% net IRR to

     investors was completely inconsistent with its previous returns of between 5% to

     9% in total, as disclosed in the DD Reports. Had GPB disclosed this highly material

     prior performance, investors would have known that the promise to pay 8% from

     current income and a net IRR of 15% in total to investors was not credible. Indeed,

     the DD Reports made clear to the Broker Defendants that the commitment to pay

     8% current income was materially false, because GPB failed to disclose to investors



                                      26
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 27 of 229




               its poor prior performance in similar funds and transactions which showed total

               returns of between 5% and 6%—making an 8% current distribution impossible; and

             i. Concealment of the Misconduct. The GPB Defendants and Gentile were

               improperly concealing the fraud through a series of improper financial transactions

               (detailed below) and misrepresentations or misleading statements contained in

               Offering Materials and other communications with investors—the Class Members

               herein—all intended to advance, hide, and maintain the scheme.

       36.     Plaintiffs assert claims pursuant to the Texas Securities Act (the “TSA”), Tex. Rev.

Civ. Stat. Ann. art. 581-33, and 581-7, and related state law, including fraud, breach of fiduciary

duty, the other Defendants’ substantial assistance in the breach of such duties, and negligence.

Claims are asserted on behalf of a putative class of investors who purchased or otherwise acquired

interests in one of the GPB Funds between June 6, 2013 through the present (the “Class Period”).

                                 FACTUAL BACKGROUND
       37.     Beginning in or around 2013, Austin, Texas resident Schneider (Ascendant

Capital’s founder) developed the concept of using an alternative asset management firm to attract

investments in a series of limited partnerships or funds by selling equity interests therein to

investors. According to Schneider, he “approached [Gentile] with the idea of partnering on an

income-producing private equity fund.” Together with Schneider from Texas, Gentile formed GPB

Capital and became its CEO and managing member. Schneider has also stated that, in “2013, [he]

helped [Gentile] launch an income-producing private equity fund called GPB Holdings.”

Ultimately, Schneider dedicated his company, Ascendant Capital, based in Austin, Texas, to

structuring funds and raising capital exclusively for GPB. Gentile and Schneider agreed (but did

not disclose to investors) that they would share the profits of GPB Capital and Ascendant, and

formed DJ Partners, LLC to ensure their shared ownership.

                                                27
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 28 of 229




       38.     Defendants GPB Capital, Axiom, and Ascendant Capital, under the direction of

Gentile, Schneider, and Martino (CEO and President of Axiom and later CEO of Ascendant

Strategies), formed the GPB Funds and effectuated this secret co-ownership relationship.

According to a later-filed FINRA BrokerCheck Report on Ascendant Strategies, Gentile and

Schneider (through DJ Partners) and Martino (through MR Ranger) were each majority owners of

Ascendant Strategies.

       39.     The GPB Funds, under the control of GPB Capital, Ascendant Capital, Gentile, and

Schneider, and with the assistance of Axiom, Ascendant Strategies, and a network of independent

brokerage firms (the Broker Defendants herein) offered to Plaintiffs, and the Class of similarly-

situated investors, limited partnership units in the Funds, which are “securities” under Section 581-

4(A) of the Texas Securities Act and under federal law. Each GPB investor became a limited

partner in one or more Funds, while GPB Capital (a registered investment advisor) acted as the

Funds’ general partner. GPB Capital then purported to use the funds raised from investors to invest

in various operating businesses, and to pay itself, Axiom and Ascendant and the Broker Defendants

huge fees.

       40.     As the “lead” underwriter for GPB’s Offerings, Ascendant Capital (which acted as

a branch of Axiom until the formation of Ascendant Strategies) sold, or arranged for the sale of,

the limited partnership interests in the GPB Funds. Schneider, Gentile and Martino all had a

controlling interest in Ascendant Strategies by virtue of their direct ownership of DJ Partners

(Gentile and Schneider) and MR Ranger (Martino).

       41.     Schneider exercised control over Ascendant Capital (as well as over GPB) and

directed the sale of the Securities. He also materially participated in the drafting of the Offering

Materials and marketing materials for the Securities in and from Texas and employed, from Texas,



                                                 28
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 29 of 229




a sales (or capital markets) team to promote the Funds to investors and to the Broker Defendants

and registered investment advisors (“RIAs”). Schneider engaged, as directed through Ascendant

Capital, a large network of these independent brokers (the Broker Defendants and RIAs) located

throughout the United States to actually sell the Securities to unsuspecting investors. These Broker

Defendants had no relationship with GPB other than transacting with Ascendant as selling brokers.

Schneider and his affiliates, including Ascendant, also entered into a selling or underwriting

agreement with the Broker Defendants and RIAs, and regularly communicated with them. The

Broker Defendants were provided with access to the DD reports described herein.

       42.     Schneider and his affiliates, including Ascendant Capital, also advised the Broker

Defendants on underwriting, and held sales and due diligence meetings primarily in Austin, Texas

with these brokers, who knew of or should have known of Schneider’s tainted regulatory history.

Schneider and his affiliates, including Ascendant Capital, also conducted webinars for Broker

Defendants and RIAs, primarily from Austin, Texas. In all, Schneider and Ascendant Capital

conducted dozens of meetings and webinars for Broker Defendants in Texas. Broker Defendants

attended such meetings and Ascendant Capital often paid for their travel and accommodations. At

these meetings, Schneider and his affiliates emphasized the out-sized, extraordinary commissions

being paid for the sale of the Securities and acknowledged that these commissions were much

higher than industry norms.

       43.     Schneider himself drafted a large portion of the PPMs, which do not identify any

counsel’s participation in their drafting. Schneider and Ascendant Capital also prepared marketing

materials and due diligence materials, including Due Diligence Questionnaires (“DDQs”) in Texas

for use by the Broker Defendants and RIAs. Schneider and Ascendant Capital also arranged for

five separate firms to prepare purportedly independent “Due Diligence” reports (the DD Reports)



                                                29
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 30 of 229




on GPB and the Offerings, each of which was made available to, and provided to, the Broker

Defendants and RIAs.

       44.     The DD Reports provided to the Broker Defendants were prepared by: (a)

FactRight; (b) Snyder Kearney; (c) Buttonwood Investment Services; (d) Mick & Associates; and

(e) Mercer.

       45.     Each of the DD Reports was prepared at the direction of and with the assistance of

Schneider and Ascendant Capital in and from Austin, Texas, and contained a detailed description

of the risks and business prospects of the GPB Funds and GPB itself. The common theme of these

four lengthy reports was that GPB was a start-up with a limited and weak track record and that it

was riddled with significant conflicts due to the common ownership of Ascendant and GPB. The

DD Reports detailed the many material misrepresentations and omissions described herein, and

were provided or made available to the Broker Defendants. Indeed, the DD Reports were prepared

at Schneider’s direction, expressly because Ascendant Capital was conflicted and not an

independent broker under the FINRA rules and, in fact, could not provide independent advice as

to the Offerings. Thus, Ascendant Capital and the Broker Defendants knew of Schneider’s conflict

and that Ascendant was materially conflicted. From Texas, Schneider and Ascendant Capital

provided the information to third parties used in preparing the DD Reports and the authors of the

reports travelled to Texas in connection with the preparation of such reports.

       46.     Plaintiffs and the Class are asserting claims against the Broker Defendants for their

key role in enabling this misconduct to proceed by knowingly distributing misleading Offering

Materials, selling unregistered public securities, and funneling investors’ money to the Funds and

GPB Capital while each of the Broker Defendants had actual knowledge from the DD Reports and

otherwise about the Material Misrepresentations and Omissions, including: (1) omissions and



                                                30
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 31 of 229




misrepresentations in the PPMs; (2) the outrageous commission structure of the subject

transactions, and that the GPB Funds could never achieve the stated financial goals, and (3) that

the Offerings were required to be registered under the 1933 Act and that the Securities were

required to be registered under the 1934 Act. Each Plaintiff and member of the Class is not

asserting claims against the specific Broker Defendant who directly sold the subject

Securities to such Plaintiff or that particular Class Member; they are suing only the

remaining Broker Defendants for their substantial participation and assistance and/or

aiding and abetting in the scheme, and in these illegally unregistered public offerings.

       47.     In connection with the sale of the Securities, the GPB Defendants, Gentile and

Schneider, with the other Defendants’ substantial assistance and participation, allowed the Funds

to make the Material Misrepresentations and Omissions regarding the Securities. This enabled

GPB to raise over $1.8 billion from Plaintiffs and the other Class members who invested in the

Funds. GPB thereafter misused, converted and/or failed to safeguard the investors’ money.

       48.     In particular, the GPB Defendants, Gentile, Schneider, and Martino made Material

Misrepresentations and Omissions, including the, inter alia: (a) failure to disclose that the business

model for the Funds was a sham and destined to fail; (b) misrepresentation as to the ability of the

partnerships to generate 8% current returns on the investment after payment of fees and expenses

of up to 20%; (c) failure to clearly disclose that Class members’ own capital, rather than income

generated from the Funds’ operating companies, was being used to pay limited partner

distributions; (d) failure to disclose that Gentile and Schneider had irremediable conflicts because

they secretly agreed to split the profits of GPB and Ascendant, and that Schneider, along with his

company Ascendant Capital, controlled GPB; (e) failure to disclose that Gentile, a principal of

GPB, had majority ownership interest in Ascendant, the lead underwriter and placement agent for



                                                 31
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 32 of 229




the Offerings; (f) failure to disclose numerous material conflicts of interests in connection with the

purchase of assets owned by Gentile by GPB; (g) failure to disclose commingling of assets between

the various GPB Funds; (h) failure to disclose the full compensation paid to Brokers to sell the

GPB interests; (i) failure to disclose up front that Gentile had had an ownership interest in Gentile

Pismeny & Brengel, LLP, the same accounting firm that GPB hired for advisory work, and that

Gentile was also receiving payouts from that firm; (j) failure to disclose in connection with the

Offerings that Ascendant’s principal, Schneider, had been suspended by FINRA and by the State

of Illinois; (k) failure to disclose that Martino (Axiom’s CEO and later Ascendant Strategies’ CEO

and a majority owner in Ascendant Strategies) also had been suspended by FINRA; (l) failure to

register the securities, which they were obliged to register under the Securities Act, because they

failed in numerous material ways to comply with Regulation D; (m) engagement in serious

financial misconduct and misrepresented the financial state of the Funds; and (n) failure to register

the Securities as required under section 12(g) of the Securities Exchange Act and the Texas

Securities Act.

       49.        These misrepresentations, omissions, and misconduct were material to Plaintiffs’

and the Class members’ decisions to invest in the Funds and remain invested in the Funds and

proximately caused their investment losses.

       50.        In its communications with investors, GPB’s motto was “Vision, Value, Trust.”

GPB failed miserably to live up to that standard. GPB, Gentile, and Schneider caused the Funds to

continue to misrepresent and/or fail to disclose the material misconduct and irregularities regarding

the Funds’ financial condition and operations. This conduct constituted a breach of GPB’s

fiduciary duties owed to Plaintiffs and other Class members, given GPB’s role as a general partner

of the Funds and a Registered Investment Advisor under the Investment Advisers Act of 1940.



                                                 32
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 33 of 229




       51.     For their part, the Broker Defendants eagerly disseminated the misleading Offering

Materials, and subsequent false communications about the investors’ accounts, to Class members,

funneling hundreds of millions of dollars to GPB Capital, which kept the scheme afloat for years.

This money lined the pockets of the GPB Defendants, Gentile, Schneider and Martino, but also

provided the lifeblood for the scheme – capital which GPB used to pay exorbitant brokerage fees

and 8% distributions to investors (with investors’ own capital), rather than investing in successful

operating/portfolio companies. These Broker Defendants knew that the returns of 8% or more

being promised to investors were unattainable and unsustainable, especially since up to 20% of

the invested capital was being used to fund exorbitant commissions, fees and expenses. As shown

herein, the Broker Defendants also knew of the material misrepresentations and omissions and

fraud outlined herein from the DD Reports and otherwise.

       52.     The scheme was perpetrated with the substantial assistance and participation of

Auditor Defendants RSM, Crowe, CohnReznick, Margolin, Withum and EisnerAmper, who were

responsible for auditing the financials of certain of the GPB Funds. These Auditor Defendants

recklessly prepared false and/or misleading audits, which overstated the value of the Fund by at

least 750,000,000, while lending their name to the GPB Defendants for use in marketing the

offerings to unsuspecting investors, Plaintiffs and the Class members herein. GPB Capital has

revealed that the audits of GPB Holdings, LP and GPB Automotive Portfolio, LP by auditor Crowe

for fiscal 2016, and of GPB Holdings II, LP by auditor RSM for fiscal 2015 and 2016, were

materially inaccurate and can no longer be relied upon. The Auditor Defendants also knew of the

Material Misrepresentations and Omissions outlined herein from the DD Reports, their review of

the GPB Funds’ books, and otherwise, as they reviewed the payments to Broker Defendants and




                                                33
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 34 of 229




Ascendant, and thus knew of the undisclosed co-ownership relationship between Ascendant and

GPB and the undisclosed payments to Ascendant.

       53.     The Valuation Defendants also provided substantial assistance to the scheme and

had knowledge of the fraudulent nature of the GPB scheme and of their role therein. The Valuation

agents had access to the GPB financials and thus knew that: (1) GPB was not generating 8% current

returns sufficient to pay the proposed 8% current dividend; (2) as described herein, GPB was

engaged in large undocumented intercompany loans and undocumented co-investments, whereby

one fund paid obligations of other funds, but did not document these financial transactions in their

respective books; (3) Ascendant and Schneider were receiving compensation not disclosed in the

PPMs or otherwise in connection with GPB transactions and were in effect acting as managers of

GPB, not just brokers; (4) GPB was routinely abusing its non-public positions; (5) as described in

paragraphs 177 through 179, GPB was intentionally overpaying for assets with the expectation

that some of that overpayment would be kicked back to GPB or its principals, or held in “reserve”

for payment of that 8% dividend; and (6) as described in paragraph 199, GPB was buying assets

from Gentile in a conflict ridden fashion without expressed approval, carrying into question the

legitimacy of its entire asset buying program.

       54.     At least as early as 2016, GPB Automotive Portfolio, LP and GPB Holding II, LP

failed to file required audited financial statements with the Securities and Exchange Commission

pursuant to Section 12(g) of the Exchange Act. GPB also failed to provide audited financial

statements to their investors for fiscal years 2017, 2018, or 2019.

       55.     In addition, the Fund Administrator, Phoenix, knew that the “Current Distribution

Statements” it was providing to class members did not actually portray the current or net value of

Class members’ interests in the GPB Funds, because they failed to account for the large



                                                 34
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 35 of 229




commissions and upfront payments from the capital invested. Specifically, Phoenix falsely

informed investors of the amount of their “Total Capital Invested.” Phoenix routinely overstated

this amount by not deducting from it the exorbitant upfront commissions and expenses paid

upfront, which reduced the amount of the investor’s capital invested. Thus, Phoenix, as part of the

fraud, deliberately overstated the actual amount of capital each partner had invested in their capital

account. This had the effect of hiding the exorbitant expenses and commissions charged and their

effect on the performance of the investment. Attached hereto as Exhibit A are sample Account

Statements issued by Phoenix and GPB to investors for the various GPB Funds (These Account

Statements have been redacted to omit personal or banking information.).

       56.     The failures described herein, in turn, directly and proximately caused the values

of the Plaintiffs and the Class members’ limited partnership units to decline and caused Plaintiffs

and the Class members to suffer losses, and to overpay.

       57.     From March 2018 through June 2019, a series of third-party disclosures began to

reveal significant malfeasances relating to the Funds. Specifically, as described more fully below,

in March 2018, Patrick Dibre, a former dealer in GPB’s network of automobile dealerships

asserted serious allegations of financial misconduct against GPB Capital and other Defendants.

       58.     In August 2018, GPB Capital and Gentile admitted that their accounting systems

were not working, disclosing “material weaknesses in [the] internal controls” of Holdings II.

       59.     GPB Capital explained that “[t]hese areas include controls over related party

transactions and disclosures, the consolidation processes and audit oversight enhancements.”

       60.     In August 2018, GPB Capital further disclosed that its financial statements and

independent accountants’ reports for 2015 and 2016 “should no longer be relied upon” by

investors. According to InvestmentNews, Gentile announced:



                                                 35
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 36 of 229




                We currently expect that the restatements will include adjustments to the
                2015 and 2016 financial statements for items including reclassification of
                certain transactions and/or corrections in the timing and amounts of income
                recognition, and enhanced disclosure of certain related party transactions.
                In light of the above, we have concluded that certain material weaknesses
                in internal controls exist, and as a result these internal controls over the
                financial reporting processes will need to be revised and enhanced.”3

        61.     In August 2018, GPB Capital further announced that it was suspending Automotive

and Holdings II’s investor redemptions. It also announced that the audits for Holdings, LP (for

fiscal 2016) and for Automotive Portfolio, LP (for fiscal 2015 and 2016) would have to be restated

and could no longer be relied upon

        62.     In September 2018, the Massachusetts Secretary of State announced that it was

investigating broker-dealers who offered investments sponsored by GPB Capital.

        63.     On November 9, 2018, GPB Capital announced that Crowe, the auditor for certain

of the portfolio operating companies of one or more of the Funds and for at least one of the Funds,

GPB Automotive Portfolio, LP (as well as for and GPB Holdings, LP), had resigned due to

“perceived risks that Crowe determined fell outside of their internal risk tolerance parameters.”

GPB Capital attributed the delay in completing the 2017 audit of Automotive Portfolio to this

development.

        64.     In a startling disclosure, GPB Capital admitted in a November 14, 2018 filing with

the SEC that it had engaged in Ponzi-like conduct to generate distributions and give a false

appearance of successful operations. This disclosure made clear that “amounts that the [GPB]

Companies distribute to Investors have in the past accordingly included, and may in the future

accordingly include, invested capital and have not been, and may not in the future be, entirely

comprised of income generated by the Portfolio Companies.” (Emphasis added.) This disclosure


3
       https://www.investmentnews.com/article/20180824/FREE/180829944/top-private-placement-manager-gpb-to-
restate-financial-statements-of.

                                                    36
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 37 of 229




to the SEC made clear for the first time that GPB was in fact using new investor money or the

investors’ own capital to pay distributions to old investors, because its business holdings were not

earning profits.

       65.     In December 2018, media reports indicated that the Securities and Exchange

Commission had commenced an investigation into GPB Capital, following the initiation of a

similar investigation by the Massachusetts state securities regulators.

       66.     Similarly, in February 2018 the media reported that the FBI and officials from the

New York City Business Integrity Commission had raided GPB’s New York office, as well as the

office of Five Star Carting, a major private trash hauler that GPB owned.

       67.     On April 4, 2019, GPB Capital advised investors in Automotive and Holdings II

that audits for the 2017 and 2018 fiscal years had not yet been completed, attributing the delay to

“several factors both internal and external.” GPB Capital further advised that it had “set the goal

of issuing the 2017 audits for Holdings II, Auto[motive] Portfolio and GPB Holdings by June 30,

2019, with the 2018 audits for these Partnerships being issued thereafter, with a target date of

completion of no later than September 30, 2019.” These audits have not yet been completed.

       68.     In or about June 2019, GPB Capital, through the Broker Defendants, for the first

time communicated to investors that the value of their investment in GPB Funds had declined

between 25-70% in value, depending on the Fund, or at least $750,000,000 in total. In so doing,

GPB Capital was effectively admitting it had prepared and distributed false and misleading

financial information in its monthly asset value statements and financial statements, that the

Valuation Defendants had possibly miscalculated and misstated the values of the GPB assets, and

that such gross miscalculations were incorporated into the financial information provided by GPB

to the investors with the knowledge of the Valuation Defendants and the Auditor Defendants.



                                                37
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 38 of 229




       69.     Additional information about GPB’s misconduct, confirming that GPB made

material misrepresentations and omissions in the Offering Documents, has recently been revealed.

On July 19, 2019, David Rosenberg and related trusts, who were former business partners of GPB’s

various Funds relating to automobile dealerships, sued GPB Capital and its affiliates. As described

herein, Rosenberg has asserted further serious detailed financial misconduct by GPB Capital.

       70.     On October 29, 2019, GPB Capital sent a letter to investors in Automotive,

Holdings, Holdings II, NYC Development, and Waste Management disclosing that its Chief

Compliance Officer Michael Cohn had been indicted, based on allegations that while employed at

the SEC, he had accessed and disclosed confidential information about the SEC's investigation of

GPB Capital in connection with interviewing for a position at GPB Capital. This indictment caused

GPB to hire a third-party law firm to investigate the circumstances surrounding Cohn's hiring.

       71.     On November 22, 2019, GPB Capital sent a letter to investors in Automotive,

Holdings, Holdings II, and Waste Management regarding an audit update and the indictment of

GPB Capital’s former Chief Compliance Officer Michael Cohn. Attributing the news to Cohn’s

indictment and “other matters,” the letter explained “the Partnership’s auditor has decided to

suspend work on outstanding financial statement audits. In addition, the Audit Committee has

elected to resign effective upon the earlier date of the completion of the Rosenberg investigation

or by November 27, 2019. Pending the results of the Cohn and Rosenberg investigations, as well

as the reconstitution of the Audit Committee, the Partnership’s auditor will provide further

guidance.”

       72.     On May 27, 2020, the Commonwealth of Massachusetts commenced an

adjudicatory proceeding against GPB Capital for violations of Massachusetts law asserting that

GPB Capital, in connection with the offer or sale of securities, directly or indirectly to



                                                38
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 39 of 229




Massachusetts investors, (a) made untrue statements of material fact or omitted to state a material

fact necessary in order to make the statements made, in the light of the circumstances under which

they are made, not misleading, and (b) engaged in an act, practice, or course of business which

operated or would operate as a fraud or deceit upon such investors. Massachusetts’ complaint

alleges that "[i]n order to keep up with distributions, GPB Capital began dipping into other sources

of income, contrary to statements made in its private placement memoranda and marketing

materials." Massachusetts also alleges that GPB "turned to investor contributions to meet the

demands of the 8% monthly distributions, and the fund financials tell as much." GPB never

disclosed to investors that Funds' distributions exceeded their net incomes.

       73.     As of this filing, GPB has still not issued long overdue audited financial statements

for prior fiscal years for its GPB Funds.

                                 JURISDICTION AND VENUE

       74.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2)(A) because

the number of proposed class members exceeds 100, the amount in controversy exceeds the sum

or value of $5,000,000, exclusive of interest and costs, and Plaintiffs and other Class members are

citizens of a different state than at least one of the Defendants.

       75.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Ascendant Capital, DJ Partners, LLC, and Lion Street Financial, LLC each maintain their principal

places of business in this District, Schneider resides in this District, many class members reside in

this District, and a substantial part of the events or omissions giving rise to the claims occurred in

this District. The Offerings at issue were conducted from Texas and hundreds, if not thousands,

of Texas residents bought limited partnership interests in the GPB Funds.             Schneider and

Ascendant Capital’s involvement in the Offerings was so pervasive that effectively all offerings



                                                  39
         Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 40 of 229




and sales of GPB limited partnership interest ran through Ascendant Capital offices in Austin,

Texas.

         76.      This Court has personal jurisdiction over each Defendant because each Defendant,

directly or through its directors, officers, employees, representatives, and/or agents sold (or aided

in the sale of) the subject investments throughout the United States, including in this judicial

district, and has sufficient contacts with this state, individually and as an agent of GPB and

Ascendant. Personal jurisdiction in class actions is viewed from the point of the named Plaintiffs

only, and it is beyond dispute that there is personal jurisdiction in Texas over Defendants named

in Plaintiffs’ claims.

I.       Additional Jurisdiction and Venue Allegations

         A.       The Broker Defendants, Axiom and Ascendant Strategies

         77.      Venue and Jurisdiction in this District are appropriate with respect to each and

every one of the Broker Defendants, because each such Broker Defendant, as well as Axiom and

Asccent Capital, has consented in writing to both personal jurisdiction and venue in the State of

Texas. Specifically, each Broker Defendant,4 as well as Axiom and Ascendant Strategies, has

executed a Form BD-1 (Form BD”) in connection with its registration as a Broker Dealer under

the Securities and Exchange Act of 1934. In such Forms BD, they each consented to Jurisdiction

and Venue here. The operative language of this consent is as follows:

                  For the purposes of complying with the laws of the State(s) designated in
                  Item 2 relating to either the offer or sale of securities or commodities, the
                  undersigned and applicant hereby certify that the applicant is in compliance
                  with applicable state surety bonding requirements and irrevocably appoint
                  the administrator of each of those State(s) or such other person designated
                  by law, and the successors in such office, attorney for the applicant in said
                  State(s), upon whom may be served any notice, process, or pleading in any
                  action or proceeding against the applicant arising out of or in

4
 Bradley Wealth, an RIA, did not execute a Form BD, but did file a Form ADV with the SEC stating that it is registered
to transact business in Texas.

                                                         40
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 41 of 229




               connection with the offer or sale of securities or commodities, or out of
               the violation or alleged violation of the laws of those State(s), and the
               applicant hereby consents that any such action or proceeding against
               the applicant may be commenced in any court of competent jurisdiction
               and proper venue within said State(s) by service of process upon said
               appointee with the same effect as if applicant were a resident in said
               State(s) and had lawfully been served with process in said State(s).

A true and correct copy of the Form BD, Uniform Application For Broker-Dealer Registration is

attached hereto as Exhibit B, at p. 1 (emphasis added).

       78.     Accordingly, the Broker Defendants, as well as Axiom and Ascendant Strategies,

have voluntarily consented in writing to both Jurisdiction and Venue in this District, as the claims

asserted “aris[e] out of or in connection with the offer or sale of securities or commodities, or out

of the violation or alleged violation of the laws of those State(s) [designated in Item 2 of Form BD,

including the State of Texas].” Id.

       79.     As noted, all of the Broker Defendants, Axiom and Ascendant Strategies are

registered as broker dealers in Texas. In addition, certain of the Broker Defendants have also

subjected themselves to specific Jurisdiction and Venue in this District because they are operating

brokerage businesses on a full-scale basis in this Jurisdiction, and the claims asserted arise from

such brokerage business. They have subjected themselves to specific Jurisdiction as the claims

asserted herein arise in connection with the unregistered Offering through Ascendant Capital in

Texas, arising from Defendants’ purposeful acts in the State of Texas in connection with such

Offerings. See description of each Broker Defendant below at ¶117a-nnn.

       80.     Further, a total of twenty-two (22) Broker Defendants employ brokers or have

brokerage offices in Texas through which they offered, sold or participated in the offering and/or

sale of the GPB limited partnership interests in Texas. In addition, as virtually all Broker

Defendants (except as noted above) were registered to sell securities in Texas, many of these



                                                 41
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 42 of 229




Broker Defendants also offered, sold or participated in the offering and/or sale of the GPB limited

partnership interests in Texas.

       B.      The Fund Administrator, Auditor Defendants and Valuation Defendants

       81.     This Court has specific jurisdiction over Phoenix and venue is proper here, because

Fund Administrator Phoenix engaged in purposeful activities directly with hundreds of Texas

residents, including two of the named Plaintiffs and numerous class members, in the State of Texas

on a regular basis throughout the GPB Offerings. This purposeful activity constituted a violation

of the TSA, as well as a tort or multiple torts in the State of Texas.

       82.     The specific contacts of Phoenix in the State of Texas consisted of its role in

transacting the actual investment in the GPB Funds for, and its undertaking an administrator/client

relationship with (on information and belief), hundreds of Texas residents who were investors in

the GPB Limited Partnerships. In connection with such administration, Phoenix developed a

privity-like relationship with each such Texas investor in GPB before such Texas investor was

even admitted to the partnership, including named Plaintiffs Wade, Crooks and Bell. Phoenix was

given personal financial information with respect to such investor, including information

concerning the amount of their investment in GPB limited partnership interests and other financial

information with respect to their assets and financial background. Phoenix was contractually

bound to provide such investors with accurate information concerning their investments in GPB

and the value of such investments on a regular monthly basis. Indeed, GPB and Phoenix, on a

regular and continuous basis, sent to hundreds of investors in the State of Texas at least 12 times

a year a statement of their account which contained gross misrepresentations and falsities, which

substantially contributed to the Texas Securities Act violations alleged herein with respect to GPB.

The form of such NAV statements sent to investors in the State of Texas is annexed hereto as

Exhibit A.
                                                  42
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 43 of 229




       83.     Phoenix also regularly interacted with Austin, Texas-based Ascendant Capital to

determine who had invested in the GPB Funds, to obtain the substance of the Class members’

financial information and to complete these investments in the GPB Funds, and Phoenix also

regularly provided Ascendant Capital in Texas with information regarding subscriptions, and

interacted with Ascendant in Texas regularly and continuously concerning investments in the

Fund. As noted, Phoenix also prepared personalized information related to the investment activity

and the value of the GPB limited Partnership interests owned by hundreds of Texas residents. By

sending such statements to hundreds of Texas investors on a regular and continuous basis for

numerous years, and by falsely representing the value of such limited partners’ interests in GPB,

Phoenix purposefully acted in the State of Texas, whereby it committed a tort in the State of Texas,

rendering it liable and subject to personal jurisdiction. Phoenix also made continuous and regular

payments to Brokers, including Ascendant in the State of Texas, over a multiyear period. Phoenix

acted as paymaster for Ascendant and GPB and thus regularly paid Ascendant in Texas its secret

share of GPB compensation from Fund activities. As such, it maintained the scheme in Texas

directly by paying undisclosed excessive fees to Ascendant in Texas. Phoenix also regularly paid

Brokers in Texas excessive compensation, at Ascendant’s direction and as its agent, in connection

with the Offerings made to such Brokers. In sum, Phoenix directly, and as Ascendant’s Agent,

regularly did business in Texas with Brokers effecting the GPB Offering and with owners of GPB

securities in Texas.

       84.     Phoenix’s regular, continuous and purposeful activities in the State of Texas

involving a direct privity relationship with hundreds of investors, pursuant to which it provided

such investors with false and misleading financial information, and which aided, abetted and

materially assisted in the Ponzi scheme described herein constitutes minimum contact sufficient



                                                43
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 44 of 229




under Texas law and federal law to subject them to specific jurisdiction with respect to such

activity.

        85.     This Court also has jurisdiction and venue with respect to the Auditor Defendants,

RSM, Crowe, EsinerAmper and CohnReznick, because they each engaged, through one or more

offices in the State of Texas, in regular and continuous business operations related to accounting,

consulting and related services provided to Ascendant and GPB in Texas, and other related entities

in and through the State of Texas. Similarly, Margolin and Withum also engaged in regular and

continuous business operations related to accounting, consulting, valuation and related services to

Ascendant and GPB, and other related entities in and through the State of Texas.        GPB has a

permanent presence in the State of Texas, including in Austin, Texas, at offices it shares with

Ascendant Capital. On information and belief, these Auditor Defendants’ offices in Texas

conducted all or part of the work related to the claims, which are being addressed in connection

with this litigation.

        86.     Similarly, the Court has jurisdiction and venue with respect to the Valuation

Defendants, Deloitte Transactions and Business Analytics LLP (“Deloitte”) and Morrison, Brown,

Argiz & Ferra, LLC, because they each have offices in the State of Texas and/or engaged in regular

and continuous business operations related to accounting, advisory, consulting and related services

to Ascendant, GPB and the GPB Funds, and other related entities in and through the State of Texas.

On information and belief, these Valuation Defendants conducted all or part of the work related to

claims, which are being addressed in connection with this litigation, in Texas and in this district.

In particular, Deloitte has significant Texas offices in Austin and Dallas.




                                                 44
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 45 of 229




                                       THE PARTIES

       Plaintiffs

       87.    On or about September 16, 2015, Plaintiff Kinnie Ma Individual Retirement

Account (“Kinnie Ma IRA”), by and through Kinnie Ma, a resident of California, purchased a

$64,207 limited partnership interest in GPB Holdings II, LP from GPS Capital Management, LLC.

Plaintiff Kinnie Ma IRA has been damaged by the wrongful conduct alleged herein.

       88.    In or about January 2016, Plaintiff Dean Crooks (“Crooks”), a resident of Texas,

purchased a $100,000 limited partnership interest in GPB Holdings II, LP from IMS Securities

Inc. In or about June 2016, Plaintiff Crooks purchased a $50,000 limited partnership interest in

GPB Automotive Portfolio, LP from IMS Securities Inc. Plaintiff Crooks has been damaged by

the wrongful conduct alleged herein.

       89.    On or about November 1, 2017, Plaintiff Jeffery S. Gramm Individual Retirement

Account (“Gramm IRA”), by and through Jeffrey S. Gramm, a resident of Tennessee, purchased

a $100,000 limited partnership interest in GPB Automotive Portfolio, LP and a $100,000 limited

partnership interest in GPB Waste Management, LP, from Center Street Securities Inc. Plaintiff

Gramm IRA has been damaged by the wrongful conduct alleged herein.

       90.    On or about October 28, 2015, Plaintiff Stacy Greasor Individual Retirement

Account (“Greasor IRA”), by and through Stacy Greasor, a resident of Colorado, purchased a

$50,000 limited partnership interest in GPB Holdings II, LP from Geneos Wealth Management,

Inc. Plaintiff Greasor IRA has been damaged by the wrongful conduct alleged herein.

       91.    On or about February 3, 2017, Plaintiff Corri Rene Eden (“Rene Eden”), a resident

of Georgia, purchased a $50,000 limited partnership interest in GPB NYC Development, LP from




                                              45
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 46 of 229




Arkadios Capital Partners LLC. Plaintiff Rene Eden has been damaged by the wrongful conduct

alleged herein.

       92.        On or about December 1, 2015, Plaintiff Catherine Kominos (“Kominos”), a

resident of Virginia, purchased a $50,000 limited partnership interest in GPB Automotive

Portfolio, LP from Hightower Advisors, LLC and HighTower Securities, LLC (Kominos was not

admitted to GPB Automotive until April 8, 2016). Plaintiff Kominos has been damaged by the

wrongful conduct alleged herein.

       93.        In or about November 2017, Plaintiff Karen Loch (“Loch”), a resident of Georgia,

purchased a $75,000 limited partnership interest in GPB Automotive Portfolio, LP from Royal

Alliance Associates Inc. Plaintiff Loch has been damaged by the wrongful conduct alleged herein.

       94.        On or about April 3, 2017, Plaintiff Victor Wade Individual Retirement Account

(“Wade IRA”), through Victor Wade, a resident of Texas, purchased a $50,000 limited partnership

interest in GPB Holdings II, LP from SagePoint Financial. Plaintiff Wade IRA has been damaged

by the wrongful conduct alleged herein.

       95.        On or about March 4, 2015, Plaintiff Robert A. Stone Living Trust, dated January

9, 1992, as amended May 24, 2005 (“Robert Stone Trust”), by and through Robert Stone, a resident

of Colorado, purchased an $80,000 limited partnership interest in GPB Holdings, LP from

International Assets Advisory, LLC. Plaintiff Robert Stone Trust has been damaged by the

wrongful conduct alleged herein.

       96.        In or about April 2015, Plaintiff Shirley Stone Living Trust, dated January 9, 1992,

as amended May 24, 2005 (“Shirley Stone Trust”), by and through Shirley Stone, a resident of

Colorado, purchased a $100,000 limited partnership interest in GPB Holdings, LP. In addition, in

or about October 2016, the Shirley Stone Trust, by and through Shirley Stone, purchased a $50,000



                                                   46
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 47 of 229




limited partnership interest in GPB Waste Management, LP, from International Assets Advisory,

LLC. Plaintiff Shirley Stone Trust has been damaged by the wrongful conduct alleged herein.

       97.     In or about August, 2016, Plaintiff Kazue M. Bell (“Bell”), a resident of Texas,

purchased a $100,000 limited partnership interest in GPB Automotive Portfolio, LP from IMS

Securities Inc. Plaintiff Bell has been damaged by the wrongful conduct alleged herein.

       98.     In 2017, Millicent R. Barasch, a citizen of the State of Florida, purchased a

$150,000 limited partnership interest in GPB Automotive Portfolio, LP, which interest is now

owned by the Barasch Trust.

       99.     In 2017, Millicent R. Barasch purchased a $220,000 interest in GPB Holdings II,

which interest is now owned by the Barasch Trust.

       100.    In 2017, Millicent R. Barasch purchased the Barasch Trust purchased a

$281,570.40 interest in GPB Waste Management that is now owned by the Barasch Trust.

       101.    In 2018, Plaintiff Loretta DeHay, a resident of Texas, purchased a $100,000 interest

in GPB Automotive.

       102.    Each of the Plaintiffs’ purchases, described above, was not consummated until each

Plaintiff was admitted to the limited partnership (the GPB Fund in which they purchased an

interest), which occurred approximately 30 days or more after the above payments were made.

       The GPB Related Defendants

       103.    Defendant Ascendant Capital, LLC (“Ascendant Capital”) was organized in Texas

and has a principal place of business in this district in Austin, Texas at 3811 Bee Cave Road, Suite

210, Austin, Texas 78746. Ascendant Capital is a “boutique alternative investment firm” that was

the lead distribution partner for GPB and through which Gentile, Schneider and Martino structured,

distributed, and offered, or arranged for the Broker Defendants to offer, the limited partnership



                                                47
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 48 of 229




interests in the GPB Funds. Ascendant Capital was founded in 2012 by Jeffry Schneider and,

beginning in 2013, offered the GPB Funds’ securities (the limited partnership units) as the Austin,

Texas branch office of Axiom Capital Management, Inc., a broker-dealer. In or about 2016,

Ascendant Capital and Schneider, along with Gentile and Martino, created Ascendant Alternative

Strategies, LLC, a broker-dealer, through which (beginning in 2017) they offered, or arranged for

the Broker Defendants to offer, the limited partnership interests in the GPB Funds.

       104.    Ascendant Capital, Schneider, and Axiom (prior to 2016), in and through their

Texas offices, were responsible for the preparation, distribution, review and acceptance of the

PPMs and subscription documents used to effect transactions in the GPB interests. Texas was the

“base of operations” for the Offerings.

       105.    According to its own marketing materials, Ascendant Capital in Texas was

involved in all aspects of the Offering process, namely:

           a. Product Development, including structuring, research, product management of

               product launch (including the PPMs, Offering Materials, “Sub Docs” (i.e., the

               subscription documents), and the Limited Partnership Agreement;

           b. Due Diligence, including third party reports (i.e., the DD Reports from Mick &

               Associates, FactRight, Mercer, Buttonwood and Snyder Kearney), Due Diligence

               Questionnaires, upfront and ongoing due diligence, and ongoing oversight;

           c. Compliance, providing an “additional layer of oversight” including “four Series 24

               held[,] advertising oversight[,] and marketing materials oversight”;

           d. Marketing, including preparing communications, messaging, copy, website, search

               engine optimization (SEO), Due Diligence/Marketing Events, public relations, and

               positioning and fulfillment;



                                                48
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 49 of 229




           e. Sales, including distributions, education, and national accounts;

           f. Client Relations, including support, updates, platforms and custodians.

       106.    On information and belief, Schneider in large part drafted the PPMs in Texas. The

FactRight and Snyder Kearney DD Reports specifically stated that Ascendant Capital reviewed,

drafted and prepared the marketing materials in Texas. Texas was the headquarters and base of

operations for the distribution of the Securities, i.e., GPB limited Partnership interests, where: (1)

Ascendant Capital held numerous due diligence and sales meetings on a regular monthly or

quarterly basis in Austin, Texas with out-of-state Brokers, i.e., the Broker Defendants, who were

marketing the GPB limited Partnership interests; (2) Ascendant Capital and its employees

presented numerous marketing and due diligence webinars from Austin, Texas to brokers

throughout the United States; (3) at least 35 Texas-based Ascendant Capital personnel, comprising

its marketing, sales and capital markets teams, were involved solely in the distribution from

Austin, were physically located or managed from there, and conducted sales efforts for Ascendant

Capital from there; (4) Ascendant Capital received subscription documents that had been

completed by investors which were faxed there for review and acceptance or rejection and

according to an internal Ascendant Capital DDQ, was responsible for “processing of subscription

documents and transfer requests”; (5) Ascendant Capital’s Sales representatives or “Capital

Markets Team” drafted and sent thousands of emails, as well as marketing and due diligence

materials, from Ascendant Capital in Austin, Texas to brokerage firms, customers and potential

customers in connection with facilitating the Offering. In addition, Ascendant Capital employees

made hundreds of conference calls with brokers and customers from Texas. Ascendant Alternative

Strategies was not organized to sell the Securities in the subject Offerings. Instead, it merely

functioned as the “back office” for the Texas offices effecting the distribution. In addition to



                                                 49
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 50 of 229




having offices in and operating in Austin, Texas, Ascendant Capital and GPB located numerous

companies for investment in Texas, and many of the portfolio companies in which the GPB Funds

ultimately did invest were located in Texas.

       107.    Defendant Ascendant Alternative Strategies, LLC (“Ascendant Strategies”) was

organized in Delaware in 2016, and has offices at 3811 Bee Cave Road, Suite 210, Austin, Texas

78746. Ascendant Strategies is affiliated with both Ascendant Capital and GPB. Ascendant

Strategies was founded by Gentile, Schneider and Martino, its CEO. Schneider, Martino and

Gentile are majority owners of Ascendant Strategies through DJ Partners (Gentile and Schneider)

and MR Ranger (Martino). Ascendant Strategies executed a Form BD indicating that it was

registered to sell Securities in Texas and had consented to jurisdiction and venue in the courts in

Texas. Its affiliate, Ascendant Capital in Texas became the headquarters for the GPB Offerings

as described in the preceding paragraph. As noted, Ascendant Strategies provided the “back

office” services and held brokerage licenses for Ascendant Capital in Austin, Texas which was

affecting the distribution.

       108.    Defendants Ascendant Capital and Ascendant Strategies are commonly controlled

and are collectively referred to herein as “Ascendant.”

       109.    Defendant GPB Capital Holdings, LLC (“GPB”) is a Delaware limited liability

company with a principal place of business in New York City and with principal offices in Austin,

Texas, where it shared office space with Ascendant. GPB is the general partner of the GPB Funds

and was at all relevant times the control person and manager of the GPB Funds. GPB, therefore,

effected the GPB Funds’ securities offerings. GPB is an investment advisor registered under the

Investment Advisers Act of 1940 (“IAA”) and, as such, is a fiduciary to Plaintiffs and the Class




                                                50
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 51 of 229




members. Pursuant to the IAA, GPB may not waive nor seek the waiver of its fiduciary duties, and

any such waiver would be unenforceable.

       110.    Defendant Highline Management, Inc. (“Highline”) is a Delaware corporation with

a principal place of business in New York, New York.

       111.    Defendant Axiom Capital Management, Inc. (“Axiom”) was incorporated in

Delaware, has a principal place of business in New York, New York, and also has offices in Austin,

Texas. Axiom is a licensed securities broker-dealer firm that has been affiliated with Schneider

and Ascendant Capital. Axiom executed a Form BD indicating that it was registered to sell

Securities in Texas and had consented to jurisdiction and venue in the courts in Texas. Axiom’s

Austin, Texas branch, Ascendant Capital, acted as the primary distribution partner of GPB from

2013 through at least 2016, as described herein. During that time period, Axiom, through

Ascendant Capital, materially participated in the preparation and dissemination of the Offering

Materials and subsequent communications distributed to Plaintiffs and other Class members.

       112.    Defendant DJ Partners, LLC (“DJ Partners”) is a Delaware limited liability

company with a principal place of business at 3811 Bee Cave Road, Suite 210, Austin, Texas

78746. It owns a majority interest in Ascendant Strategies. Upon information and belief, Gentile

and Schneider jointly own and control DJ Partners LLC. This ownership was not disclosed in the

Offering Materials but was disclosed in the DD Reports made available to the Broker Defendants,

Phoenix, and the Auditor Defendants (but not to Plaintiffs and other Class members).

       113.    Defendant MR Ranger LLC (“MR Ranger”) is a Delaware limited liability

company with a principal place of business at 19 Colonial Road, White Plains, New York. It owns

a majority interest in Ascendant Strategies. Upon information and belief, Mark D. Martino, the

CEO of Ascendant Strategies, and former CEO at Axiom, owns and controls MR Ranger.



                                               51
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 52 of 229




       114.    Defendants GPB Holdings, LP, GPB Holdings II, LP, GPB Holdings III, LP, GPB

Holdings Qualified, LP, GPB Automotive Portfolio, LP, GPB Cold Storage, LP, GPB NYC

Development, LP, and GPB Waste Management, LP are limited partnerships that were organized

under the laws of Delaware for the purpose of investing each of the Funds’ cash assets into

operating businesses in various industries. GPB is the general partner for each of the Funds.

       115.    Defendant GPB Managed IT Fund was headquartered in and conducted all

operations from Austin, Texas. Funds realized by GPB Managed IT Fund flowed through and

between each of the other GPB Funds in furtherance of the GPB/Ascendant Ponzi Scheme.

       116.    GPB Holdings, LP, GPB Holdings II, LP, GPB Holdings III, LP, GPB Holdings

Qualified, LP, GPB Automotive Portfolio, LP, GPB Cold Storage, LP, GPB NYC Development,

LP, GPB Waste Management, LP, GPB Automotive Income Fund, Ltd.and GPB Managed IT

Fund, are collectively referred to herein as the “GPB Funds,” the “Funds,” or the “Fund

Defendants.”

       117.    GPB, Ascendant Capital, and the Fund Defendants are collectively referred to

herein as the “GPB Defendants.”

       118.    Ascendant Strategies, Axiom, DJ Partners and MR Ranger are collectively referred

to herein as the “GPB Affiliated Defendants.”

       The Individual Defendants

       119.    Defendant David Gentile (“Gentile”) is a New York resident and is the founder,

Chief Executive Officer, and managing member of GPB. Prior to founding GPB, Gentile worked

at Gentile, Pismeny & Brengel, LLP, an accounting firm, where he provided financial and strategic

advisory services. He is a majority owner of Ascendant Strategies through his interest in DJ

Partners.



                                                52
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 53 of 229




       120.    Defendant Jeffry Schneider (“Schneider”) is an Austin, Texas resident and is the

founder and CEO of Ascendant Capital and co-founder of GPB. He prepared and distributed the

Offering Materials to brokers and customers out of his Austin, Texas office, first as a Texas branch

office of Axiom and later through Ascendant Capital. Schneider and Ascendant controlled and

managed all of the Offerings and, therefore, all eight Offerings were affected from Texas. At all

relevant times Schneider was a control person of GPB. Schneider was also a majority owner of

Ascendant Strategies through his interest in DJ Partners.

       121.    Defendant Mark Martino (“Martino”) is the CEO of Ascendant Strategies, and a

majority owner (through MR Ranger LLC) of Ascendant Strategies. Martino co-founded

Ascendant Strategies and has been “in control of it” since at least March 14, 2017. Prior to the

creation of Ascendant, Martino worked for Axiom, where he served as CEO and President.

       122.    Gentile, Schneider, and Martino are collectively referred to herein as the

“Individual Defendants.”

       The Fund Administrator

       123.    Defendant Phoenix (“Phoenix” or the “Fund Administrator”) is a California

corporation with its principal place of business in San Rafael, California. Phoenix provides

registered transfer agent services, fund administration, fund accounting, corporate accounting and

sales and marketing reporting services. At all times relevant hereto, Phoenix served as the fund

administrator for private placement offerings of the Funds and reported to limited partners the

NAV for the Funds, and the amount of capital invested by each such limited partner for each Fund

at issue, including, but not limited to, Automotive, Holdings II, and GPB Holdings III, LP.

Phoenix was also the paymaster for GPB and Ascendant. As described herein, Phoenix regularly

took purposeful action in Texas by sending false financial information to hundreds of Texas



                                                53
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 54 of 229




investors at their home address on a monthly basis, thereby causing injury in the State of Texas.

This false financial information enabled GPB to continue its Ponzi scheme by hiding the actual

declining value of the limited partners’ capital accounts.

       The Auditor Defendants

       124.    RSM US LLP, formerly known as McGladrey LLP (“RSM”), is a limited liability

partnership with its principal place of business in Chicago, Illinois, and with offices in in Austin,

Texas, as well as in Dallas, Houston, and San Antonio, and has over 700 employees in Texas. It is

registered to do business in Texas according to the Texas Secretary of State. On information and

belief, these Texas-based employees performed services in connection with the audits referenced

herein, and other RSM employees travelled to Texas as part of their audit. RSM styles itself as a

leading U.S. provider of audit, tax and consulting services focused on the middle market. RSM

served as the outside auditor for certain of the Funds, including Holdings II. It audited the financial

statements of GPB Holdings II for fiscal years 2015 and 2016 but its opinion regarding those audits

has since been withdrawn.

       125.    Defendant Crowe, LLP (“Crowe”) is a limited liability partnership with its principal

place of business in Chicago, Illinois, and with offices in Dallas and Houston, Texas and at least

65 employees in Texas. It is registered to do business in Texas according to the Texas Secretary

of State. Upon information and belief, Crowe’s Texas-based employees performed services in

connection with the audits referenced herein, and other Crowe employees travelled to Texas as

part of their audit. Crowe styles itself as a leading U.S. provider of audit, tax and consulting

services focused on the middle market. Defendant Crowe LLP was the auditor of GPB Capital

Holdings and as the outside auditor for certain of the Funds, including at least GPB Automotive

Portfolio, LP, GPB Holdings, LP and GPB Holdings Qualified, LP. Crowe audited the financial



                                                  54
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 55 of 229




statements of GPB Automotive for fiscal years 2015 and 2016, the financial statements of GPB

Holdings, LP for fiscal year 2016, and the financial statements of GPB Holdings Qualified for

fiscal years 2016 and 2017. It issued audit opinions for GPB Automotive for fiscal year 2016, for

GPB Holdings for fiscal year 2016, and for GPB Holdings Qualified for fiscal year 2016, each of

which has since been withdrawn.

       126.    CohnReznick LLP (“CohnReznick”) is a limited liability partnership with its

principal place of business in New York, New York, and with offices in Austin and Houston, Texas

and at least four general partners in Texas as of September 9, 2020. It is registered to do business

in Texas according to the Texas Secretary of State. Upon information and belief, CohnReznick’s

Texas-based employees performed services in connection with the audits and accounting services

referenced herein, and other Cohn Reznick employees travelled to Texas as part of their audit.

CohnReznick styles itself as one of the largest accounting, tax and business advisory firms in the

United States. Defendant CohnReznick was the outside auditor for certain of the Funds, including

at least GPB Waste Management, for fiscal years 2016, 2017 and 2018. CohnReznick audited and

issued an audit opinion for the financial statements of Waste Management for fiscal year 2016.

       127.    EisnerAmper LLP (“EisnerAmper”) is a is a limited liability partnership with its

principal place of business in New York, New York, and with a regional office in Dallas, Texas.

It is registered to do business in Texas according to the Texas Secretary of State. One of

EisnerAmper’s principals is in charge of its Texas market. EisnerAmper’s website boasts that “Our

Dallas, Texas office has expertise serving clients in private equity, including fund sponsors and

their portfolio companies.”5 Upon information and belief, these Texas-based employees performed



5
                                                     https://www.eisneramper.com/eisneramper-dallas-
tx/#:~:text=Dallas%2C%20TX&text=Our%20Dallas%2C%20Texas%20office%20has,%2C%20audit%2C%20and
%20compliance%20challenges.

                                                55
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 56 of 229




services in connection with the auditing work referenced herein, and other EisnerAmper

employees travelled to Texas as part of their audit work. Defendant EisnerAmper was the outside

auditor for certain of the Funds, including at least GPB Automotive, for fiscal years 2016 through

2019, GPB Holdings for fiscal years 2017 through 2019, and GPB Holdings Qualified for fiscal

years 2017 through 2019.

       128.    Margolin Winer & Evens LLP (“Margolin”) is a limited liability partnership based

in Princeton, New Jersey, with additional offices throughout the United States. Margolin is

registered to do business in Texas according to the Texas Secretary of State. Upon information

and belief, Margolin performed services in connection with the audits referenced herein, and other

Margolin employees travelled to Texas as part of their audit. Margolin styles itself as one of the

largest accounting and business advisory firms in the Northeast. It provides accounting, auditing,

tax planning, tax strategies and advisory services. Defendant Margolin was the outside auditor for

GPB Capital from at least 2013 through 2017 and for certain of the Funds, including at least GPB

Automotive, GPB Holdings and GPB Holdings Qualified. Margolin audited the financial

statements of GPB Capital for fiscal years 2014, 2015 and 2016, and of GPB Holdings for fiscal

years 2013, 2014 and 2015, and of GPB NYC Developments for fiscal year 2018.

       129.    Withum Smith+ Brown, PC (“Withum) is a professional corporation with offices

in Long Island, New York, New York City, and Grand Cayman. Withum is registered to do

business in Texas according to the Texas Secretary of State. Upon information and belief, Withum

performed services in connection with the audits referenced herein, and other Withum employees

travelled to Texas as part of their audit. Withum provides accounting, auditing, tax planning, tax

strategies and advisory services. Defendant Withum was the outside auditor for GPB Waste

Management (Armada Waste Management LP), GPB Cold Storage, GPB Holdings III and GPB



                                               56
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 57 of 229




NYC Development. In particular, Withum audited the financial statements of GPB Cold Storage

for fiscal years 2015, 2016, 2017 and 2018, GPB Holdings III for fiscal year 2019, and GPB NYC

Developments for fiscal year 2018.

       130.   RSM, Crowe, CohnReznick, EisnerAmper, Margolin and Withum are referenced

herein collectively as the “Auditor Defendants.”

       The Valuation Defendants

       131.   Defendant Deloitte Transactions and Business Analytics LLP (“Deloitte”):

              a.       is an accounting advisory and valuation firm which provides services to a

                      variety of businesses and specializes in providing valuation, strategic

                      financial planning, and other financial advisory services to businesses,

                      including valuation services related to assets and ownership interests in

                      private companies. Deloitte holds itself out as skilled and experienced in

                      such valuation services;

              b.      has offices in Dallas, San Antonio and Houston, Texas. Deloitte also has

                      numerous principals and employees in Texas locations, including 67

                      general partners in Texas according to its filings with the Texas Secretary

                      of State, and owns a material part of its business in and through Texas.

                      Deloitte is registered to do business in Texas according to the Texas

                      Secretary of State and regularly and continuously does business in Texas.

                      Deloitte also regularly provides services to Texas based entities, including

                      Ascendant and GPB. Upon information and belief, Deloitte performed

                      services in connection with the valuation referenced herein in Texas, and




                                                 57
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 58 of 229




           Deloitte employees travelled to Texas as part of their valuation work for

           GPB and Ascendant;

     c.    was retained by GPB and Ascendant during the period from approximately

           2017 through June 2019 to provide valuations of otherwise difficult to value

           assets held by the GPB Funds (other than GPB Holdings Qualified). It

           provided advice and recommendations in connection with the assessments

           of the fair values of certain non-publicly traded investments for financial

           reporting. Such valuations were necessary because most if not all of the

           assets held by such Funds were not publicly traded and had not traded at

           ascertainable market values. Thus, the valuations by Deloitte were essential

           to the financial reports prepared by the Funds and their auditors and to

           investors and prospective investors who relied upon such financial reporting

           to determine the performance of the relevant Funds. Indeed, because the

           assets owned had no market value, these Deloitte valuations were a primary

           constituent of the financial results provided to investors and prospective

           investors and thus a primary factor relied upon by them in their respective

           investment decisions. Deloitte allowed its name and reputation to be used

           in marketing the Funds. This was essential to such marketing, as investors

           could not rely upon GPB itself to value assets which had no trading market

           value because it was conflicted as to such values and received fees based

           upon such values;

     d.    prepared valuations that were materially inaccurate—GPB has written

           down the value of such assets by at least $750 million;



                                    58
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 59 of 229




     e.    provided valuations, the write downs of which have resulted in the failure

           of the Funds and the loss of the majority of customer invested capital;

     f.    Deloitte had general awareness of the GPB scheme for several reasons:

              1. First, Deloitte’s review of the GPB transactions uncovered that

                  many of the Fund assets were in whole or in part purchased from

                  insiders at GPB/Ascendant, like Gentile, raising red flags as to the

                  legitimacy of such transactions.

              2. Second, Deloitte’s review of the GPB transactions showed that

                  many of the assets on respective Fund’s balance sheets were

                  purchased with Funds from other separate GPB Funds, and the

                  “loans” respecting such Funds were not properly recorded.

              3. Third, Deloitte’s review of the subject transactions uncovered that

                  even when there were defaults in the GPB investments in debt or

                  preferred stock issued by the seller, GPB did not mark down such

                  assets purchased by them.

              4. Fourth, Deloitte’s review of the subject transactions uncovered that

                  the GPB Funds were not generating enough cash flow from

                  investments to pay the proposed 8% dividend and that GPB was thus

                  misrepresenting its returns.

              5. Fifth, many of the GPB transactions involved payment of otherwise

                  undisclosed fees to Ascendant, Gentile and Schneider. These insider

                  fees raised obvious concerns as to the testimony of the subject




                                    59
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 60 of 229




                       transactions and the adequacy of the PPM disclosure with respect

                       thereto.

                    6. In sum, Deloitte’s actual work in connection with such valuation

                       would have disclosed to it the nature of the GPB scheme.

        g.     approved materially false valuations for the GPB assets that provided cover

               for and substantial assistance in the services to the GPB Defendants. By

               representing to investors that an international financial firm – Deloitte – was

               reviewing its asset valuations, GPB benefited from Deloitte’s reputation and

               status as a skilled and independent valuation agent, who was allegedly

               providing an independent review of valuations. In fact, such review was

               materially false and GPB assets were in fact overstated by at least $750

               million. Deloitte’s role in “passing on” these falsely inflated values enabled

               the scheme to proceed without detection.

132.    Defendant Morrison, Brown, Argiz & Farra, LLC (“MBAF”):

   a.   is an accounting firm which provides accounting services to businesses, including

        primarily valuation services related to assets and ownership interests in private

        companies. MBAF holds itself out as skilled and experienced in such valuation

        services;

   b. is headquartered at 1450 Brickell Avenue, 18th Floor, Miami, FL 33131, is

        registered to do business in Texas according to the Texas Secretary of State and has

        multiple principals who are licensed to do accounting work in Texas. Upon

        information and belief, MBAF performed services in connection with the valuation




                                         60
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 61 of 229




     referenced herein in Texas, and MBAF employees travelled to Texas as part of their

     valuation work for GPB and Ascendant.

  c. MBAF was retained during the period from approximately 2016 through 2017 to

     provide valuations of otherwise difficult to value assets held by at least GPB

     Holdings II and GPB Automotive. It provided advice and recommendations in

     connection with the assessments of the fair values of certain non-publicly traded

     investments for financial reporting. Such valuations were necessary because most

     if not all of the assets held by such Funds were not publicly traded and had not

     traded at ascertainable market values.     Thus, the valuations by MBAF were

     essential to the financial reports prepared by the Funds and their auditors and to

     investors and prospective investors who relied upon such financial reporting to

     determine the performance of the relevant Funds. Indeed, because the assets owned

     had no market value, these MBAF valuations were a primary constituent of the

     financial results provided to investors and prospective investors and thus a primary

     factor relied upon by them in their respective investment decisions. MBAF allowed

     its name and reputation to be used in marketing the Funds. This was essential to

     such marketing, as investors could not rely upon GPB itself to value assets which

     had no trading market value because it was conflicted as to such values and received

     fees based upon such values;

  d. provided valuations that were materially inaccurate—GPB has written down the

     value of such assets by at least $750 million;

  e. provided valuations, the write downs of which have resulted in the failure of the

     Funds and the loss of the majority of customer invested capital;



                                      61
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 62 of 229




  f. had general awareness of the GPB scheme for several reasons:

                1. First, MBAF’s review of the GPB transactions uncovered that many

                   of the Fund assets were in whole or in part purchased from insiders

                   at GPB/Ascendant. Like Gentile, raising red flags as to the

                   legitimacy of such transactions.

                2. Second, MBAF’s review of the transactions showed that many of

                   the assets on respective Fund’s balance sheets were purchased with

                   Funds from other separate GPB Funds, and the “loans” respecting

                   such Funds were not properly recorded.

                3. Third, MBAF’s review of the subject transactions uncovered that

                   even when there were defaults in the GPB investments in debt or

                   preferred stock issued by the seller, that GPB did not mark down

                   such assets purchased by them.

                4. Fourth, MBAF’s review of the subject transactions uncovered that

                   the GPB Funds were not generating enough cash flow from

                   investments to pay the proposed 8% dividend and that GPB was thus

                   misrepresenting its returns.

                5. Fifth, many of the GPB transactions involved payment of otherwise

                   undisclosed fees to Ascendant, Gentile and Schneider. These insider

                   fees raised obvious concerns as to the testimony of the subject

                   transactions and the adequacy of the PPM disclosure with respect

                   thereto.




                                     62
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 63 of 229




                          6. In sum, MBAF’s actual work in connection with such valuation

                              would have disclosed to it the nature of the GPB scheme.

           g. approved materially false valuations for the GPB assets that provided cover for and

               substantial assistance in the services to the GPB Defendants. By representing to

               investors that an expert financial firm – MBAF – was reviewing its asset valuations,

               GPB benefited from MBAF’s reputation and status as a skilled and independent

               valuation agent, who was allegedly providing an independent review of valuations.

               In fact, such review was materially false and GPB assets were in fact overstated by

               at least $750,000,000. MBAF’s role in “passing on” these falsely inflated values

               enabled the scheme to proceed without detection.


       133.    Deloitte and MBAF are referenced collectively herein as the “Valuation

Defendants”.

       GPB’s Accountant

       134.    Gentile Pismeny & Brengel LLP, (now known as Gentile Brengel & Lin, LLP)

(hereinafter, “Gentile Pismeny”) is a full-service tax, accounting and business consulting firm with

its principal place of business in Garden City, New York. Gentile Pismeny provided certain

accounting, advisory and related services to GPB and Ascendant, based in Texas, and prepared the

Schedules K-1 reporting limited partners’ respective shares of the partnership’s income,

deductions, and credits, which it sends to GPB’s limited partners (the Plaintiffs and class members

herein). Mr. Gentile was a member of Gentile Pismeny until December 31, 2014, and continues to

receive fixed payments pursuant to a buy-out agreement. Gentile and GPB did not disclose to Class

members that Mr. Gentile, the managing member of the General Partner, had had an ownership

interest in Gentile Pismeny the same accounting firm that GPB hired for advisory work, and that

                                                63
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 64 of 229




he was also receiving payouts from that firm. Mr. Gentile has indicated that the fixed payments

from Gentile Pismeny account for more than 10% of his income, but says that they do not require

a substantial amount of his time.

       135.    GPB’s Managing Partners and Directors Defendant Michael Frost is, and was at

all times mentioned herein, an individual citizen of the State of Texas, and currently resides in this

state. Defendant Frost was a Managing Partner of GPB Capital Holdings, LLC responsible for the

firm’s Technology Enabled Services Investments.

       136.    Defendant Scott Naugle is, and was at all times mentioned therein, an individual

citizen of the State of New York, and currently resides in that state. Defendant Naugle is the

Managing Director of Automotive Retail of GPB Capital Holdings, LLC. Naugle is responsible

for the financial oversight of the GPB Automotive Fund’s dealership investments, including

financial reporting, acquisition, due diligence, treasury, risk management, procurement, internal

audit and profit optimization.

       137.    Defendant Dotty Bollinger is, and was at all times mentioned therein, an individual

citizen of the State of Tennessee, and currently resides in that state. Defendant Bollinger was a

Managing Partner of GPB Capital Holdings, LLC. In this capacity Ms. Bollinger sourced,

structured, and monitored the GPB Funds’ acquisition of healthcare companies.

       138.    Defendant Evan Myrianthopoulos is, and was at all times mentioned therein, an

individual citizen of the State of New York, and currently resides in that state. Defendant

Myrianthopoulos is a Managing Partner of GPB Capital Holdings, LLC. In this capacity he is

responsible for sourcing, structuring and closing loans for GPB Capital’s Debt Strategies.

       139.    Defendant Steven Frangioni is, and was at all times mentioned therein, an

individual citizen of the State of New York, and currently resides in that state. Defendant Frangioni



                                                 64
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 65 of 229




was the Director of Fund Accounting of GPB Capital Holdings, LLC. In this capacity he is

responsible for overseeing all accounting, finance, and fundraising at GPB Capital.

       140.    Upon information and belief, Frost, Naugle, Bollinger, Myrianthopolous, and

Frangioni (herafter, “Managing Partners and Directors”), either personally or by directing

employees or other agents, transacted business for or on behalf of the GPB Funds from

GPB/Ascendant’s office in Austin, Texas, including sourcing and managing the Funds’ portfolio

companies and/or overseeing those Funds’ financial reporting, acquisition, due diligence, treasury,

risk management, procurement, internal audit and profit optimization processes.

       141.    Defendants Naugle and Frangioni, in their capacity as financial and compliance

officers, were integrally involved in the preparation of the financial and other records that revealed

the Ponzi scheme, self-dealing and other material misrepresentations described herein.

       142.    Per GPB Capital’s compliance manual, GPB’s compliance financial and/or

compliance officers are responsible for “identifying and documenting any compliance issues

which may arise.” Thus, these individuals had an affirmative duty to seek out violations and

therefore knew or should have known that GPB, Ascendant, their affiliates and control persons

were engaged in misconduct.

       143.    GPB Capital’s compliance manual also requires its Chief Compliance Officer

“ensure that all required disclosures are made and that all information presented is accurate and

not misleading” and “make such inquiries as necessary to establish the reasonable belief of all

advertising claims.” Moreover, the compliance manual further specifies that an advertisement is

false or misleading if it fails to disclose: that clients “had investment results materially different

from the results portrayed in the model/simulation;” any “material conditions, objectives, or

investment strategies used to obtain the results portrayed;” or “[s]uggests or makes claims about



                                                 65
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 66 of 229




the potential for profit without also disclosing the probability of loss.” Nonetheless, GPB and its

financial and compliance Principals failed to disclose that investors’ distributions were being

funded through contributions, not income from operations.

        144.    The GPB compliance manual also provided that all related party transactions were

supposed to be subject to review and approval. Defendants Frost, Bollinger, and Myrianthopoulos

were in charge of sourcing and managing the Funds’ portfolio companies. These individuals knew

or should have known that Gentile used the Funds to perpetrate extensive self-dealing as set forth

above. Additionally, they were required via the compliance manual to investigate and provide an

appropriate valuation for each of GPB Capital’s portfolio investments on at least a quarterly basis.

        145.    These individuals thus knew the Funds’ portfolio companies were not generating

adequate income to fund the 8% distributions out of operations as promised, and knew that Gentile

used the Funds to perpetrate extensive self-dealing as set forth above. Additionally, these

individuals had access to the earnings generated by the portfolio companies, and thus knew that

the Funds were losing money while still issuing distributions.

        146.    The Managing Partners and Directors ignored these red flags because they were

well-paid for their efforts.

        The CKGF Defendants

        147.    CKGF Holding, LLC (“CKGF”) is a New York corporation and has a principal

place of business in New York, New York. CKGF was involved in one or more self-dealing

transactions with the GPB Funds that emanated from GPB/Ascendant’s office in Austin, Texas.

        148.    Defendant McAnna, LP (“McAnna”) is a limited partnership with its principal

place of business in Boca Raton, Florida. On information and belief, Defendant McAnna, LP, owns

or controls a substantial interest in CKGF Holding, LLC and was involved in one or more self-



                                                66
         Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 67 of 229




dealing transactions with the GPB Funds that emanated from GPB/Ascendant’s office in Austin,

Texas.

         149.    Defendant Robert Kessler (“Kessler”) is, and was at all times mentioned therein,

an individual citizen of the State of New York, and currently resides in that state. On information

and belief, Defendant Robert Kessler owns or controls a substantial interest in CKGF Holding

LLC and was involved in one or more self-dealing transactions with the GPB Funds that emanated

from GPB/Ascendant’s office in Austin, Texas.

         150.    Defendant Gerald Francese (“Francese”) is, and was at all times mentioned therein,

an individual citizen of the State of Rhode Island, and currently resides in that state. On information

and belief, Defendant Gerald Francese is the registered agent for CKGF Holding LLC and was

involved in one or more self-dealing transactions with the GPB Funds that emanated from

GPB/Ascendant’s office in Austin, Texas.

         151.    Defendant Rina Chernaya (“Chernaya”) is, and was at all times mentioned therein,

an individual citizen of the State of Florida, and currently resides in that state. On information and

belief, Defendant Rina Chernaya owns or controls a substantial interest in CKGF Holding LLC

and was involved in one or more self-dealing transactions with the GPB Funds that emanated from

GPB/Ascendant’s office in Austin, Texas.

         152.    CKGF, McAnna, Kessler, Francese, and Chernaya are referenced collectively

herein as the “CKGF Defendants.”

         The Broker Defendants6

         153.    In connection with the limited partnership sales transactions described herein, each

of the Broker Defendants described below directly, materially and substantially aided GPB


6
  Claims as to the Broker Defendants are asserted in the Complaint filed by the Kinnie Ma Plaintiffs, only. These
claims are not asserted in the Complaint filed by the Barasch Plaintiffs.

                                                       67
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 68 of 229




Capital, the Individual Defendants, and the GPB Funds with actual knowledge of the falsity of the

statements made by them in the Offering Materials used in connection with such sales. The Broker

Defendants knowingly distributed materially false Offering Materials to investors, including the

PPMs, that contained Material Misrepresentations and Omissions. Each of the Broker Defendants

substantially assisted the GPB Funds and the GPB Defendants in their efforts to offer limited

partnership interests in the Funds by ensuring that these interests were widely offered to a large

number of investors in the United States. This provided the Funds and GPB Capital with the capital

to continue paying themselves exorbitant fees, continue operations, and continue making

distributions to prior investors in the various Funds, which were operated as a Ponzi scheme.

       154.    In addition, each of the Broker Defendants directly and substantially aided the

Funds and the GPB Defendants by participating in the illegal unregistered Offerings being affected

by GPB, which they knew were required to be registered under the TSA and the 1933 Act. The

Broker Defendants knew that the Offerings did not qualify for an exemption under SEC Regulation

D or SEC Rule 506. Each of the Broker Defendants knew from the DD Reports, their role in the

Offerings, and the size of the Offerings that GPB was required to register certain of the Securities

under the Securities Exchange Act. The Broker Defendants also knew the size of the Offerings

from GPB’s Form D filings with the SEC, which described for each Offering the brokers involved

in the sales, the amount of investment raised, and the number of investors.

       155.    The claims asserted against the Broker Defendants are limited in that Plaintiffs and

the other Class members are not suing and have not sued the Broker who sold them the Securities,

but are only suing each of the other Brokers for promoting, sustaining and materially aiding the

Ponzi scheme by knowingly distributing false or misleading PPMs and by raising money from the

scheme with knowledge that it was fraudulent.



                                                68
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 69 of 229




156.   The relevant Broker Defendants include:

   a. Defendant Advisory Group Equity Services, Ltd. (“Advisory Group”), which:

           i. was incorporated in Massachusetts and has a principal place of business in

              Woburn, MA;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

              Texas and, in turn, in this Court, when it registered with the SEC and

              FINRA, as well as each time it made a required disclosure or amendment

              with the SEC and FINRA;

         iii. promoted and sold the limited partnership interests in the GPB funds,

              including, without limitation, those of GPB Automotive Portfolio, LP, GPB

              Holdings II, LP, and GPB Waste Management, LP, and also promoted

              and/or sold such Securities in Texas, thereby providing Ascendant and the

              other GPB Defendants with the capital needed to continue the scheme

              described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

              Texas, and/or received marketing materials, PPMs, other Offering Materials

              and other information relating to the Funds from Ascendant Capital in

              Texas, and submitted Class members’ executed documentation to or

              through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and



                                      69
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 70 of 229




            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of Securities to fund the Ponzi scheme described herein.

  b. Defendant Aegis Capital Corporation (“Aegis”), which:

         i. was incorporated in New York and has a principal place of business in New

            York, NY. It operates offices throughout the country with 400 employees,

            including one (1) office in Dallas, Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold the limited partnership interests in the GPB funds,

            including Automotive Portfolio, LP; GPB Holdings II, LP; and GPB Waste

            Management, LP, thereby providing Ascendant and the GPB Defendants

            with the capital needed to continue the scheme described herein. In addition,

            Aegis offered, sold or participated in the offering and/or sale of the

            Securities in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and




                                     70
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 71 of 229




        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of Securities to fund the Ponzi scheme described herein.

  c. Defendant Aeon Capital Inc. (“Aeon”), which:

         i. was incorporated in Wisconsin and has a principal place of business in

            Middletown, NJ;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold the limited partnership interests in the GPB funds,

            including without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II, LP; and GPB Waste Management, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in




                                    71
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 72 of 229




            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of Securities to fund the Ponzi scheme described herein.

  d. Defendant American Capital Partners, LLC (“American Capital”), which:

         i. was incorporated in New York and has a principal place of business in

            Hauppauge, NY. It operates four (4) offices in New York, Georgia, and

            Florida, with over 3750 employees;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold the limited partnership interests in the GPB funds,

            including without limitation, in GPB Automotive Portfolio, LP, thereby

            providing Ascendant and the GPB Defendants with the capital needed to

            continue the scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials



                                    72
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 73 of 229




            and other information relating to the Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of Securities to fund the Ponzi scheme described herein.

  e. Defendant Arete Wealth Management, LLC (“Arete”), which:

         i. was incorporated in Illinois and has a principal place of business in Chicago,

            IL. It operates offices across the United States, including a brokerage office

            in Southlake, Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

       iii. promoted and sold the limited partnership interests in the GPB funds,

            including without limitation, in GPB Automotive Portfolio, LP, thereby

            providing Ascendant and the other GPB Defendants with the capital needed

            to continue the scheme described herein. In addition, Arete offered, sold or




                                      73
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 74 of 229




            participated in the offering and/or sale of the GPB limited partnership

            interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the other GPB Defendants in

            furtherance of the misconduct alleged by such efforts and by using the

            proceeds of sales of Securities to fund the Ponzi scheme described herein.

  f. Defendant Arkadios Capital (“Arkadios”), which:

         i. was incorporated in Georgia and has a principal place of business in Atlanta,

            GA;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB



                                     74
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 75 of 229




            Holdings II, LP; and GPB Waste Management, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  g. Defendant Ausdal Financial Partners, Inc. (“Ausdal”), which:

         i. was incorporated in Iowa and has a principal place of business in Davenport,

            IA. It operates one (1) office in Iowa and additional offices in Illinois, with

            advisors throughout the United States;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and




                                      75
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 76 of 229




            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II, LP; and GPB Waste Management, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  h. Defendant BCG Securities, Inc. (“BCG”), which:

         i. was incorporated in Pennsylvania and has a principal place of business in

            Cherry Hill, NJ;



                                    76
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 77 of 229




        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II, LP; and GPB Waste Management, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  i. Defendant Bradley Wealth Management, LLC (“Bradley”), which:



                                    77
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 78 of 229




        i. was incorporated in California and has a principal place of business in San

           Diego, CA. It operates two (2) offices in San Diego, CA and Scottsdale,

           AZ;

        ii. is registered to do business in Texas as a registered investment advisor

           according to the Form ADV it filed with the SEC;

       iii. promoted and sold limited partnership interests in the GPB Funds,

           including, without limitation, in GPB Cold Storage, LP, thereby providing

           Ascendant and the GPB Defendants with the capital needed to continue the

           scheme described herein;

       iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

           Texas, and/or received marketing materials, PPMs, other Offering Materials

           and other information relating to the GPB Funds from Ascendant Capital in

           Texas, and submitted Class members’ executed documentation to or

           through Ascendant Capital in Austin, Texas;

        v. was aware of the Material Misrepresentations and Omissions described

           herein from the DD Reports and/or other communications from Ascendant

           and GPB; repeated, distributed or promoted the Material Misrepresentations

           and Omissions to Class members through the Offering Materials; and

           substantially assisted Ascendant and the GPB Defendants in furtherance of

           the misconduct alleged by such efforts and by using the proceeds of sales

           of GPB limited partnership interests to fund the Ponzi scheme described

           herein;




                                    78
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 79 of 229




        vi. Bradley was a registered investment advisor and, thus, did not charge high

            commissions in connection with its sales of GPB Funds like the other

            Broker Defendants However, Bradley was aware of the inordinately high

            commissions that brokers were charging for selling GPB limited

            partnership.

  j. Defendant Cabot Lodge Securities LLC (“Cabot”), which:

         i. was incorporated in Delaware and has a principal place of business in New

            York, NY. It operates one (1) office in New York with independent

            representatives located throughout the United States;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II, LP; and GPB Waste Management, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and



                                     79
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 80 of 229




         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  k. Defendant Calton & Associates, Inc. (“Calton”), which:

         i. was incorporated in Florida and has a principal place of business in Tampa,

            FL;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II, LP, thereby providing Ascendant and the GPB Defendants with

            the capital needed to continue the scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in




                                     80
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 81 of 229




            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  l. Defendant Capital Investment Group, Inc. (“Capital Investment”), which:

         i. was incorporated in North Carolina and has a principal place of business in

            Raleigh, NC. It operates two (2) offices in Ohio and Maryland with at least

            150 employees;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Cold Storage, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;




                                     81
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 82 of 229




        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  m. Defendant Cascade Financial Management, Inc. (“Cascade”), which:

         i. was incorporated in Colorado and has a principal place of business in

            Denver, CO. It operates five (5) offices throughout the United States,

            including one (1) in Frisco, Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Cold Storage, LP and GPB Holdings



                                     82
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 83 of 229




             II, LP, thereby providing Ascendant and the GPB Defendants with the

             capital needed to continue the scheme described herein. In addition,

             Cascade offered, sold or participated in the offering and/or sale of the GPB

             limited partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

  n. Defendant Center Street Securities, Inc. (“Center Street”), which:

          i. was incorporated in Louisiana and has a principal place of business in

             Nashville, TN. It operates offices in Tennessee, Virginia, and Louisiana,

             with branch offices in over forty (40) states;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and



                                       83
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 84 of 229




             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB

             Holdings II, LP; and GPB Waste Management, LP; hereby providing

             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

  o. Defendant Coastal Equities, Inc. (“Coastal”), which:




                                     84
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 85 of 229




        i. was incorporated in Massachusetts and has a principal place of business in

           Wilmington, DE. It operates offices throughout the United States including

           a brokerage office in Dallas and in Austin, Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

           Texas and, in turn, in this Court, when it registered with the SEC and

           FINRA, as well as each time it made a required disclosure or amendment

           with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

           including, without limitation, in GPB Automotive Portfolio, LP; GPB Cold

           Storage, LP; GPB Holdings II, LP; and GPB Waste Management, LP,

           thereby providing Ascendant and the GPB Defendants with the capital

           needed to continue the scheme described herein. In addition, Coastal

           offered, sold or participated in the offering and/or sale of the GPB limited

           partnership interests in Texas;

       iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

           Texas, and/or received marketing materials, PPMs, other Offering Materials

           and other information relating to the GPB Funds from Ascendant Capital in

           Texas, and submitted Class members’ executed documentation to or

           through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

           herein from the DD Reports and/or other communications from Ascendant

           and GPB; repeated, distributed or promoted the Material Misrepresentations

           and Omissions to Class members through the Offering Materials; and



                                    85
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 86 of 229




            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  p. Defendant Colorado Financial Service Corporation (“Colorado”), which:

         i. was incorporated in Colorado and has a principal place of business in

            Centennial, CO. It operates branch offices across the United States;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP, thereby

            providing Ascendant and the GPB Defendants with the capital needed to

            continue the scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations



                                    86
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 87 of 229




            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  q. Defendant Concorde Investment Services, LLC (“Concorde”), which:

         i. was incorporated in Michigan and has a principal place of business in

            Livonia, MI;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Waste Management, LP, thereby providing Ascendant and the GPB

            Defendants with the capital needed to continue the scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas; submitted Class members’ executed documentation to or through

            Ascendant Capital in Austin, Texas; and presented as a panelist at GPB

            Capital Holding’s Due Diligence conference on November 8, 2017; and




                                    87
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 88 of 229




         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  r. Defendant Crown Capital Securities L.P. (“Crown”), which:

         i. was incorporated in Delaware and has a principal place of business in

            Orange, CA;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II, LP; GPB Waste Management, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in



                                    88
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 89 of 229




           Texas, and submitted Class members’ executed documentation to or

           through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

           herein from the DD Reports and/or other communications from Ascendant

           and GPB; repeated, distributed or promoted the Material Misrepresentations

           and Omissions to Class members through the Offering Materials; and

           substantially assisted Ascendant and the GPB Defendants in furtherance of

           the misconduct alleged by such efforts and by using the proceeds of sales

           of GPB limited partnership interests to fund the Ponzi scheme described

           herein.

  s. Defendant David A. Noyes & Company (“Noyes”), which:

         i. was incorporated in Illinois and has a principal place of business in

           Indianapolis, IN. It operates five (5) offices in Illinois;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

           Texas and, in turn, in this Court, when it registered with the SEC and

           FINRA, as well as each time it made a required disclosure or amendment

           with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

           including, without limitation, in GPB Automotive Portfolio, LP; and GPB

           Holdings II, LP, thereby providing Ascendant and the GPB Defendants with

           the capital needed to continue the scheme described herein;

       iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

           Texas, and/or received marketing materials, PPMs, other Offering Materials



                                     89
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 90 of 229




            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  t. Defendant Dawson James Securities, Inc. (“Dawson”), which:

         i. was incorporated in Florida and has a principal place of business in Boca

            Raton, FL. It operates four (4) offices in Florida, New Jersey, New York,

            and Maryland, with over 60 employees;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP, thereby

            providing Ascendant and the GPB Defendants with the capital needed to

            continue the scheme described herein;



                                    90
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 91 of 229




       iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  u. Defendant Dempsey Lord Smith, LLC (“Dempsey”), which:

         i. was incorporated in Georgia and has a principal place of business in Rome,

            GA. It operates offices in 13 states, including a brokerage office in Plano,

            Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB Cold



                                     91
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 92 of 229




            Storage, LP; GPB Holdings II, LP; GPB NYC Development, LP; GPB

            Waste Management, LP thereby providing Ascendant and the GPB

            Defendants with the capital needed to continue the scheme described herein.

            In addition, Dempsey offered, sold or participated in the offering and/or sale

            of the GPB limited partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  v. Defendant Detalus Securities, LLC (“Detalus”), which:

         i. was incorporated in Missouri and has a principal place of business in St.

            Louis, MO;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and



                                     92
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 93 of 229




            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Holdings II, LP, thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  w. Defendant DFPG Investments, Inc. (“DFPG”), which:

         i. was incorporated in Utah and has a principal place of business in Sandy,

            UT. It operates two (2) offices in Utah and California with at least 50

            employees;



                                    93
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 94 of 229




        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II, LP, thereby providing Ascendant and the GPB Defendants with

            the capital needed to continue the scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  x. Defendant Emerson Equity LLC (“Emerson”), which:




                                    94
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 95 of 229




        i. was incorporated in California and has a principal place of business in San

           Mateo, CA. It operates offices across the United States including one (1) in

           Irving, TX;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

           Texas and, in turn, in this Court, when it registered with the SEC and

           FINRA, as well as each time it made a required disclosure or amendment

           with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

           including, without limitation, in GPB Automotive Portfolio, LP; GPB

           Holdings II, LP; GPB Waste Management, LP thereby providing Ascendant

           and the GPB Defendants with the capital needed to continue the scheme

           described herein. In addition, Emerson offered, sold or participated in the

           offering and/or sale of the GPB limited partnership interests in Texas;

       iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

           Texas, and/or received marketing materials, PPMs, other Offering Materials

           and other information relating to the GPB Funds from Ascendant Capital in

           Texas, and submitted Class members’ executed documentation to or

           through Ascendant Capital in Austin, Texas; and

        v. was aware of the Material Misrepresentations and Omissions described

           herein from the DD Reports and/or other communications from Ascendant

           and GPB; repeated, distributed or promoted the Material Misrepresentations

           and Omissions to Class members through the Offering Materials; and

           substantially assisted Ascendant and the GPB Defendants in furtherance of



                                    95
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 96 of 229




            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  y. Defendant FSC Securities Corporation (“FSC”), which:

         i. was incorporated in Delaware and has a principal place of business in

            Atlanta, GA. It operates offices throughout the United States including one

            (1) in Houston, TX;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II, LP thereby providing Ascendant and the GPB Defendants with

            the capital needed to continue the scheme described herein. In addition, FSC

            offered, sold or participated in the offering and/or sale of the GPB limited

            partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and




                                     96
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 97 of 229




        v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  z. Defendant Geneos Wealth Management, Inc. (“Geneos”), which:

         i. was incorporated in Colorado and has a principal place of business in

            Centennial, CO. It operates offices across the United States, including two

            (2) in Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

       iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II, LP; and GPB Waste Management, LP thereby providing

            Ascendant and the GPB Defendants with the capital needed to continue the

            scheme described herein. In addition, Geneos offered, sold or participated

            in the offering and/or sale of the GPB limited partnership interests in Texas;




                                      97
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 98 of 229




        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

  aa. Defendant Great Point Capital LLC (“Great Point”), which:

         i. was incorporated in Delaware and has a principal place of business in

            Chicago, IL. It operates two (2) offices in Chicago, IL and Austin, TX;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II, LP thereby providing Ascendant and the GPB Defendants with



                                     98
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 99 of 229




              the capital needed to continue the scheme described herein. In addition,

              Great Point offered, sold or participated in the offering and/or sale of the

              GPB limited partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

              Texas, and/or received marketing materials, PPMs, other Offering Materials

              and other information relating to the GPB Funds from Ascendant Capital in

              Texas, and submitted Class members’ executed documentation to or

              through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and

              substantially assisted Ascendant and the GPB Defendants in furtherance of

              the misconduct alleged by such efforts and by using the proceeds of sales

              of GPB limited partnership interests to fund the Ponzi scheme described

              herein.

  bb. Defendants HighTower Securities, LLC (“HighTower Securities”) and its affiliate

     HighTower Advisors, LLC (“HighTower Advisors”) (collectively, “HighTower”),

     which:

         i. were incorporated or organized in Illinois and both have a principal place

              of business in Chicago, IL. They each operate offices throughout the United

              States, with an office in Houston, Texas. Hightower Securities is a broker




                                       99
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 100 of 229




            dealer and member FINRA, while Hightower Advisors is an SEC registered

            investment adviser;

        ii. executed a Form BD (through HighTower Securities) certifying that they

            consent to jurisdiction and venue in Texas and, in turn, in this Court, when

            they registered with the SEC and FINRA, as well as each time they made a

            required disclosure or amendment with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II; and GPB Waste Management, LP thereby providing Ascendant

            and the GPB Defendants with the capital needed to continue the scheme

            described herein. In addition, Hightower offered, sold or participated in the

            offering and/or sale of the GPB limited partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas;

         v. were aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales



                                     100
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 101 of 229




            of GPB limited partnership interests to fund the Ponzi scheme described

            herein;

        vi. admitted (HighTower or its representatives), in a public filing in Delaware

            Chancery Court, that Hightower conducted operational due diligence on

            private alternative investments, including the GPB Funds, on a regular

            basis. Hightower admits that it is responsible for initially assessing,

            onboarding and regularly monitoring the operational infrastructure of

            private alternative investment products that are made available for

            Plaintiffs’ advisory practice to invest within discretionary accounts.

            Hightower also provides other services including, but not limited to,

            performance reporting, client account billing, Compliance and Supervisory

            oversight, insurance coverage and legal support;

       vii. admitted (HighTower or its representatives) that since Hightower first

            onboarded the GPB product suite in 2015, they have conducted at least

            annual in-person operational due diligence assessments with GPB Capital

            through 2017 and have made regular inquiries with GPB Capital

            management regarding pending litigation, regulatory issues, valuation

            questions, service provider changes, and key personnel updates;

       viii. according to HighTower, placed the GPB Funds on “Watch” on June

            22, 2018, after discovering that GPB Capital’s CFO had resigned and based

            on continued negative press and legal action being brought against GPB

            Capital. It was at this point that Plaintiffs began to suspect possible

            wrongdoing at GPB Capital;



                                    101
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 102 of 229




        ix. provided information, through Mathew Andrulot, Hightower Advisor’s

            chief investment officer and Executive Director, to the authors of one or

            more of the DD Reports for use in the report, including a March 7, 2017

            Snyder Kearney Report which provided HighTower and other Broker

            Defendants with details of GPB’s many conflicts and other misconduct

            described in the Material Misrepresentations and Omissions;

         x. continued selling investment in the GPB Funds despite the above due

            diligence and awareness of problems with respect to GPB and its Funds;

        xi. on October 13, 2020, through HighTower Advisors’ Chief Risk Officer,

            Jared Schwartz, wrote to the CEO of GPB’s Prime Automotive Group, as

            well as to GPB’s CEO (Gentile), General Counsel, Chief Financial Officer

            and Managing Director for Communications, conceding that the GPB Funds

            were launched as “income producing private equity” funds that invest in a

            variety of underlying assets including automotive dealerships. Schwartz

            further admitted that:

            When GPB and Ascendant marketed these strategies to investors, specific
            emphasis was placed on the expected distribution yield of the portfolio
            (8.7% per annum, delivered monthly), the expected investment horizon (3-
            5 years) and the ‘lack of a J-curve’ due to income generation from day one
            of a client’s investment. GPB’s marketing to investors also noted a ‘defined
            and profitable exit strategy’. Moreover, each Fund’s limited partnership
            agreement is specifically geared towards distributions of income and
            mandates in Article 8.1 that GPB may not withhold any distribution of funds
            to investors which would violate GPB’s fiduciary duty under Delaware law.

            To say that GPB has fallen short of these statements understates the perilous
            situation you have placed the financial interests of your limited partners.
            Through mismanagement, misdirection, secrecy and alleged fraud, you
            have squandered the value of the portfolio assets built over the last five
            years, together with any remaining goodwill. Investors have lost all
            confidence in GPB’s role as a fiduciary over the Funds’ assets, particularly

                                     102
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 103 of 229




             with continued reports of regulatory investigations into GPB and its
             business, and a decided lack of regular reporting and transparency to
             investors.

   cc. Defendant IBN Financial Services, Inc. (“IBN”), which:

          i. was incorporated in New York and has a principal place of business in

             Liverpool, NY. It operates offices throughout the United States;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB Cold

             Storage, LP; GPB Holdings II; and GPB Waste Management, LP, thereby

             providing Ascendant and the GPB Defendants with the capital needed to

             continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and



                                      103
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 104 of 229




             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   dd. Defendant Innovation Partners LLC (“Innovation”), which:

          i. was incorporated in North Carolina and has a principal place of business in

             Charlotte, NC;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB

             Holdings II; and GPB Waste Management, LP, thereby providing

             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant



                                     104
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 105 of 229




             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   ee. Defendant International Assets Advisory, LLC (“IA Advisory”), which:

          i. was incorporated in Florida and has a principal place of business in Orlando,

             FL;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB Cold

             Storage, LP; GPB Holdings II; and GPB Waste Management, LP, thereby

             providing Ascendant and the GPB Defendants with the capital needed to

             continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and



                                      105
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 106 of 229




          v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and

              substantially assisted Ascendant and the GPB Defendants in furtherance of

              the misconduct alleged by such efforts and by using the proceeds of sales

              of GPB limited partnership interests to fund the Ponzi scheme described

              herein.

   ff. Defendant Kalos Capital, Inc. (“Kalos”), which:

          i. was incorporated in Georgia and has a principal place of business in

              Alpharetta, GA;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

              Texas and, in turn, in this Court, when it registered with the SEC and

              FINRA, as well as each time it made a required disclosure or amendment

              with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

              including, without limitation, in GPB Automotive Portfolio, LP; GPB

              Holdings II; and GPB Waste Management, LP, thereby providing

              Ascendant and the GPB Defendants with the capital needed to continue the

              scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

              Texas, and/or received marketing materials, PPMs, other Offering Materials

              and other information relating to the GPB Funds from Ascendant Capital in



                                      106
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 107 of 229




             Texas; submitted Class members’ executed documentation to or through

             Ascendant Capital in Austin, Texas; presented as a panelist at GPB Capital

             Holding’s Due Diligence conference on November 8, 2017; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   gg. Defendant Kingsbury Capital, Inc. (“Kingsbury”), which:

          i. was incorporated in Illinois and has a principal place of business in

             Evanston, IL;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB

             Holdings II; and GPB Waste Management, LP, thereby providing

             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;



                                      107
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 108 of 229




         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

              Texas, and/or received marketing materials, PPMs, other Offering Materials

              and other information relating to the GPB Funds from Ascendant Capital in

              Texas, and submitted Class members’ executed documentation to or

              through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and

              substantially assisted Ascendant and the GPB Defendants in furtherance of

              the misconduct alleged by such efforts and by using the proceeds of sales

              of GPB limited partnership interests to fund the Ponzi scheme described

              herein.

   hh. Defendant Landolt Securities, Inc. (“Landolt”), which:

          i. was incorporated in Wisconsin and has a principal place of business in

              Oshkosh, WI;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

              Texas and, in turn, in this Court, when it registered with the SEC and

              FINRA, as well as each time it made a required disclosure or amendment

              with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

              including, without limitation, in GPB Automotive Portfolio, LP; GPB

              Holdings II; and GPB Waste Management, LP, thereby providing



                                      108
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 109 of 229




             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   ii. Defendant Lewis Financial Group n/k/a DAI Securities, LLC (“Lewis”), which:

          i. was incorporated in Minnesota and has a principal place of business in

             Mankato, MN;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;




                                     109
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 110 of 229




         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP, thereby

             providing Ascendant and the GPB Defendants with the capital needed to

             continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   jj. Defendant Lion Street Financial, LLC (“Lion”), which:

          i. was incorporated in Texas and has a principal place of business in Austin,

             TX. It operates offices in 37 states, including 21 offices in Texas;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and




                                      110
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 111 of 229




             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Holdings II and GPB Waste

             Management, LP thereby providing Ascendant and the GPB Defendants

             with the capital needed to continue the scheme described herein. In addition,

             Lion offered, sold or participated in the offering and/or sale of the GPB

             limited partnership interests in Texas;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   kk. Defendant Lowell & Company, Inc. (“Lowell”), which:




                                      111
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 112 of 229




         i. was incorporated in Texas and has a principal place of business in Lubbock,

            TX;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II thereby providing Ascendant and the GPB Defendants with the

            capital needed to continue the scheme described herein. In addition,

            Cascade offered, sold or participated in the offering and/or sale of the GPB

            limited partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales



                                     112
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 113 of 229




             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   ll. Defendant Lucia Securities, LLC (“Lucia”), which:

          i. was incorporated in Delaware and has a principal place of business in San

             Diego, CA;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Waste Management, LP, thereby

             providing Ascendant and the GPB Defendants with the capital needed to

             continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of



                                      113
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 114 of 229




             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   mm.       Defendant Madison Avenue Securities, LLC (“Madison”), which:

          i. was incorporated in Delaware and has a principal place of business in San

             Diego, CA;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP, thereby

             providing Ascendant and the GPB Defendants with the capital needed to

             continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and



                                     114
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 115 of 229




             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   nn. Defendant McDonald Partners LLC (“McDonald”), which:

          i. was incorporated in Ohio and has a principal place of business in Cleveland,

             OH. It operates three (3) offices in Ohio and Michigan with over 40

             employees;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP and GPB

             Holdings II, thereby providing Ascendant and the GPB Defendants with the

             capital needed to continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant



                                     115
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 116 of 229




             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

  oo. Defendant McNally Financial Services Corporation (“McNally”), which:

          i. was incorporated in Texas and has a principal place of business in San

             Antonio, TX. It operates offices in Texas, California, Florida, and Nevada,

             including one (1) office in San Antonio, Texas;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP and GPB

             Waste Management, LP thereby providing Ascendant and the GPB

             Defendants with the capital needed to continue the scheme described herein.

             In addition, McNally offered, sold or participated in the offering and/or sale

             of the GPB limited partnership interests in Texas;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in



                                      116
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 117 of 229




             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   pp. Defendant Moloney Securities Co., Inc. (“Moloney”), which:

          i. was incorporated in Missouri and has a principal place of business in

             Manchester, MO. It operates offices throughout the United States with over

             100 employees, including three (3) offices and four (4) brokers in Kerrville,

             Fort Worth, and Cleburne, Texas;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB Cold

             Storage, LP; GPB NYC Development, LP; GPB Holdings II; and GPB

             Waste Management, LP thereby providing Ascendant and the GPB



                                      117
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 118 of 229




             Defendants with the capital needed to continue the scheme described herein.

             In addition, Moloney offered, sold or participated in the offering and/or sale

             of the GPB limited partnership interests in Texas;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

   qq. Defendant Money Concepts Capital Corporation (“MCC”), which:

          i. was incorporated in Florida and has a principal place of business in Palm

             Beach Gardens, FL;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;



                                      118
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 119 of 229




         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB

             Holdings II; and GPB Waste Management, LP, thereby providing

             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

 rr.   Defendant MSC-BD, LLC (“MSC-BD”), which:

          i. was incorporated in Florida and has a principal place of business in

             Cumming, GA;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and



                                     119
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 120 of 229




             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP and GPB

             Holdings II, thereby providing Ascendant and the GPB Defendants with the

             capital needed to continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

 ss.   Defendant Newbridge Securities Corporation (“Newbridge”), which:

          i. was incorporated in Virginia and has a principal place of business in Boca

             Raton, FL. It operates eleven (11) offices in Florida, New York, Arizona,




                                     120
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 121 of 229




            Illinois, New Jersey, and Louisiana, with over 100 employees, with brokers

            in eight (8) additional states, including Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II thereby providing Ascendant and the GPB Defendants with the

            capital needed to continue the scheme described herein. In addition,

            Newbridge offered, sold or participated in the offering and/or sale of the

            GPB limited partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales



                                     121
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 122 of 229




              of GPB limited partnership interests to fund the Ponzi scheme described

              herein.

 tt.   Defendant Orchard Securities, LLC (“Orchard”), which:

           i. was incorporated in Utah and has a principal place of business in Pleasant

              Grove, UT;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

              Texas and, in turn, in this Court, when it registered with the SEC and

              FINRA, as well as each time it made a required disclosure or amendment

              with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

              including, without limitation, in GPB Automotive Portfolio, LP; GPB

              Holdings II; and GPB Waste Management, LP, thereby providing

              Ascendant and the GPB Defendants with the capital needed to continue the

              scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

              Texas, and/or received marketing materials, PPMs, other Offering Materials

              and other information relating to the GPB Funds from Ascendant Capital in

              Texas, and submitted Class members’ executed documentation to or

              through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and



                                      122
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 123 of 229




               substantially assisted Ascendant and the GPB Defendants in furtherance of

               the misconduct alleged by such efforts and by using the proceeds of sales

               of GPB limited partnership interests to fund the Ponzi scheme described

               herein.

         vi.

 uu.   Defendant Purshe Kaplan Sterling Investments, Inc. (“Purshe”), which:

           i. was incorporated in New York and has a principal place of business in

               Albany, NY. It operates 388 offices throughout the United States with over

               1000 employees, including fifteen (15) offices in Texas;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

               Texas and, in turn, in this Court, when it registered with the SEC and

               FINRA, as well as each time it made a required disclosure or amendment

               with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

               including, without limitation, in GPB Automotive Portfolio, LP and GPB

               Holdings II thereby providing Ascendant and the GPB Defendants with the

               capital needed to continue the scheme described herein. In addition, Purshe

               offered, sold or participated in the offering and/or sale of the GPB limited

               partnership interests in Texas;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

               Texas, and/or received marketing materials, PPMs, other Offering Materials

               and other information relating to the GPB Funds from Ascendant Capital in




                                        123
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 124 of 229




              Texas, and submitted Class members’ executed documentation to or

              through Ascendant Capital in Austin, Texas;

          v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and

              substantially assisted Ascendant and the GPB Defendants in furtherance of

              the misconduct alleged by such efforts and by using the proceeds of sales

              of GPB limited partnership interests to fund the Ponzi scheme described

              herein; and

         vi. was also made aware of many of the Material Misrepresentations and

              Omissions as early as 2016, when a compliance executive at Purshe raised

              concerns to Purshe senior management about GPB Capital Holdings. In

              particular, in connection with a review of Holdings II, that Purshe executive

              provided written support that members of senior management at GPB

              Capital were utilizing investor funds to monetize personal business

              interests. Accordingly, the executive did not recommend that Holdings II

              be approved for the Purshe platform. Despite this, Purshe continued to

              promote, offer and sell GPB limited partnership interests to investors.

 vv.   Defendant Royal Alliance Associates, Inc. (“Royal”), which:

           i. was incorporated in Delaware and has a principal place of business in Jersey

              City, NJ. It operates offices in 41 states with over 3,000 employees,

              including ten (10) offices in Texas;



                                       124
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 125 of 229




        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II thereby providing Ascendant and the GPB Defendants with the

            capital needed to continue the scheme described herein. In addition, Royal

            offered, sold or participated in the offering and/or sale of the GPB limited

            partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.



                                     125
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 126 of 229




   ww.       Defendant SagePoint Financial, Inc. (“SagePoint”), which:

          i. was incorporated in Delaware and has a principal place of business in

             Phoenix, AZ. It operates offices throughout the country with over 1400

             advisors and over 7,000 affiliated advisors and has over a dozen brokerage

             offices in Texas, including in this District;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP and GPB

             Holdings II, thereby providing Ascendant and the GPB Defendants with the

             capital needed to continue the scheme described herein. In addition,

             SagePoint offered, sold or participated in the offering and/or sale of the GPB

             limited partnership interests in Texas;

         iv. sold interests in GPB limited partnerships in Texas, including to Plaintiff

             Wade;

         v. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and




                                      126
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 127 of 229




         vi. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and

              substantially assisted Ascendant and the GPB Defendants in furtherance of

              the misconduct alleged by such efforts and by using the proceeds of sales

              of GPB limited partnership interests to fund the Ponzi scheme described

              herein.

 xx.   Defendant SCF Securities, Inc. (“SCF”), which:

           i. was incorporated in Arizona and has a principal place of business in Fresno,

              CA;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

              Texas and, in turn, in this Court, when it registered with the SEC and

              FINRA, as well as each time it made a required disclosure or amendment

              with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

              including, without limitation, in GPB Automotive Portfolio, LP, thereby

              providing Ascendant and the GPB Defendants with the capital needed to

              continue the scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

              Texas, and/or received marketing materials, PPMs, other Offering Materials

              and other information relating to the GPB Funds from Ascendant Capital in




                                      127
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 128 of 229




               Texas, and submitted Class members’ executed documentation to or

               through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

               herein from the DD Reports and/or other communications from Ascendant

               and GPB; repeated, distributed or promoted the Material Misrepresentations

               and Omissions to Class members through the Offering Materials; and

               substantially assisted Ascendant and the GPB Defendants in furtherance of

               the misconduct alleged by such efforts and by using the proceeds of sales

               of GPB limited partnership interests to fund the Ponzi scheme described

               herein.

   yy. Defendant Sentinus Securities n/k/a Sentinus-Halo Securities, LLC (“Sentinus”),

      which:

          i. was incorporated in Illinois and has a principal place of business in Oak

               Brook, IL;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

               Texas and, in turn, in this Court, when it registered with the SEC and

               FINRA, as well as each time it made a required disclosure or amendment

               with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

               including, without limitation, in GPB Automotive Portfolio, LP and GPB

               Waste Management, LP, thereby providing Ascendant and the GPB

               Defendants with the capital needed to continue the scheme described herein;




                                       128
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 129 of 229




        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

zz.   Defendant Stephen A. Kohn & Associates, Ltd. (“Kohn”), which:

         i. was incorporated in Colorado and has a principal place of business in

            Lakewood, CO;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP; GPB

            Holdings II; and GPB Waste Management, LP, thereby providing



                                     129
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 130 of 229




             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

 aaa. Defendant Titan Securities (“Titan”), which:

          i. was incorporated in California and has a principal place of business in

             Addison, TX;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;




                                      130
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 131 of 229




        iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Waste Management, LP, thereby

             providing Ascendant and the GPB Defendants with the capital needed to

             continue the scheme described herein. In addition, Titan offered, sold or

             participated in the offering and/or sale of the GPB limited partnership

             interests in Texas;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

 bbb. Defendant Triad Advisors LLC (“Triad”), which:

          i. was incorporated in Florida and has a principal place of business in

             Norcross, GA. It operates one office in Georgia, with branches across the

             country, and over 550 employees;



                                     131
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 132 of 229




         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP, thereby

            providing Ascendant and the GPB Defendants with the capital needed to

            continue the scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.

 ccc. Defendant Uhlmann Price Securities, LLC (“Uhlmann”), which:




                                     132
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 133 of 229




         i. was incorporated in Illinois and has a principal place of business in Chicago,

            IL;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II, thereby providing Ascendant and the GPB Defendants with the

            capital needed to continue the scheme described herein;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of

            the misconduct alleged by such efforts and by using the proceeds of sales

            of GPB limited partnership interests to fund the Ponzi scheme described

            herein.



                                     133
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 134 of 229




 ddd. Defendant United Planners’ Financial Services of America LP (“UPFSA”), which:

          i. was incorporated in Arizona and has a principal place of business in

             Scottsdale, AZ;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Holdings II, thereby providing

             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales




                                     134
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 135 of 229




             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

  eee. Defendant Vanderbilt Securities, LLC (“Vanderbilt”), which:

          i. was incorporated in New York and has a principal place of business in

             Woodbury, NY. It employs over 150 brokers across 46 states, including

             one (1) office in Plano, Texas;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB

             Holdings II; and GPB Waste Management, LP, thereby providing

             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein. In addition, Vanderbilt offered, sold or

             participated in the offering and/or sale of the GPB limited partnership

             interests in Texas;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and




                                      135
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 136 of 229




          v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

  fff. Defendant Vestech Securities, Inc. (“Vestech”), which:

          i. was incorporated in Kansas and has a principal place of business in St.

             Louis, MO;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and

             FINRA, as well as each time it made a required disclosure or amendment

             with the SEC and FINRA;

         iii. promoted and sold limited partnership interests in the GPB Funds,

             including, without limitation, in GPB Automotive Portfolio, LP; GPB

             Holdings II; and GPB Waste Management, LP, thereby providing

             Ascendant and the GPB Defendants with the capital needed to continue the

             scheme described herein;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in



                                      136
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 137 of 229




              Texas, and submitted Class members’ executed documentation to or

              through Ascendant Capital in Austin, Texas; and

          v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and

              substantially assisted Ascendant and the GPB Defendants in furtherance of

              the misconduct alleged by such efforts and by using the proceeds of sales

              of GPB limited partnership interests to fund the Ponzi scheme described

              herein.

   ggg.       Defendant Western International Securities, Inc. (“Western”), which:

           i. was incorporated in Colorado and has a principal place of business in

              Pasadena, CA. It operates over 40 offices throughout the country including

              at least three (3) in Texas;

          ii. executed a Form BD certifying that it consents to jurisdiction and venue in

              Texas and, in turn, in this Court, when it registered with the SEC and

              FINRA, as well as each time it made a required disclosure or amendment

              with the SEC and FINRA;

          iii. promoted and sold limited partnership interests in the GPB Funds,

              including, without limitation, in GPB Automotive Portfolio, LP; GPB

              Holdings II; and GPB Waste Management, LP, thereby providing

              Ascendant and the GPB Defendants with the capital needed to continue the




                                        137
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 138 of 229




             scheme described herein. In addition, Western offered, sold or participated

             in the offering and/or sale of the GPB limited partnership interests in Texas;

         iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

             Texas, and/or received marketing materials, PPMs, other Offering Materials

             and other information relating to the GPB Funds from Ascendant Capital in

             Texas, and submitted Class members’ executed documentation to or

             through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

             herein from the DD Reports and/or other communications from Ascendant

             and GPB; repeated, distributed or promoted the Material Misrepresentations

             and Omissions to Class members through the Offering Materials; and

             substantially assisted Ascendant and the GPB Defendants in furtherance of

             the misconduct alleged by such efforts and by using the proceeds of sales

             of GPB limited partnership interests to fund the Ponzi scheme described

             herein.

 hhh. Defendant WestPark Capital, Inc. (“WestPark”), which:

          i. was incorporated in Colorado and has a principal place of business in Los

             Angeles, CA. It operates one (1) office in California, with three (3) offices

             in Florida, New York, and California, and locations in Shanghai, China;

             Hong Kong; Taipei, Taiwan; and Istanbul, Turkey;

         ii. executed a Form BD certifying that it consents to jurisdiction and venue in

             Texas and, in turn, in this Court, when it registered with the SEC and




                                      138
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 139 of 229




               FINRA, as well as each time it made a required disclosure or amendment

               with the SEC and FINRA;

          iii. promoted and sold limited partnership interests in the GPB Funds,

               including, without limitation, in GPB Automotive Portfolio, LP; GPB

               Holdings II; and GPB Waste Management, LP, thereby providing

               Ascendant and the GPB Defendants with the capital needed to continue the

               scheme described herein;

          iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

               Texas, and/or received marketing materials, PPMs, other Offering Materials

               and other information relating to the GPB Funds from Ascendant Capital in

               Texas, and submitted Class members’ executed documentation to or

               through Ascendant Capital in Austin, Texas; and

           v. was aware of the Material Misrepresentations and Omissions described

               herein from the DD Reports and/or other communications from Ascendant

               and GPB; repeated, distributed or promoted the Material Misrepresentations

               and Omissions to Class members through the Offering Materials; and

               substantially assisted Ascendant and the GPB Defendants in furtherance of

               the misconduct alleged by such efforts and by using the proceeds of sales

               of GPB limited partnership interests to fund the Ponzi scheme described

               herein.

 iii.   Defendant Whitehall-Parker Securities, Inc. (“Whitehall”), which:

            i. was incorporated in California and has a principal place of business in San

               Francisco, CA;



                                       139
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 140 of 229




           ii. executed a Form BD certifying that it consents to jurisdiction and venue in

              Texas and, in turn, in this Court, when it registered with the SEC and

              FINRA, as well as each time it made a required disclosure or amendment

              with the SEC and FINRA;

          iii. promoted and sold limited partnership interests in the GPB Funds,

              including, without limitation, in GPB Automotive Portfolio, LP; GPB

              Holdings II; and GPB Waste Management, LP, thereby providing

              Ascendant and the GPB Defendants with the capital needed to continue the

              scheme described herein;

          iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

              Texas, and/or received marketing materials, PPMs, other Offering Materials

              and other information relating to the GPB Funds from Ascendant Capital in

              Texas, and submitted Class members’ executed documentation to or

              through Ascendant Capital in Austin, Texas; and

           v. was aware of the Material Misrepresentations and Omissions described

              herein from the DD Reports and/or other communications from Ascendant

              and GPB; repeated, distributed or promoted the Material Misrepresentations

              and Omissions to Class members through the Offering Materials; and

              substantially assisted Ascendant and the GPB Defendants in furtherance of

              the misconduct alleged by such efforts and by using the proceeds of sales

              of GPB limited partnership interests to fund the Ponzi scheme described

              herein.

 jjj.   Defendant Woodbury Financial Services, Inc. (“Woodbury”), which:



                                       140
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 141 of 229




         i. was incorporated in Minnesota and has a principal place of business in

            Oakdale, MN. It operates 14 offices throughout the country with over 1600

            employees, including one (1) office and two (2) brokers in Addison, Texas;

        ii. executed a Form BD certifying that it consents to jurisdiction and venue in

            Texas and, in turn, in this Court, when it registered with the SEC and

            FINRA, as well as each time it made a required disclosure or amendment

            with the SEC and FINRA;

        iii. promoted and sold limited partnership interests in the GPB Funds,

            including, without limitation, in GPB Automotive Portfolio, LP and GPB

            Holdings II, thereby providing Ascendant and the GPB Defendants with the

            capital needed to continue the scheme described herein. In addition,

            Woodbury offered, sold or participated in the offering and/or sale of the

            GPB limited partnership interests in Texas;

        iv. attended Ascendant Capital’s due diligence meetings in, or webinars from

            Texas, and/or received marketing materials, PPMs, other Offering Materials

            and other information relating to the GPB Funds from Ascendant Capital in

            Texas, and submitted Class members’ executed documentation to or

            through Ascendant Capital in Austin, Texas; and

         v. was aware of the Material Misrepresentations and Omissions described

            herein from the DD Reports and/or other communications from Ascendant

            and GPB; repeated, distributed or promoted the Material Misrepresentations

            and Omissions to Class members through the Offering Materials; and

            substantially assisted Ascendant and the GPB Defendants in furtherance of



                                    141
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 142 of 229




                        the misconduct alleged by such efforts and by using the proceeds of sales

                        of GPB limited partnership interests to fund the Ponzi scheme described

                        herein.

       157.    As noted, the brokerage firms set forth in the above paragraphs are collectively

referred to herein as the “Broker Defendants.”

                                   FACTUAL ALLEGATIONS

       A.      Gentile and Schneider Embark on Their Scheme to Fraudulently Raise Money
               from Investors Employing a Secret Agreement to Share Profits

       158.    In or about 2012, Austin, Texas resident Schneider formed Ascendant as a provider

of alternative investment solutions. In or about 2013, Schneider approached Gentile with the

concept for GPB Capital: “partnering on an income-producing private equity fund.” Creating a

Corporate     Culture    That     Gives   Back,    30   Founding   Austin   (Sept.   19,   2017),

http://www.foundingaustin.com/home/ascendantcap (publishing a Schneider interview). The pair

set out to establish a mechanism whereby they could generate exceedingly large fees and

commissions for themselves through a series of limited partnership vehicles which owned illiquid

assets. Out of this concept, Schneider and Gentile created GPB Capital, an alternative asset

management firm based in New York. The pair agreed to split their profits from GPB and

Ascendant, but did not disclose this secret deal to investors.

       159.    Schneider, working from Texas, was intricately involved in the business of GPB

Capital and was a “promoter” as defined in Regulation D. In fact, according to the above-

referenced September 2017 interview, Schneider has admitted that he was the creator of the GPB

structure and “in 2013, [he] helped [Gentile] launch an income-producing private equity fund

called GPB Holdings,” which was the first of the Funds. On information and belief, Schneider in

Texas was a primary draftsman of the GPB PPMs.


                                                  142
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 143 of 229




       160.    Apparently realizing the huge fees that he could garner by his involvement in both

operating the Funds and acting as a broker in selling them, in 2015, Schneider “dedicated [his]

company, Ascendant Capital, to structuring funds and raising capital exclusively for GPB.”

       161.    Gentile and Schneider used Schneider’s Austin-based firm Ascendant, a branch

office of Axiom, to act as the principal distribution agent of the Offerings.

       162.    According to a March 28, 2015 Form ADV filed by GPB with the SEC, GPB

describes itself as follows:

       GPB is an investment adviser that structures, manages, promotes, sponsors, and
       through itself and affiliate entities serves as the general partner and/or investment
       manager of various limited partnerships (the “Funds”). GPB was formed in March
       of 2013 and is owned by David Gentile.

       163.    Neither the PPMs nor the Forms ADV filed by GPB disclosed Schneider’s role as

a promoter, co-founder and control person of GPB. Nor did they properly disclose that Gentile,

the principal of the general partner of the issuer, had a majority ownership interest in Ascendant.

These material conflicts of interest were never fully disclosed to investors throughout the GPB

Ponzi scheme. Thus, unlike the Defendants, including the Broker Defendants, Phoenix and the

Auditor Defendants, investors did not know when they invested that Schneider and Ascendant, the

lead broker for the distribution of the Securities, were conflicted by Schneider’s financial interest

in GPB, or that Gentile and GPB were conflicted by their interest in the broker selling the

Securities.

       164.    The PPMs and Forms ADV filed by GPB also did not disclose Ascendant Capital’s

outsized role in the offering of the GPB Funds.

       165.    Ascendant Capital, according to its own website, focuses on “Bringing Alternative

Investments to Financial Advisors.” It claims that:




                                                143
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 144 of 229




       Ascendant Capital is a leading provider of alternative product solutions for
       advisors. We focus on bringing what were once institutional-only investment
       offerings to retail investors. At Ascendant Capital, we are committed to
       understanding the needs of the market. We both source and partner with high-
       quality investment managers to create differentiated strategies to meet client needs.
       We consult, structure, market, and service these offerings, working to ensure that
       our relationships receive a high-level of investment quality and service.

       166.   But even this did not adequately describe Schneider or Ascendant Capital’s role in

the Offerings. In a March 2018 Due Diligence Questionnaire (DDQ), provided to Broker

Defendants, Ascendant Capital described all of the services it provides (from Texas) to GPB,

broker dealers and RIAs, and investors:

              Sales Support, Client Services and Operations

                      60. Who is Ascendant Capital, and what is the relationship between
                          Ascendant [Capital] and GPB?

                      Ascendant Capital is GPB’s exclusive third-party capital markets
              organization. With over 50 employees, Ascendant [Capital] has more than a decade
              of capital markets experience in the independent broker/dealer space and has
              specialists from the independent broker/dealer, RIA and institutional marketplace.
              Ascendant [Capital]’s current sales team consists of nine external and seven internal
              salespersons, as well as a six-member
                      National Accounts team. Ascendant Capital wholesales, markets and
              educates broker/dealers and RIAs to sell and service the Funds. Ascendant Capital
              is an affiliate of and offers Securities through Ascendant Alternative Strategies,
              LLC, a broker/dealer registered with the SEC and member of FINRA/SIPC.

                  What services does Ascendant Capital provide for GPB, broker/dealers
                  and RIAs, and investors?

                  In addition to the sales support functions described above, Ascendant Capital
                  also provides the following services:

              Product Development and Due Diligence

                 Fund structuring and preliminary research on investment strategy
                 Managing the construction of offering materials including the PPM and
                  supplements
                 Ongoing maintenance of the secure virtual data room
                 Liaising with all selling group members to complete initial and ongoing due
                  diligence requests

                                               144
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 145 of 229




                 Working with third-party due diligence firms to provide information for initial
                  and ongoing third-party reports
                 Assistance with underwriting and financial modeling
                 Performing supporting research and oversight of Fund performance
                 Assessment of regulatory environment and impact of current and future
                  proposed regulation

              Marketing Services

                 Creation of investor sales kits and additional marketing materials
                 Marketing communications to all selling group members
                 Ongoing investor communication, including quarterly reports and investor
                  letters
                 Coordination of due diligence events
                 Sales support and educational materials

              Client Relations

                 Providing investor and advisor support
                 Establishment of custodial relationships
                 Assistance obtaining investor statements, tax forms and other documents
                 Processing of subscription documents and transfer requests
                 Assistance with commission payments

       167.   Plaintiffs and the other Class members herein were not aware of the above

described material involvement by Ascendant Capital in the Offerings or Schneider and Ascendant

Capital’s many conflicts.

       168.   As noted above, Ascendant Capital, the Austin-based primary distribution agent for

GPB, initially operated as an affiliate of Axiom. In or about 2017, Ascendant Capital started its

own broker-dealer, Ascendant Strategies.

       169.   While not disclosed in the Offering Materials for the GPB Funds, the post-offering

2019 FINRA BrokerCheck Report on Ascendant Strategies admits that “GPB Capital Holdings

LLC is under common control with the firm,” and that Gentile is a “common control person.”

       170.   According to the 2019 BrokerCheck Report, Gentile has a direct ownership interest

in Ascendant Strategies and, through DJ Partners, a majority ownership interest in that firm.



                                              145
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 146 of 229




Further, as explained above, Schneider was involved in the creation and direction of GPB Capital

and is a control person of GPB and the Funds. Despite this conflict-ridden relationship, during the

entire GPB offering period, GPB, Gentile, Schneider, and the various Fund Defendants did not

clearly disclose to limited partner investors or the Class members herein that Gentile had a majority

ownership interest in Ascendant Strategies since April 2016, and that Schneider controlled GPB.

       B.      GPB Capital’s Destined-to-Fail Business Model

       171.    As described in its promotional materials, GPB followed a “private equity”

structure for its asset management. In that framework, the asset manager (in this case GPB) set up

a fund, organized as a limited partnership. GPB then marketed and sold through Ascendant and

other brokers (the Broker Defendants herein as well as RIAs) limited partnership interests in the

Funds (the Securities). The investors purchased the Securities, and the asset manager, acting as the

general partner and investment manager, invested the fund’s cash assets in portfolio or operating

businesses in various industries, including automotive, waste management and cold storage

businesses.

       172.    GPB’s investments were illiquid and had no clear ascertainable value. Thus, GPB

needed to retain third party valuation agents to “price” its investments for financial reporting to

investors. These valuations were essential to the scheme as GPB itself could not objectively value

its own private investments. GPB acted as the general partner of the various Funds, overseeing

the Funds and drawing substantial fees from the money invested. Gentile was the managing

member of the general partner, GPB. At all relevant times, GPB was a registered investment

advisor under the IAA.

       173.    Ascendant marketed the Funds to individual investors through a huge network of

independent broker-dealers and RIAs around the country. The Broker Defendants (other than

Bradley) were incentivized by an assortment of exorbitant unprecedented upfront fees and
                                                146
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 147 of 229




commissions totaling up to 11% of the capital invested.7 These commissions were paid by the

investor, not GPB. Such an arrangement put the Broker Defendants on notice that the Offerings

were highly unusual and unlikely to achieve their investment goals, because the commissions were

twice the nominal commissions paid in similar deals. First, sales commissions on such securities

are often not paid by investors, but by the issuer, so this was certain to raise red flags to any Broker

Defendant selling these securities. Second, the 11% brokerage commission fee structure was

extraordinarily high, twice the industry standard, and constituted yet another red flag to the Broker

Defendants. As described herein, the Brokers were aware of numerous other red flags described

in the DD Reports made available to them.

           174.     GPB itself also received an assortment of other fees. Including such additional fees,

customers paid fees, expenses, and commissions to the GPB Defendants and the Broker

Defendants of between 15% and 20% of the capital invested. For example, the Automotive PPM

lists the following eight (8) possible sets of fees/commissions/expenses: selling commissions (up

to 7%), due diligence fees (1%), placement and marketing support fees (1.75%), wholesaling fees

(up to 1.25%), organizational expenses (up to 1.25%), managerial assistance fees (2.0% of capital

contributions), acquisition fees (between 1.75% and 2.75% of the price of assets acquired), and

partnership expenses.

           175.     Similarly, the Offering Materials for Holdings II included selling commissions (up

to 11%), acquisition fees (either 1.75% of the enterprise value or 2.75% of the asset purchase

price), managerial assistance fees (2% of capital contributions), organizational expenses (up to

1.25% of the gross proceeds received from the Offering), and partnership expenses.




7
    Industry standard compensation is less than 5% and industry practice requires independent third party valuation.

                                                          147
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 148 of 229




        176.   The Offering Materials for the other GPB Funds included similar commissions and

fees.

        177.   In addition to the above assortment of fees and expenses, GPB stood to receive

performance fees, which were 20% of the profits made by the relevant Fund.

        178.   GPB developed a marketing scheme with Schneider and Gentile to market the

Securities from Austin, Texas using false promises. This scheme involved creating the false

appearance of substantial profitability by distributing a large (8%) annual “dividend” to investors,

even though the underlying investments were not profitable and instead were losing money.

Defendants utilized this “dividend” to trick investors into believing that the underlying businesses

were doing well and generating cash flow when they were not. Indeed, GPB routinely falsely

disclosed to investors that it was “generating cash flow” to pay the dividend. Instead, the GPB

Defendants simply paid this large dividend from other people’s money – the money of new

investors in the limited partnerships, or from the investors’ own capital. Each of the non-GPB

Defendants was aware of this fundamental misrepresentation as to the phantom dividend which

put them on notice of the Ponzi scheme, as each had access to GPB financials showing that GPB

did not generate 8% current cash from its investments.

        179.   The PPMs and related correspondence from GPB and Ascendant to investors stated

that the 8% distributions “were fully covered with funds from operations” and were paid from

“operating cash.” For example, in discussing the targeted 8% annual return, a March 6, 2015

Automotive PPM at 6 stated “we will make distributions based on cash flow we have received

from Dealerships.” These were gross falsehoods communicated to investors to induce their GPB

purchases. In fact, GPB, Schneider, Gentile, and the other Defendants knew that the 8%

distribution was not paid from operating cash flow but was merely a return of investor capital or



                                                148
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 149 of 229




the capital invested by other investors. Indeed, GPB secretly held money (investor capital) in

“reserve” to cover such 8% distributions, rather than from operating cash flow. This reserve was a

“slush fund” held off the books designed to cover up the lack of operating cash flow. Each of the

non-GPB Defendants, who had access to GPB financials, was aware of this accounting trick, which

enabled the fraud to succeed. GPB and Ascendant also structured asset purchases by “overpaying

for assets” and then contractually requiring repayment of this overpayment to be used to pay the

distribution. This deception had the effect of hiding the material fact that the operating businesses

were not generating profits, and that the distributions were merely returns of investors’ own

capital. Again, this financial chicanery was known to the non-GPB Defendants.

       180.    No legitimate business continuously pays out 8% dividends when consistently

losing money. To do so is to assure bankruptcy, unless the issuers and their agents can raise enough

money (fraudulently) to put off that inevitable failure, while they continue earning fees. This is the

nature of a Ponzi scheme

       181.    Notwithstanding the above panoply of fees, GPB and the Funds regularly promised

and paid investors a “dividend” of 8%, beginning only three months after the investors’ initial

subscription—a result that was clearly unachievable given the huge upfront fees being paid from

investor capital and the time period it would actually take to invest and make returns on the

remaining customer capital actually invested. Purportedly, the payouts were to occur based on the

cash flow of the underlying portfolio operating businesses, but Defendants knew this could never

be the case, and therefore lied about it. The sophisticated non-GPB Defendants also knew this

excessive 8% dividend was financially impossible.

       182.    Defendants misrepresented the source of these distributions. For example, the

Automotive PPM advised that “we will make distributions based on cash flow we have received



                                                 149
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 150 of 229




from Dealerships” (i.e., the portfolio operating companies). In fact, the dividends were not paid

from cash flow, but from other people’s money.

       183.    In a December 24, 2015 GPB Capital letter to Holdings II investors, which attached

a December 15, 2015 supplemental PPM, the GPB Defendants also falsely advised Plaintiffs and

other Class members:

               It is our pleasure to announce that GPB Holdings II, LP (the “Fund”) is
               performing well. With 9 assets generating healthy cash flow to the Fund,
               GPB continues to pay all distributions at the stated rate of 8% fully
               covered from funds from operations. More so, we recently announced a
               special distribution of 1.5% that will be payable on April 30, 2016 to all
               investors who are admitted to the Fund by December 31, 2015.

(Emphasis added).

       184.    In fact, such statements were false and misleading. They failed to disclose that GPB

was actually using new investor capital to pay distributions to existing investors in the Funds, and

the underlying assets were generally not profitable.

       185.    GPB did not rely on the Funds’ portfolio companies’ cash flow to make

distributions, as it falsely told investors in the Offering Materials. In a series of belated

communications with investors, the GPB Defendants, Gentile, and Schneider provided piecemeal

but misleading “disclosures” to class members that GPB “might” make distributions from investor

capital, but never said it did so, and continued to falsely tout the success of its underlying

investments.

       186.    For example, GPB stated that it could use investor capital to make distributions but

had not yet done so. This too was false, because use of investor capital to pay investor distributions

was the GPB Defendants’ game plan and practice from the start. In a March 7, 2016 GPB Holdings

II Amended PPMs, (for Class A and Class B units) at p. 25 (emphasis added), GPB stated:

               No Assurance of Distributions. The process of identifying, screening and
               successfully acquiring and operating private companies is difficult and
                                                 150
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 151 of 229




               risky. We can provide no assurances that we will be able to generate
               operating cash flow sufficient to make distributions to LPs. Thus, there is
               no guarantee that we will pay any particular amount of distributions, if at
               all. Furthermore, while we have no present plans to do so, we could
               include LPs’ invested capital in amounts we distribute to LPs, which
               may reduce the amount of capital available to acquire and operate
               Portfolio Companies and make other permitted acquisitions, as well as,
               negatively impact the value of the LPs’ investments, especially if a
               substantial portion of our distributions are paid from our LPs’ invested
               capital.

       187.    Likewise, a March 30, 2017 Form ADV, filed with the SEC reported, at p. 13

(emphasis added):

               No Assurance of Distributions. The process of identifying, screening and
               successfully acquiring and operating private companies is difficult and
               risky. The Companies can provide no assurances that they will be able to
               generate operating cash flow sufficient to make distributions to Investors.
               Thus, there is no guarantee that the Companies will pay any particular
               amount of distributions, if at all. Furthermore, while the Companies have
               no present plans to do so, the Companies could include Investors’
               invested capital in amounts distributed to Investors, which may reduce
               the amount of capital available to acquire and operate Portfolio
               Companies and make other permitted acquisitions as well as negatively
               impact the value of Investors’ investments, especially if a substantial
               portion of the Companies’ distributions are paid from Investors’
               invested capital.


       188.    Substantially similar language appeared in other PPMs issued by GPB,

including the June 12, 2016 Second Amended GPB Holdings II PPMs for Class A and

Class B, pp, 24 and 32, respectively; the January 2018 Third Amended GPB Holdings II

PPMs for Class A and Class B, pp, 31 and 32, respectively; a June 30, 2016 GPB

Automotive PPM, at p. 29; an April 16, 2018 GPB Waste Management PPM, at p. 26; and

a December 2016 Holdings Qualified PPM, at p. 34.

       189.    These disclosures were false at that time, as GPB was paying, and had paid,

dividends from investor capital and new investor capital.



                                               151
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 152 of 229




       190.   Finally, under regulatory pressure, GPB revealed in SEC filings in late 2018 and

May 2019 that it had in fact regularly used investors’ “invested capital,” not underlying capital

profits, to make investor distributions. These disclosures were not included in the PPMs or other

documents that had been provided to investors, but were contained in GPB’s filings with the SEC.

For example, the filings provided:

              November 14, 2018 Form ADV:
              No Assurance of Distributions. The process of identifying, screening and
              successfully acquiring and operating private companies is difficult and
              risky. GPB can provide no assurances that the Companies will be able to
              generate operating cash flow sufficient to continue to make distributions to
              Investors. Thus, there is no guarantee that the Companies will pay any
              particular amount of distributions, if at all. To the extent that any of the
              Companies do pay regular distributions to Investors, GPB may unilaterally
              determine to reduce the size of, or terminate the payment altogether of, any
              future distributions by any one or more of the Companies. Any distributions
              can be paid out of any available working capital, which includes Investor’s
              invested capital in the Company. Amounts that the Companies distribute
              to Investors have in the past accordingly included, and may in the
              future accordingly include, invested capital and have not been, and may
              not in the future be, entirely comprised of income generated by the
              Portfolio Companies. Such a reduction of available working capital
              reduces the amount of working capital available to acquire and operate
              Portfolio Companies and make other permitted acquisitions and
              investments and may also negatively impact the value of Investors’
              investments in the Company, especially when a substantial portion of a
              Company’s distributions are paid from Investors’ invested capital.

(Emphasis added).

              May 1, 2019 Form ADV:
              No Assurance of Distributions. Any distributions can be paid out of any
              available working capital, which includes Investor’s invested capital in the
              Company. Amounts that the Companies distribute to Investors have in
              the past accordingly included, and may in the future accordingly
              include, invested capital and have not been, and may not in the future
              be, entirely comprised of income generated by the Portfolio Companies.
              Such a reduction of available working capital reduces the amount of
              working capital available to acquire and operate Portfolio Companies and
              make other permitted acquisitions and investments and may also negatively
              impact the value of Investors’ investments in the Company, especially when
              a substantial portion of a Company’s distributions are paid from Investors’

                                              152
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 153 of 229




               invested capital. There can be no assurance that the Companies will be able
               to generate sufficient returns to pay their operating expenses and make
               satisfactory distributions to their Investors from income generated by the
               Portfolio Companies, or any distributions at all.

(Emphasis added).

       191.    GPB, in effect, acknowledged only in the SEC filings in late-2018 and 2019 (but

not in PPMs to investors) that it was running a Ponzi scheme from the start.

       192.    The GPB scheme was particularly insidious. On top of the Material

Misrepresentations and Omissions described herein, GPB, Ascendant, and Axiom and their

principals (Gentile, Schneider, and Martino), as well as the Broker Defendants and the Fund

Administrator, advanced and maintained the scheme by preparing and disseminating monthly

account statements that hid the fact that the investors’ own capital was being used to make

distributions (see Ex. A).

       193.    Instead of disclosing that the amount of investor capital was declining as a result of

the distributions, these statements regularly reported “Total Capital” as unchanged from the Class

members’ initial investment. These monthly statements also failed to account for the large upfront

fees and commissions paid from Customer Capital. Thus, investors were misled that the

distributions came from profits when they did not.

       194.    GPB and the Fund Administrator at Ascendant’s direction disseminated and

prepared these statements monthly and directly mailed them to investors at their addresses. Further,

each Broker Defendant was listed on, and received, such monthly statements.

       195.    As explained below, the GPB Defendants also hid from investors the financial

misconduct that was generating huge losses in the GPB Funds. See Section I, below.

       196.    The PPMs also contained numerous other material misstatements and omissions.

The PPMs failed to disclose that Gentile, the managing member and control person of GPB, the


                                                153
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 154 of 229




Funds’ general partner, had a large ownership interest (33%) in Ascendant, which served as the

primary underwriter for the Funds.

       197.    The PPMs failed to disclose that GPB, the general partner of the Funds, was owned

and controlled by Ascendant and Schneider, the primary distribution agents for the Funds. Failure

to disclose this co-ownership to investors in the Offering Materials for the Funds tainted the entire

set of Offerings, as the Funds’ general partner, a registered investment advisor and fiduciary under

federal and state law was benefitting from each and every sale without disclosing this secret

relationship. Schneider, Ascendant, and Gentile thus had gross conflicts of interest which were

undisclosed to investors, but known to the other Defendants

       198.    The PPM and the Offering Materials falsely claimed that the Funds were estimated

to return 15% net to investors. These statements were false and misleading as a net 15% return to

investors would have required a gross investment return of at least 23% on each deal, given the

exorbitant upfront fees. In fact, GPB, and its control persons, including, without limitation,

Schneider and Ascendant, knew this projection was absurd and false because their prior transaction

results returned on average less than 8%, as disclosed in the DD Reports to those who sold the

deals, the Broker Defendants, and RIAs (but not to the Class). Thus, GPB and its affiliates failed

to disclose their actual track record of less than 8% which would have made clear that their PPM

marketing projection of a 23% gross return—three times their historic performance—was

nonsense.

       199.    The PPMs failed to disclose gross conflicts of interest and conflict-ridden

transactions which would have warned investors of the improper conduct engaged in by GPB in

the Funds. Among these undisclosed conflicts were:




                                                154
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 155 of 229




           a. That the “first two dealerships that GPB Holdings invested in were partially owned

               by Gentile.” Thus, this GPB Fund had a serious undisclosed conflict that it was

               purchasing material assets from its control person;

           b. That GPB Holdings purchased equity interests in at least 3 private companies

               owned by Gentile;

           c. That Gentile personally guaranteed (and was paid for such guarantees) the “Floor

               Plan Loans” of up to $45 million undertaken by dealerships purchased by certain

               Funds. These guarantees provided Gentile with an undisclosed first security interest

               in each such dealership; and

           d. That the Funds as described herein engaged in improper and conflicted unsecured

               inter-company loans, not independently approved and not disclosed to investors.

       200.    In their respective PPMs, the Funds failed to inform investors of the fact that,

because of the size of the Offerings and the small amount invested by each investor, the Funds

would clearly be required to register under the 1934 Act and would be required to prepare

comprehensive quarterly and annual filings under the 1934 Act. Indeed, in the DD Reports, the

Funds acknowledged that they would be required to prepare such filings under section 12(g) and

that such filings would be expensive and difficult to prepare. The DD Reports made clear that

12(g) registration would be required early on. Moreover, the Funds failed to inform investors of

their actual failure to make such 12(g) filings when they were required to make such filings under

the federal securities laws.

       201.    Defendants Gentile and Schneider, as shown herein, failed to disclose critical

material information in connection with their fillings of documents with the SEC related to their

Offerings. Specifically, the GPB Defendants failed to make material disclosures in their Form D



                                               155
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 156 of 229




filings made as part of the process by which they purportedly became exempt from registration

requirements for their Offerings of the Funds. As a result, the GPB Defendants knew that they had

not complied with Regulation D, which required the distribution of such 1934 Act filings, and thus

were not engaging in exempt offerings. Defendants nevertheless lied knowingly to investors in the

PPMs claiming that the filings were exempt from registration under the 1933 Act and Texas law.

       202.    Defendants did not comply with Regulation D or Rule 506 and thus the GPB

Offerings were not exempt from registration under the 1933 Act or Texas law. GPB and its related

entities who purported to file on Form D in connection with a purported exemption from

registration under Regulation D and Rule 506 of the 1933 Act in fact failed to comply with the

rules and regulations applicable to such exemption and made Material Misrepresentations and

Omissions in connection with their completion of their filings on Form D, and therefore the

exemption provided under Regulation D was unavailable to them for any of the Offerings, each of

which constituted one integrated Offering under applicable rules.

       203.    First, Defendants failed to properly complete Item 3 in Regulation D: Related

Persons. The Securities Act defines related persons as persons who fill the role as executive

officers of the Offeror and persons who are “promotors of the offeror”. Ascendant, Martino, and

Schneider were promotors of GPB as creators of the GPB Offerings, and given their control of

GPB, within the meaning of this Regulation. Accordingly, their names, addresses, compensation,

and multiple roles in connection with the Offerings were required to be disclosed in Form D, and

they were not, rendering the Regulation D exemption unavailable to GPB. Obviously, Defendants

had an improper motive in failing to disclose Schneider, Martino, or Ascendant as related persons

because doing so would have required disclosure of the nature of their scheme, and if done

investors would have realized that GPB, the Offeror of the Securities, and Ascendant, the



                                               156
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 157 of 229




purportedly independent underwriter, were in fact one group that controlled both GPB and the

underwriter.

       204.    Second, Defendants failed to comply with Sections 12 and 13 of Form D, which

require full and complete disclosure of sales compensation, sales commissions, and finders’ fees

paid in connection with any such Offering. Defendants knowingly and intentionally failed to

disclose the full compensation, as is required pursuant to these sections, that was paid to Martino,

Schneider, and Ascendant, the purported independent underwriters and control persons of GPB.

In fact, undisclosed was the fact that Ascendant, Schneider, and Martino received at least 4% of

the total Offering proceeds in addition to that which was disclosed in the Form D by GPB. This

4% consisted of 1.25% of the Offering amount described nominally as “Offering Expenses” paid

directly to Ascendant, and up to 2.75% of all amounts paid in connection with acquisitions made

by the GPB Funds, a fee nominally known as the acquisition fee. Nowhere in the Form D or

elsewhere did GPB disclose to investors that in addition to the outrageous upfront commissions

paid to Ascendant, Martino, and Schneider, they were, “under the table,” also receiving an

additional 4% —as much as $75 million —in payments in the form of acquisition fees and so-

called Offering expenses.

       205.    The DD Reports provided to Brokers disclosed an array of additional fees, which

were accordingly thereto also split with Ascendant and Schneider. These fees too were not

disclosed in the Form D and thus rendered Regulation D unavailable to GPB.

       206.    Third, Defendants made material misrepresentations in connection with their filings

on Form D by failing to properly complete Item 16: Use of Proceeds. Item 16 requires the Offeror

and related parties, including promotors, like Schneider and Ascendant, to disclose the amount of

the Offering proceeds that has been or is proposed to be used for, including in the future, paying



                                                157
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 158 of 229




any such persons (i.e., executive officers, directors, or promotors). Here, GPB failed to disclose

the acquisition fees and Offering expenses used to pay Ascendant or otherwise required to be

disclosed pursuant to Item 16. GPB also failed to disclose the fact that a portion of the commissions

that were being paid to Ascendant as ordinary commissions pursuant to the PPM and were also

being shared with GPB and Gentile directly because Gentile (undisclosed to investors) owned one-

third of Ascendant and therefore one-third of its income. For multiple reasons, Defendants

misrepresented the information that was required to be disclosed in Item 16 and rendered

Regulation D unavailable to them in connection with their purported exempt transaction.

       C.      Defendants Also Failed to Disclose “Bad Acts,” Precluding Their Reliance on
               Rule 506 or Regulation D

       207.    Gentile, Schneider, GPB and the Funds concealed numerous material conflicts and

SEC Rule violations from Plaintiffs and other members of the Class.

       208.    GPB co-founders Gentile and Schneider met years before launching the GPB

Funds. As described above, Schneider developed the business concept for the Funds, and

Schneider boasted that he was the one who had the idea for the Funds and convinced Gentile to

launch GPB.

       209.    But Schneider’s relationship with Gentile was more than a business advisor.

Schneider had an ownership interest in GPB, just as Gentile had an ownership interest in

Ascendant. The Offering Materials failed to disclose Gentile’s ownership interest in Ascendant, a

fact which placed him in an uncurable conflict as the managing member of GPB. As shown herein,

the conflicts arising from Schneider’s and Gentile’s undisclosed co-ownership of the issuer and

the underwriter, respectively, were pervasive. Such conflicts were not subject to waiver by limited

partners under federal law. Indeed, in June of 2019, the SEC reiterated its long-held policy that

Investment Advisors may not waive or seek waiver of their fiduciary duties under the IAA. Any


                                                158
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 159 of 229




attempt by Defendants to seek waiver or partial waiver of their fiduciary duties would be

ineffective under federal and state law.

       210.     Schneider’s company, Ascendant Capital, became the exclusive underwriter and

placement agent for the GPB Funds. As such, Schneider and Ascendant Capital were instrumental

in growing GPB and the Funds, attracting investors by (a) offering investment opportunities in the

Funds directly to investors, first as a branch office of Axiom, and later through Ascendant, and (b)

creating a nationwide network of independent brokers—the Broker Defendants—to sell limited

partnership interests in GPB.

       211.    Thus, Schneider and Ascendant Capital in Texas played a substantial role in

developing, orchestrating, organizing, executing, and overseeing the GPB Funds and the

Offerings, selling securities in the Funds to investors, and arranging for further sales through the

Broker Defendants. In short, Schneider, the lead broker and underwriter for GPB, was at all times

a control person of the Funds, a fact which was not disclosed to investors.

       212.    Defendants’ failure to disclose to prospective GPB investors that Schneider and

Ascendant were control persons of GPB and the Funds, and that Schneider’s professional

background included numerous violations of state and federal securities laws and rules, constituted

material omissions.

       213.    Moreover, because Schneider was a “bad actor” under SEC Rule 506(d), and

because his “bad acts” were not disclosed in the PPMs, GPB could not employ an exemption from

registration under Regulation D and Rule 506, which provides:

               “Bad Actor” disqualification. (1) No exemption under this section shall be
               available for a sale of securities if the issuer; any predecessor of the issuer;
               any affiliated issuer; any director, executive officer, other officer
               participating in the offering, general partner or managing member of the
               issuer; any beneficial owner of 20% or more of the issuer’s outstanding
               voting equity securities, calculated on the basis of voting power; any

                                                159
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 160 of 229




               promoter connected with the issuer in any capacity at the time of such sale;
               any investment manager of an issuer that is a pooled investment fund; any
               person that has been or will be paid (directly or indirectly) remuneration for
               solicitation of purchasers in connection with such sale of securities; any
               general partner or managing member of any such investment manager or
               solicitor; or any director, executive officer or other officer participating in
               the offering of any such investment manager or solicitor or general partner
               or managing member of such investment manager or solicitor:
               (vi) Is suspended or expelled from membership in, or suspended or barred
               from association with a member of, a registered national securities
               exchange or a registered national or affiliated securities association for any
               act or omission to act constituting conduct inconsistent with just and
               equitable principles of trade.

17 C.F.R. § 230.506(d)(1)(vi).

       214.    Here, Schneider (a) was the subject of at least eight customer disputes seeking

nearly $1,000,000 in damages, most of which were settled in exchange for significant amounts of

money; (b) was the subject of two instances of employment separation after allegations of

misconduct; and (c) was the subject of two regulatory actions, by the NASD and Illinois state

securities regulators, respectively, one of which resulted in a $15,000 fine and suspension and the

other one in a 2-year ban from being licensed in Illinois. Gentile, GPB and the Funds failed to

disclose any of Schneider’s prior misdeeds to investors.

       215.    Martino was involved in the fraudulent scheme relating to the Funds as a broker

and CEO at Axiom and later as an owner and CEO of Ascendant Strategies. Martino was also a

“bad actor” under SEC Rule 506(d) because he (a) has been the subject of three customer disputes

seeking in excess of $1,000,000 in aggregate damages, which were settled in exchange for

significant amounts of money (totaling over $900,000 in the aggregate), and (b) received a

supervisory suspension from the NASD (FINRA) in 2003 for sixty days and was fined $15,000

for failing to adequately supervise the activities of registered representatives. Early in his career,

Martino was discharged from Shearson Lehman Hutton, Inc. for purchasing stock in his own



                                                 160
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 161 of 229




account for a friend employed with another firm. Defendants’ failure to disclose any of this was a

violation of Rule 506.

       216.    Pursuant to SEC Rule 506(e), the GPB Defendants were required to disclose in each

Fund’s PPM these “bad acts” that Schneider and Martino committed. The GPB Defendants’ failure

to make these disclosures rendered a Rule 506 registration exemption unavailable to GPB. Thus,

each Offering violated the Securities Act of 1933 because such Offerings were not exempt from

registration thereunder. Each Broker Defendant substantially assisted in the unregistered Offerings

in violation of federal and Texas law, and knew of these “bad acts,” as they were disclosed in

databases commonly available to the Broker Defendants, and because the Broker Defendants had

a business relationship with the “bad actors.”

       D.      Defendants Failed to Make Required 1934 Act Filings and the Broker
               Defendants Substantially Assisted in the Violation of the 1934 Act by
               Distributing the Securities

       217.    Section 12(g) of the Exchange Act requires issuing companies to register a class of

securities with the SEC if such shares are issued by an entity with more than $10,000,000 in assets

and are owned by 2,000 or more equity holders.

       218.    At some point in 2016, GPB knew that it had sold classes of shares in certain of the

Funds to more than 2,000 investors. Each of the Broker Defendants knew this as well, because

they knew that each investor was investing relatively small amounts and that GPB raised hundreds

of millions of dollars, and because the DD Reports specifically stated that 12(g) registration would

be required early on and would be difficult to affect.

       219.    In particular, GPB’s Form D filings and amendments demonstrated that, at a

minimum, GPB’s Holdings II and Automotive Funds had met the Section 12(g) thresholds for

requiring registration. The Broker Defendants were named in such filings, and knew, or should

have known, of their contents. See Section J, below.
                                                 161
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 162 of 229




       220.    Despite this knowledge, GPB never registered any class of shares under the 1934

Act and thus never made the extensive public filings required thereunder, including quarterly and

annual financial statements. By issuing shares without such filings, GPB, with substantial

assistance from the Broker Defendants, repeatedly violated the Exchange Act and failed to provide

required financial information to investors.

       E.      The Auditor Defendants Provided Substantial Assistance in the Illegal
               Offerings Described Herein

       221.    GPB and the Funds represented to investors that they had engaged a stable of

independent auditors to audit the Funds’ financial statements. GPB and Ascendant touted the

engagement of those firms as the Funds’ auditors in PPMs and marketing materials. These auditors

included (depending on the year): RSM for Holdings II; Crowe for Automotive; CohnReznick for

Waste Management; Margolin for Automotive, Holdings, Holdings Qualified, and NYC

Development; EisnerAmper for Automotive, Holdings, Holdings II, and Holdings Qualified; and

Withum for Waste Management           (Armada Waste), Cold Storage, Holdings III, and NYC

Development. RSM, Crowe, CohnReznick, Margolin, EisnerAmper and Withum allowed their

names and reputations to be used to sell the Funds. Without the participation of the auditors listed

in the PPMs, GPB and the Broker Defendants would not have been able to sell the Funds to

Plaintiffs and the Class—given that GPB lacked any substantial track record absent audited

financials, it could not have affected the Offerings.

       222.    RSM also substantially assisted the fraud by publishing and allowing GPB to

distribute to investors materially false audited Holdings II financials for fiscal years 2015 and 2016

as well as RSM’s faulty audit opinion for each financial statement that such financials complied

with Generally Accepted Accounting Principles (“GAAP”). On August 17, 2018, GPB announced

that the previously issued financial statements for Holdings II for 2015 and 2016 (which had been

                                                 162
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 163 of 229




audited by RSM) would need to be restated. GPB further stated that these audited financials should

no longer be relied upon, thereby acknowledging that they were materially misstated. These

audited financials were so materially incorrect that they have been withdrawn. Ultimately, in April

2019, RSM resigned or was replaced as the independent auditor for Holdings II.

       223.    Similarly, Crowe also substantially assisted the fraud by publishing and allowing

GPB to distribute to investors materially false audited GPB Automotive financials for fiscal year

2016 as well as a faulty audit opinion that such financials complied with GAAP. In particular, on

May 1, 2017 Crowe issued its Independent Auditor’s Report stating: “In our opinion, the

consolidated financial statements referred to above present fairly, in all material respects, the

financial position of GPB Automotive Portfolio, LP and Subsidiaries as of December 31, 2016,

and the results of their operations and their cash flows for the year then ended in accordance with

accounting principles generally accepted in the United States of America.”

       224.    On August 17, 2018, a letter from Gentile of GPB to limited partners of GPB

Automotive Portfolio LP disclosed that it had “determined that the previously issued financial

statements as of and for the years ended December 31, 2015 and 2016 will need to be restated.”

The letter further disclosed that “the Company’s 2015 and 2016 financial statements and the

independent accountants’ reports [Crowe prepared the 2016 report] thereon should no longer be

relied upon. We currently expect that the restatements will include adjustments to the 2015 and

2016 financial statements for items including reclassification of certain transactions and/or

corrections in the timing and amounts of income recognition, and enhanced disclosure of certain

related party transactions.” GPB further acknowledged that it had “concluded that certain material

weaknesses in internal controls exist and as a result these internal controls over the financial

reporting processes will need to be revised and enhanced. At that point, Crowe was still engaged



                                               163
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 164 of 229




as auditor for Automotive 2017 financials. Then, in a November 9, 2018 letter to Automotive

Limited Partners, GPB advised that “Crowe notified GPB Capital that it elected to resign as the

auditor for the Company. We were informed that the resignation was due to perceived risks they

determined fell outside of their internal risk tolerance parameters.” (Emphasis added.)

       225.    Crowe also issued audit opinions for GPB Holdings for fiscal year 2016, and for

GPB Holdings Qualified for fiscal year 2016. The Holdings audit has since been withdrawn. By

issuing such opinions and reports, Crowe substantially assisted the scheme alleged herein by

publishing and allowing GPB to distribute to investors materially false financials for these Funds

for fiscal year 2016, as well as a faulty audit opinion that such financials complied with GAAP.

       226.    Moreover, on June 21, 2019, GPB acknowledged that the value of its Funds audited

by RSM and Crowe had declined between 25% and 73%. Specifically, GPB reported that

Holdings II’s value had fallen by 25.4% and Automotive’s by 39%. GPB further reported that its

five remaining Funds, named herein, had declined between 25% and 73% in value. These

disclosures make clear that the GPB financials reviewed or audited by the Auditor Defendants

were materially inaccurate.

       227.    Without RSM, Crowe, CohnReznick, Margolin, Withum and EisnerAmper, the

GPB Ponzi scheme could not have continued. Recklessly overstating the financial results of GPB

gave it the appearance of profitability and financial success and hid the fact that it was a Ponzi

scheme.       RSM’s, Crowe’s, CohnReznick’s, Margolin’s, EisnerAmper’s and Withum’s

participation in the scheme was vital to its perpetuation. By reviewing financial statements, issuing

audits and reporting that they were working on audits for a number of years, and by allowing their

names to be used in PPMs and in marketing materials, these Auditor Defendants conveyed to




                                                164
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 165 of 229




investors, including the Class members herein, that their investments in the GPB Funds were

legitimate and that the Funds had met or were meeting their financial reporting obligations.

       228.    RSM, Crowe, CohnReznick, Margolin, EisnerAmper and Withum failed to uncover

or report any of the related-party transactions and other irregularities in GPB’s books and records

described below.

       229.    Among the material failures in the RSM, Crowe, CohnReznick, Margolin,

EisnerAmper and Withum’s audits or auditing work were: (1) the failure to disclose and address

the numerous and material conflicted transactions described herein; (2) the failure to disclose and

address the GPB practice of “reserving” Funds off brokerage statements to pay the 8% distribution

while claiming this was paid from operating profits; (3) the failure to properly account for inter-

fund loans and co-ownership of assets; and (4) the failure to properly account for defaults in

underlying GPB investments which were not marked to market, but instead kept at purchase value,

even when the likelihood of repayment was materially decreased.

       230.    These auditors gave substantial assistance to the other Defendants’ violation of the

Texas Securities Act by adding their names, reputations, and work to the GPB Offerings and did

so with knowledge of the unregistered status of the Offerings and the other material

misrepresentations and omissions outlined herein.

       F.      The Broker Defendants Substantially Assisted the Scheme

       231.    The Broker Defendants played a critical role in the GPB scheme. These Defendants

provided substantial assistance by providing GPB Capital with widespread access to thousands of

investors throughout the United States. The monies that they collected from Class members—the

investors’ capital—provided the fuel for the scheme, enabling the GPB Defendants to continue to

pay large distributions to investors from newly-invested capital. This encouraged investors to

maintain their investment in GPB’s Funds and to participate in further GPB Offerings. The Brokers
                                               165
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 166 of 229




also distributed to thousands of investors the PPMs and related materials which they knew from

the DD Reports contained multiple falsehoods. Had the Broker Defendants disclosed these

falsehoods and stopped selling, the Ponzi scheme would have ended.

       232.    The Broker Defendants had subjective, actual knowledge of the fraud. They knew

that producing an 8% cash return on Class members’ investments within three months of

investment was unattainable, especially because GPB would only have approximately 80% of

invested capital to put to work (after payment of exorbitant commissions and other fees, as

described herein).

       233.    Indeed, the prior performance of other funds managed by GPB was disclosed to

Broker Defendants in the DD Reports and such performance on average was a total of less than

8%. Accordingly, given that GPB’s prior funds’ total performance was less than the purported

cash payments that they were going to make 8% within three months of their receipt of investor

cash, the Broker Defendants were aware that this purported cash distribution from operating profits

was farcical and non-realistic, as outlined herein:

           a. Each of them also knew from experience as brokers in connection with private

               equity deals that in order to generate cash flow, GPB would need sufficient time to

               find investors, effect due diligence on investments, document the acquisition,

               finalize the acquisition, and then grow the business efficiently to pay 8% current

               income. They knew that this could not occur within three months of receipt of

               monies from investors, which was reduced by 20% in the form of commissions and

               other payments upon investors’ monies, and thus the 8% dividend was not realistic

               or possible;




                                                166
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 167 of 229




   b. The Broker Defendants knew that the GPB statement that it had “modeled” and

      projected a 15.5% net IRR total performance to investors from its Funds was

      materially false and omitted to state material facts. Specifically, the DD Reports

      provided to the Brokers explained that GPB’s prior transactions had yielded a total

      net performance of less than 8%. Accordingly, Defendants knew that GPB’s

      promised performance of 15% (almost 200% of its prior performance) was

      unrealistic and omitted to state the fact that its prior similar transactions had a net

      return to investors of only half of this “projected” amount;

   c. The Broker Defendants were subjectively aware that GPB had failed to disclose

      that its control person (Gentile) was a one-third owner of the equity in the principal

      underwriter of the GPB Offerings, Ascendant. While this information was not

      disclosed to any investor, it was specifically disclosed in detail to the Broker

      Defendants in the DD Reports. Indeed, in the DD Reports, the authors made clear

      that not only was this fact important, but also that it resulted in a material conflict

      of interest. In addition, it also rendered Ascendant’s role as the lead underwriter

      conflicted. Stated differently, the DD Reports made clear that because Ascendant

      had a conflict with the cross-ownership with Gentile, and because its role as

      underwriter was also conflicted, it was unable to give independent and objective

      advice with respect to the merits of the transaction to customers and other Brokers

      who participated in the transaction. This information was specifically disclosed to

      Brokers and other Defendants but was withheld from investors;

   d. The Broker Defendants knew from the DD Reports about the conflicts of interest

      outlined herein, including: (a) tens of millions of dollars of improperly documented



                                       167
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 168 of 229




      and undercollateralized inter-company loans; (b) loans by Gentile to GPB-owned

      businesses pursuant to which he obtained a security interest prior to that of GPB

      upon the underlying assets; and (c) comingling of the assets among the various GPB

      Funds without proper documentation or independent approvals. These conflicts

      were specifically disclosed to the Broker Defendants in the DD Reports, but were

      withheld from investors. The Auditor Defendants and the Valuation Defendants

      were also aware of these financial misdeeds as they had access to GPB financials;

   e. The DD Reports made clear that the total amount of fees disclosed by GPB in its

      PPMs was incorrect. Indeed, the DD Reports prepared by third parties specifically

      addressed the total amount of fees payable by GPB in connection with each

      Offering and concluded that such amount was actually 3% higher than that

      disclosed to investors in the PPMs prepared by GPB and Ascendant. The Broker

      Defendants were aware of this material misrepresentation, but investors were not;

   f. The DD Reports specifically disclosed to the Broker Defendants that Ascendant

      was receiving payments, which were not disclosed on the Form D filed by GPB or

      otherwise to investors in the form of transactional fees and organizational fees,

      totaling 3% of the total amount raised by GPB. Stated differently, the Brokers knew

      that Ascendant (the conflicted lead underwriter) was receiving 3% of the total

      amount raised on an undisclosed basis in violation of the disclosure requirements

      imposed under the Securities Act of 1933, voiding any Rule 506 exemption. RSM,

      Crowe, and the other Auditor Defendants, as well as Phoenix, were also aware of

      this because Phoenix effected such payments and the auditors reviewed such

      payments in connection with its audit;



                                      168
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 169 of 229




   g. The Broker Defendants knew that the lead underwriter for the GPB Offerings,

      Ascendant, was not an “independent underwriter” as defined in FINRA rules or

      otherwise. They knew this because the DD Reports specifically disclosed this, and

      made clear that in light of the undisclosed payments made to Ascendant, and in

      light of its common ownership with GPB, and in light of Gentile’s one-third

      ownership of Ascendant, that Ascendant was conflicted. It could not serve as an

      independent underwriter, and therefore each Broker Defendant would be required

      to do its own due diligence;

   h. Each of the Broker Defendants knew that the total amount of the fees paid or

      payable in connection with the offerings were extraordinarily high—at least two

      times higher than that of an ordinary private placement—because the DD Reports

      made the extraordinary nature of these payments entirely clear;

   i. Each of the Broker Defendants also knew that GPB would promptly, after the initial

      Offering and sales efforts by the Broker Defendants involved in the underwriting,

      have to register the Securities under the 1934 Acts, specifically section 12(g). They

      also knew that this process would be time consuming and expensive because it

      entailed finalizing the audit and requiring GPB to then make regular quarterly

      filings disclosing its financials and balance sheet, and that it would be difficult for

      a company with a small management team, such as that of GPB, to effect such

      registration and to maintain such registration on a regular basis. The Broker

      Defendants also knew that at some point in 2016 GPB failed to file under 12(g)

      when it was required to do so, and that this too voided any possibility of their

      employing Rule 506 or Regulation D, because an entity that is required to register



                                       169
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 170 of 229




      under 12(g) must in connection with any offering be registered under Regulation

      D, and distribute to each investor, including accredited investors, a copy of its

      filings required pursuant to 12(g). Each of the Broker Defendants knew given the

      small amount invested by each investor in GPB Offerings, and the enormous size

      of the underwriting syndicate, as well as the information disclosed in Form D, that

      GPB was very soon after its initial Offering required to register under 12(g) and

      failed to do so. See Section J, below. They continued to participate in the Offering

      knowing that it was in violation of the Securities Act of 1933 and the Securities Act

      of 1934 as well as Texas law. The DD Reports specifically disclosed this 12(g)

      issue;

   j. Each of the Broker Defendants also knew from the DD Reports that GPB and its

      management team had a very limited track record prior to their efforts to raise more

      than a billion dollars through the Offerings at issue in this matter. The DD Reports

      make clear that the GPB entity was so thinly capitalized that it raised questions as

      to its viability and that it had an insufficient track record “from which to base any

      conclusion” as to the management’s ability to manage such a large sum of money.

      Despite the lack of track record, despite the conflicts of interest, despite the

      unprecedented large fees, and despite their knowledge of the violation of both the

      1933 and 1934 Acts, the Broker Defendants continued to feed the Ponzi scheme

      with objective and subjective knowledge that the Offering Materials used by GPB

      contained material omissions and material misstatements; and

   k. Finally, each of the Broker Defendants knew that GPB was hiding salient and

      material information from investors. Specifically, the DD Reports pointed out that



                                      170
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 171 of 229




               GPB refused to provide them with the service agreements between Ascendant,

               Axiom, Schneider, and GPB. The DD Reports made clear that their preparers

               requested this information so that they could further evaluate the conflicted

               relationship between these parties but were denied access. Knowing that there was

               a clear conflict of interest, the Broker Defendants simply should not have gone

               ahead with selling this transaction, especially given the clear evidence that GPB

               was hiding from its own due diligence preparers the full nature of its relationship

               with Ascendant, Axiom and Schneider.

       G.      The Fund Administrator Breached Its Direct Duties to the Class and
               Substantially Assisted the Violations of the TSA

       234.    Throughout the Class Period, GPB and Ascendant utilized Phoenix as the Fund

Administrator for the Funds.

       235.    According to the Automotive and Holdings III PPMs, for example, GPB engaged

Phoenix to provide administrative services, including “Full Service Investor Administration” (i.e.,

new business processing, bank account management, electronic document management, database

and file management, electronic and physical data storage, confirmation letters, and investor/rep

access to records through customized web portal) and “Investor Relations” (i.e., distributions,

redemptions, account summary, commission calculation, tax reporting, and OFAC compliance).

       236.    Phoenix also was the paymaster for each of the GPB Funds, charged with the

distribution to all recipients of such Fund monies payable by GPB or any of the Funds. According

to the DD Reports, Phoenix, as Fund Administrator, received a 20% commission on the amount

of each such payment. This financial arrangement was unprecedented and highly unusual, and put

Phoenix on notice that GPB was a fraud and using Phoenix to perpetuate its scheme.




                                               171
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 172 of 229




       237.    Upon information and belief, Ascendant in Texas engaged the Fund Administrator

to provide similar services for each of the GPB Funds and Offerings.

       238.    The Fund Administrator owed duties to Plaintiffs and the Class members to comply

with the law and with industry standards of conduct, and to possess the skills held by experienced

fund administrators. However, rather than report accurately to investors, the Fund Administrator

knowingly provided false information to the investors concerning their accounts at GPB. The

Fund Administrator knew (because it received the investors’ investment amounts and was

responsible for the commission calculation) that up to 20% of such amounts was transferred from

such accounts to Broker Defendants as commission and to GPB as fee income. Thus, from the

start, the customer capital accounts were reduced materially.

       239.    However, the Fund Administrator, in its monthly statements to investors, did not

reflect this reduction, thus causing investors and potential investors to rely upon recklessly inflated

account values.

       240.    Had the Fund Administrator correctly reflected customer accounts values, investors

and potential investors would have known that they were losing money and that distributions were

not derived from profits—as GPB wanted them to believe —but from their own capital. In sum,

the Fund Administrator’s reporting of false customer values on a monthly basis – which reflected

profits when there were none, and which hid the Ponzi scheme – both was negligent and

substantially assisted the Ponzi scheme.

       241.    Phoenix sent each investor in the GPB Funds, including hundreds in Texas, the

“Admit Confirmation” advising that investor that they had been admitted as a limited partner and

setting out the specifics of their investment. Thus, beginning before each partner was admitted to

the GPB Fund as a limited partner, Phoenix had a direct privity relationship with each Class



                                                 172
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 173 of 229




member and was provided with personal financial information as to each Class member, including

personal financial information contained in the Subscription Documents and each Class member’s

name and address. Each month the Fund Administrator provided Class members with false

information as to the value of their respective capital accounts. This information failed to reflect

actual declines in capital account values and falsely led investors to believe that the “distributions”

they received were from profits in GPB investments.

        242.   Phoenix was aware that the monthly statements it sent directly to investors were

false as it controlled the payment flows relating to customer investments in GPB and oversaw third

party payments from customer accounts. Thus, Phoenix knew that the monies paid to investors

were in fact simply returns of capital and not from operating profits and misrepresented this fact.

        243.   Indeed, the DD Reports make clear that Phoenix was aware of such payments from

customer accounts and was in fact paid 20% of such third-party payments as a fee, according to

such DD Reports. Thus, Phoenix knowingly made false statements to Class members, many in

Texas, and had a direct fiduciary relationship with them.

        244.   Phoenix was also aware of other misrepresentations and omissions in the PPMs and

related documents as it processed payments to third parties. Thus, Phoenix was subjectively aware

that:

           a. Ascendant was receiving payments denominated as acquisition fees and

               organizational expenses of up to 4% of monies invested and yet this was not

               disclosed in the PPMs, the Subscription Documents or Form D filed by GPB;

           b. Gentile was a part owner of Ascendant because payments to Ascendant were in part

               paid to him; and




                                                 173
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 174 of 229




            c. GPB had exceeded 2,000 investors and thus was subject to filing requirements

               under 12(g) as Phoenix knew each investor by name and amount invested and was

               experienced in fund administration and thus knew when 12(g) applied.

       245.    Moreover, Phoenix has had substantial experience in administrating Private Equity

Funds and thus knew that the commissions and related fees being paid upfront and its fee of 20%

on all third-party payments were highly unusual and suspicious. Indeed, the 20% fee paid to

Phoenix was unprecedented and upon information and belief designed to cause Phoenix to

participate in hiding the true nature of the 8% distributions and the fraud.

       H.      The Auditor Defendants Were Aware of the Fraud at GPB.

       246.    The Auditor Defendants had actual knowledge of the fraud and the PPMs

misrepresentations and omissions. First, they had access to the GPB payment records, and thus

knew GPB was not earning the 8% it paid as a “dividend” but instead was using financial trickery

to account for such cash and was falsely discounting such fraudulent conduct. The Auditor

Defendants also knew that Ascendant and Schneider were being paid acquisition fees and

organizational expenses, totaling 3% of the Funds raised, even though Ascendant did not work on

acquisitions, and that Ascendant was not described as performing such functions in the PPMs and

such fees were not disclosed to investors. The Auditor Defendants knew of the undisclosed

conflicting transactions described herein as they reviewed and audited the books of GPB. Third,

because the Auditor Defendants participated in the preparation of tax information for investors,

they also knew that GPB had exceeded 2,000 limited partners and was required to register under

Section 12(g). The Auditor Defendants and RSM also knew of the undisclosed co-ownership of

Ascendant and GPB because they had access to each Company’s records and made payments in

the form of fees to each Company. Finally, being among the largest accounting firms dealing with

private equity issuers, RSM and Crowe knew that the GPB commission and fee structures were
                                                174
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 175 of 229




extraordinary and unprecedented and that the transactions could not succeed in achieving market-

based returns. RSM’s, Crowe’s, and the Auditor Defendants’ audit reports for the GPB Funds were

negligently prepared because, as GPB has acknowledged, their financial statements were not

consistent with GAAP and Generally Accepted Auditing Standards and dramatically overstated

the value of each respective Fund’s private equity investments.

       I.      GPB and the Funds Were Plagued by Undisclosed Financial Misconduct, by
               which Defendants Breached Their Fiduciary Duty; the Allegations of Fraud
               Made Herein are Substantiated by Recent Lawsuits Filed Against GPB and
               Related Parties

       247.    Two recent lawsuits by and against GPB have shined a light on Defendants’

financial misconduct and misrepresentations in connection with the Funds and confirmed many of

the Material Misrepresentations and Omissions alleged herein. GBP and the Funds failed to timely

and accurately disclose the nature of this misconduct. Moreover, the misconduct described below

enabled Defendants to conceal their scheme from Class members and maintain it for years, making

equitable tolling appropriate.

       248.    GPB is engaged in litigation with a former senior executive of GPB, Patrick Dibre

(“Dibre”), through an action titled GPB Capital Holdings, LLC, et al. v. Dibre, Index No.

606417/17 (N.Y. Sup. Ct., Nassau Co.). The verified pleadings in that action assert that the GPB

Defendants fraudulently prepared the GPB financials, misled investors, and paid themselves large

fees to which they were not entitled. The verified pleadings include Dibre’s allegations that:

            a. Gentile and Schneider were, through GPB, running a complicated Ponzi scheme;

            b. Gentile and Schneider paid themselves undisclosed kickbacks in connection with

               purchasing automobile dealerships;

            c. Gentile and Schneider paid themselves kickbacks from funds created by GPB in

               connection with reinsurance and manufacturer rebates;


                                               175
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 176 of 229




   d. Gentile and Schneider improperly expensed to GPB Funds significant personal

      expenses, including luxury cars and jet airplanes;

   e. as alleged herein, GPB paid commissions, fees and expenses from investors monies

      amounting to up to 20% of the investment proceeds;

   f. Gentile and Schneider intentionally falsified Holdings II’s and Automotive’s

      financials by inflating purported cash flows and failing to account for expenses;

   g. Gentile and Schneider acknowledged to Dibre that the GPB Funds were

      “deceptive” from the start and designed solely to generate excessive brokerage fees

      for GPB, Schneider and Gentile in a Ponzi-type arrangement;

   h. GPB Holdings I Fund and GPB made improper conflicted payments to an

      accounting firm controlled by Gentile’s father, and that such funds were

      subsequently funneled from this accounting firm to Gentile’s family trust;

   i. GPB was unable to fund the purchase of car dealerships that Dibre owned or

      identified, not because of any action that Dibre took, but rather because the funds

      GPB should have had in place to complete the purchase had been diverted, Ponzi

      scheme style, to pay cash returns to earlier investors;

   j. GPB set up the structure of having individual funds issue non-public securities,

      because it was “designed from inception to generate significant brokerage fees to

      GPB and its related, but undisclosed, captive broker-dealer, Ascendant Alternative

      Strategies, LLC.” Dibre then claimed that the plan was to siphon off profits from

      any car dealerships it actually did buy, and finally to use “new investor funds to

      pay for the promised returns to the earlier investors” in Ponzi fashion;




                                       176
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 177 of 229




           k. once GPB took control of an auto dealership, through its control persons Gentile

              and Schneider, it manipulated the dealership’s financial statements to falsify

              (meaning inflate) their results and engaged in conflicted transactions; and

           l. to hide financial issues, Gentile and Schneider would, among other things, transfer

              funds from GPB Holdings I to Automotive, and vice versa, to bolster returns if a

              Fund was lagging behind. Thus, they routinely comingled funds among the

              purportedly separate Funds to bolster their fraud and hide it.

       249.   Recently, GPB became involved in another lawsuit, titled David Rosenberg, et al.

v. GPB Prime Holdings LLC, et al., No. 19-0925, (Sup. Ct. Mass., Norfolk Cty.), commenced by

David Rosenberg and two Rosenberg-related trusts. The pleading in that action also confirms

Plaintiffs’ allegations of misconduct here. Rosenberg and certain entities related to him or his

family owned and operated car dealerships in and around Massachusetts for decades. Prior to

2017, Rosenberg was the owner of Prime Motor Group (“Prime”), a large automotive dealership

group located in New England. In 2017, GPB made a significant investment in Prime, and asked

Rosenberg to oversee the various dealerships GPB had acquired. Rosenberg became CEO of a

network of GPB dealerships doing business as the Prime Automotive Group (“PAG”). As of July

2019, PAG was one of GPB’s largest investments.

       250.   According to Rosenberg, on or about May 12, 2017, GPB and an affiliate, GPB

Prime (which is beneficially owned by certain GPB funds, including Holdings II and Automotive),

executed a Purchase and Sale Agreement (“P&S Agreement”).

       251.   After GPB’s Prime investment closed, GPB asked Rosenberg to replace Jeff Lash

(who had been running GPB’s auto dealership) as head of the GPB Funds’ entire automotive

portfolio, which included not only the Prime dealerships, but also dealerships in New York and



                                              177
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 178 of 229




elsewhere in which GPB had previously invested. Rosenberg’s complaint alleges that in his

capacity as CEO of the GPB Funds’ combined automotive portfolio, he had to become familiar

with the historical finances of the non-Prime GPB dealerships.

       252.     Rosenberg alleges that in the course of running the combined automotive portfolio,

Rosenberg and his management team encountered information and documents showing that GPB

had engaged in financial misconduct beginning at least as far back as 2014. This misconduct took

many forms, but Rosenberg alleges that in general it included (a) the fabrication of revenue

through the use of fictitious contracts, (b) self-dealing transactions on the part of GPB principals,

including Gentile; and (c) undisclosed related-party transactions that benefitted Lash. Upon

information and belief, GPB and Gentile engaged in this conduct for essentially two reasons: (a)

to make it appear to investors that profits from the automotive investments were higher than they

actually were (and, correspondingly, to conceal the truth that investors were receiving distributions

from the capital other investors had contributed); and (b) to misappropriate investor funds for their

own personal purposes.

       253.     Rosenberg’s complaint alleges specific examples of GPB’s financial misconduct

that also confirms Plaintiffs’ allegations of Material Misrepresentations and Omissions, including,

among others:

           a. evidence of a form of “round tripping,” which is an improper technique to inflate

                revenue. Rosenberg and his executive team saw documents showing that, in 2016,

                the head of a dealership group owned by one of the Funds (Holdings I) sent a

                payment of $3,200,000 to that Fund that was recorded as revenue for 2015, but on

                that very same day that same Fund sent $2,100,000 to the head of that same

                dealership group as “working capital.” Upon information and belief, the purpose of



                                                178
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 179 of 229




                this “round-trip” transaction was to conceal the fact that the dealership group was

                not truly generating $3,200,000 in operating revenue for distribution; and

           b. documents showing that Gentile and Lash had funneled nearly $2,000,000 in

                revenue to entities they controlled, including some under the guise of “management

                fees.” For the year 2015, $201,706 was transferred to Emdykycol, Inc., and

                $201,706 was transferred to Jachirijo, Inc. Upon information and belief,

                Emdykycol, Inc. is owned by Lash and Jachirijo, Inc. is owned by Gentile.

                Dealership funds have also been siphoned off to LSG Auto Wholesale, an entity

                whose name, LSG, stands for Lash, Schneider, and Gentile. Upon information and

                belief, the payments described were kickbacks that served no legitimate business

                purpose and were not disclosed to investors.

           c.

       254.     Rosenberg also alleges in his complaint that he learned that GPB, its executives and

its principals (including Gentile) were engaged in extensive efforts to cover-up the misconduct in

order to lull the Funds’ investors into thinking that their investments were safe and that any losses

were due to legitimate business events rather than GPB’s and the Funds’ misconduct.

       255.     Rosenberg alleges that in or about the summer of 2018, GPB Capital’s audit firm,

Crowe Horvath (“Crowe”) ceased its work auditing certain of GPB’s companies and informed

GPB Capital that it would not be able to provide a clean audit opinion for 2017 and that it was

withdrawing its previous clean opinions for 2015 and 2016. GPB did not promptly advise Class

members of this development. Crowe stated that those earlier financial statements should not be

relied upon. Crowe eventually resigned completely from the engagement.




                                                179
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 180 of 229




       256.   Rosenberg alleges that he thereafter observed several efforts on the part of GPB

and its principals and agents to mislead third parties, including GPB’s own investors, about the

true nature of the misconduct that further confirms Plaintiffs’ allegations of Material

Misrepresentations and Omissions:

           a. In September 2018, for example, GPB and Ascendant representatives spoke to

              several brokers who had expressed concerns about the announcement that Crowe

              had stopped working on the audit. Rosenberg attended the call, which was recorded.

              According to the Rosenberg complaint, on that call GPB and Ascendant personnel

              made a series of materially misleading and outright false statements about the

              circumstances of Crowe’s withdrawal. They also falsely reported that a second

              firm, Stoneturn Group LLC, had completed a full forensic audit of GPB and given

              GPB a clean bill of health. Rosenberg, who participated in the call, demanded after

              the call that GPB and Ascendant correct their misstatements. Rosenberg alleges

              that, as of the date of his complaint, no correction had been made.

           b. Rosenberg describes another example of GPB’s efforts to lull and mislead its

              investors during the fall of 2018 and continuing into the winter and spring of 2019.

              GPB is required to perform a quarterly valuation of the dealerships. Rosenberg and

              his staff consistently informed GPB that the valuations GPB had been reporting to

              investors were inflated because the Funds’ financial reports carried the dealerships

              at their purchase prices, which, in ensuing years, did not accurately represent their

              value. Rosenberg and his staff consistently reported information to GPB regarding

              the true valuation of the dealerships. GPB, however, refused to adjust the valuation.

              It was not until June 21, 2019, Rosenberg alleges upon information and belief, after



                                              180
      Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 181 of 229




              Fidelity Investments informed GPB that Fidelity would no longer carry GPB’s

              investments on its platform, that GPB announced that it was cutting the valuation

              of its automotive dealership investments dramatically.

       257.   Rosenberg alleges other examples that relate to the efforts GPB has taken to conceal

material information about the Funds’ automotive dealerships from the dealerships’ auditors,

previously Crowe and more recently EisnerAmper LLP, the audit firm that replaced Crowe:

          a. In March 2018, a GPB employee who had worked closely with Lash on all matters

              relating to the automotive portfolio, quit his job. In connection with his departure,

              the employee provided Rosenberg and his staff with information relating to prior

              misconduct at the legacy (pre-Prime) GPB dealerships.

          b. Upon information and belief, when Gentile learned of the information the employee

              provided, he did not attempt to address or remedy any of the issues the employee

              had identified. Instead, he attempted to suppress the information, to ensure, in

              particular, that the information was withheld from Crowe.

          c. Later, following Crowe’s resignation, GPB retained EisnerAmper to perform the

              audit work that Crowe refused to perform. Upon information and belief, one of the

              crucial issues that had emerged during the Crowe audit was the revelation that there

              had been numerous undisclosed and inappropriate related-party transactions.

          d. In May 2019, Rosenberg received a “Related Party Questionnaire” that he was to

              answer as part of the audit. Rosenberg alleges, upon information and belief, that

              EisnerAmper required this questionnaire to be answered as part of the audit. The

              Questionnaire contained questions regarding transactions that did not appear to

              have a legitimate business purpose. Rosenberg, who was aware of the information



                                              181
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 182 of 229




                 set forth above, including the fictitious performance guarantees, provided that

                 information in his response and sent it to GPB and EisnerAmper.

              e. A short time later, on May 21, 2019, Rosenberg received a threatening letter from

                 GPB’s outside counsel. The letter claimed, falsely, that Rosenberg’s responses

                 were not properly called for by the Questionnaire. It then alleged that it was

                 somehow “inappropriate” for Rosenberg to provide the auditors with the correct

                 information. GPB’s outside counsel also asserted that Rosenberg’s Questionnaire

                 responses were somehow not “accepted,” and therefore a nullity.

       258.      The above demonstrates that both GPB and EisnerAmper, the auditor for GPB

Automotive, GPB Holdings and GPB Holdings II, were well aware of the above financial

improprieties. Defendants did not disclose these financial improprieties to Plaintiffs and other

Class members, in order to ensure that Class members would maintain their investment with the

Funds and to attract new investments in the Funds.

       259.      In another transaction demonstrating GPB’s self-dealing, GPB Capital, through

GPB Automotive Portfolio, over a period of about nine months purchased DJD Holdings, LLC,

which owned a series of car dealerships under the umbrella of the Lash Auto Group. DJD Holdings,

LLC, in turn, was 85% owned by CKGF Holding, LLC, and CKGF was in turn owned by Gentile,

McAnna, Ltd., Rina Chernaya, Robert Kessler, and Gerald Francese. Thus, GPB Capital

(controlled by Gentile) bought the assets of the conglomerate controlled by Gentile and his

associates, funneling money from Plaintiffs and investors into the pockets of Gentile and his

associates.

       260.      Similarly, during the time period 2014-2017, a GPB Automotive-owned dealership,

funded at least in part with GPB investor money, paid over $330,000 to LSG. These payments



                                                182
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 183 of 229




were likewise never disclosed to investors. Indeed, LSG was never identified as a related third-

party in any GPB Fund disclosure document or other marketing materials. Nonetheless, hundreds

of thousands of dollars or more changed hands between LSG and GPB Funds.

       261.    Gentile also had an interest in an entity named “GPB Lender.” Gentile used GPB

Lender to make interest-bearing loans to various Funds when they needed additional capital to

fund acquisitions. Investors were not informed that Gentile would use an entity he owned to make

loans to the Funds.

       262.    On at least one occasion, Gentile used GPB Lender to issue a loan to an entity

owned by LSG. That entity, and the obligation to repay the money to Gentile’s company GPB

Lender, was later acquired by GPB Automotive. The foregoing was not disclosed to GPB’s

investors.

       263.    GPB Automotive was not the only GPB entity engaged in self-dealing. GPB

Capital paid nearly $150,000 to a New York law firm owned by Gentile’s wife during the period

2016-2017. GPB Capital also Gentile’s wife on the payroll as an employee, paying her over

$90,000. Again, investors were not made aware of these insider arrangements.

       264.    Schneider, as a “strategic advisor” to and control person of GPB Capital, was aware

of Gentile’s self-dealing, and his mismanagement of GPB Automotive.

       265.    Not to be outdone, Schneider made sure to partake in the self-dealing in his own

right as well. He and/or Ascendant Capital (which he wholly owned) received more than $16

million in acquisition fees from GPB Capital, including more than $8.5 million when GPB

acquired the Prime Automotive Group in October 2017.

       266.    The more money that Ascendant and Axiom were able to funnel into the

GPB/Ascendant Ponzi Scheme, the more Gentile, Schneider, and Martino stood to make in



                                               183
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 184 of 229




undisclosed fees. Investors were never made aware that those underwriting the GPB Funds would

also receive substantial commissions derived from the assets eventually purchased by the GPB

Funds.

          J.     Defendants Raised Over $1.8 Billion from Investors for the GPB Funds

          267.   Employing material misstatements and omissions as described herein, and in

violation of the federal securities laws and Texas securities laws, Defendants, with the substantial

assistance of the Broker Defendants, Phoenix and the Auditor Defendants, raised over $1.8 billion

dollars from thousands of investors nationwide for the Funds.

          268.   Specifically, Defendants raised money for the GPB Funds, namely: GPB Holdings

LP; GPB Holdings Qualified; GPB Automotive Portfolio, LP; GPB Holdings II, LP; GPB Cold

Storage, LP; GPB NYC Development; GPB Waste Management, LP; and GPB Holdings III, LP.

GPB’s Form D filing with the SEC provided details about the amounts of investments (both

minimums and the aggregate), the number of total investors, and the brokerage firms involved in

each offering: because such Offerings were continuous, and because as shown herein, GPB

routinely comingled assets among the Funds, such Offerings were integrated and therefore treated

as one.

                 1.     GPB Holdings, LP

          269.   In or about June 2013, GPB Capital, Gentile and Schneider, through Ascendant and

Axiom, began offering to investors $150 million in limited partnership units in GPB Holdings LP.

According to a Form D signed by David Gentile as managing member of GPB Holdings and filed

with the SEC on June 6, 2013, the $150 million in Holdings units would generate an offering

estimate of $16,500,000 in sales commissions and finders’ fees expenses. The Form D listed

Axiom as the associated broker and reported that the minimum investment accepted from outside

investors was $50,000. Finally, GPB Holding claimed a federal registration exemption under SEC

                                                184
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 185 of 229




Rule 506. The Form D filed and amendments thereto were not in compliance with Regulation D

for the reasons stated herein.

               2.        GPB Holdings Qualified, LP

       270.    In or about June of 2013, GPB, Gentile and Schneider, through Ascendant and

Axiom, began offering potential investors $150 million of limited partnership units in GPB

Holdings Qualified, LP (“Holdings Qualified”). On June 10, 2013, Holdings Qualified filed a Form

D with the SEC projecting that the $150 million offering would generate an estimated $16,500,000

in sales commissions. According to the filing, the minimum investment accepted from outside

investors was $50,000 and the brokerage firm associated with the offering was Axiom Capital

Management, Inc. Holdings Qualified claimed a federal registration exemption under SEC Rule

506. The Form D filed and amendments thereto were not in compliance with Regulation D for the

reasons stated herein.

               3.        GPB Automotive Portfolio, LP

       271.    In or about June of 2013, GPB, Gentile and Schneider, through Ascendant and

Axiom, began offering potential investors participation in $150 million of limited partnership

interests in Automotive. On June 10, 2013, Automotive filed a Form D with the SEC disclosing

that the $50 million offering would generate an estimated $5,500,000 in sales commissions.

According to the filing, the minimum investment accepted from outside investors was $100,000,

and the brokerage firm associated with the offering was Axiom Capital Management, Inc.

Automotive claimed a federal registration exemption under SEC Rule 506. The Form D filed and

amendments thereto were not in compliance with Regulation D for the reasons stated herein.

       272.    By the time Automotive filed an Amended Form D filed on March 27, 2015,

Automotive had sold $32,000,000 (with $218,000,000 remaining to be sold) in limited partnership

interests to 303 investors, with estimated sales commissions of $27,500,000.

                                              185
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 186 of 229




        273. According to a further Amended Form D filed on May 19, 2016, the total amount

sold had risen to $176,110,533, purchased by 1,869 investors, with estimated sales commissions

of $19,372,158. Very soon thereafter, GPB was in violation of the 1934 Act, Section 12(g), and

never registered the equity interests thereunder. All other Defendants were aware that 12(g)

requirements of full public compliance with Exchange Act filings were then incumbent upon GPB.

Yet, they continued to assist in and promote the Offerings.

        274. A further Amended Form D filed on May 18, 2017, reported that the total

investment amount sold had grown to $369,234,443, purchased by 3,851 investors, with estimated

sales commissions of $43,385,047. The associated brokerage firms were Axiom Capital

Management, Inc. and Ascendant Alternative Strategies LLC.

        275. A final Amended Form D filed on May 14, 2018, reported that the total amount

sold was $622,143,273 of Automotive units to 6,353 investors with estimated sales commissions

of $52,204,671. The associated brokerage firms selling these units included: Axiom Capital

Management, Inc.; Ascendant Alternative Strategies, LLC; Accelerated Capital Group; Advisory

Group Equity Services Ltd.; Aegis Capital Corp.; American Capital Partners, LLC; Arete Wealth

Management, LLC; Arkadios Capital; Ausdal Financial Partners, Inc.; Avere Financial Group,

LLC; BCG Securities, Inc.; Benjamin & Jerold Brokerage I, LLC; Cabot Lodge Securities LLC;

Calton & Associates, Inc.; Cape Securities, Inc.; Capital Investment Group, Inc.; Center Street

Securities, Inc.; Coastal Equities, Inc.; Concorde Investment Services, LLC; Crystal Bay Securities

Inc.; Emerson Equity LLC; Geneos Wealth Management, Inc.; McNally Financial Services

Corporation; Kalos Capital, Inc.; IBN Financial Services, Inc.; Crown Capital Securities, L.P.;

Money concepts Capital Corp., National securities Corporation; Orchard Securities, LLC; Pariter

Securities, LLC; Sandlapper Securities, LLC; Vestech Securities, Inc.; Stephen A. Kohn &



                                               186
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 187 of 229




  Associates, Ltd.; Western International Securities, Inc.; International Assets Advisory, LLC;

  Hightower Securities, LLC; Innovation Partners LLC; Kingsbury Capital, Inc.; Sentinus Securities

  LLC; Vanderbilt Securities, LLC; Westpark Capital, Inc.; Colorado Financial Service

  Corporation; David A. Noyes & Company; Dawson James Securities, Inc.; Dempsey Lord Smith,

  LLC; DFPG Investments, Inc.; Dinosaur Financial Group, LLC; FSC Securities Corporation;

  Great Point Capital LLC; Landolt Securities, Inc.; Lewis Financial Group, L.C.; Lowell &

  Company, Inc.; Madison Avenue Securities, Inc.; McDonald Partners LLC; Moloney Securities

  Co., Inc.; MSC-BD, LLC; Newbridge Securities Corporation; Purshe Kaplan Sterling Investments,

  Inc.; Royal Alliance Associates, Inc.; Sagepoint Financial, Inc.; SCF Securities, Inc.; Silber

  Bennett Financial, Inc.; Triad Advisors LLC; Uhlmann Price Securities, LLC; Whitehall-Parker

  Securities, Inc.; Windsor Street Capital, LP; and Woodbury Financial Services, Inc.

            276. The various Automotive Portfolio Form D filings are summarized in the following

  chart:

                                            GPB Automotive Portfolio
                                                                                                                   First
                              Brokerage             Total           Min for          Total           #
               Date                                                                                               Date of
                                Firms              Offering        Investors         Sold        Investors8
                                                                                                                   Sale
Initial 6/10/2013          Axiom                  $50 M            $100,000       N/A            N/A
Amended 3/27/2015          Axiom                  $250 M           $100,000       $32 M          303              8/1/2013
Amended 5/19/2016          Axiom                  N/A              $100,000       $176 M         1,869            8/1/2013
                           Axiom and
Amended 5/18/2017          Ascendant              N/A              $100,000       $369 M         3,505            8/1/2013
Amended 5/14/2018          Many                   N/A              $100,000       $622 M         6,353            8/1/2013

                   4.       GPB Holdings II, LP

           277.    In or about April of 2015, GPB, Gentile and Schneider, through Ascendant and

  Axiom, and other Brokers, began offering potential investors $500 million of limited partnerships


  8
   The information provided in this chart and the charts below reflect information gathered from GPB’s Form D filings.
  However, Defendants had precise information on the number of investors in each Fund at any particular point in time.

                                                         187
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 188 of 229




interests in Holdings II. On April 28, 2015, Holdings II filed a Form D with the SEC stating that

the $500 million would generate an estimated $55,000,000 in sales commissions. According to

the filing, the minimum investment accepted from outside investors was $50,000 and the brokerage

firm associated with the offering was Axiom Capital Management, Inc. Holdings II claimed a

federal securities registration exemption under SEC Rule 506.

       278.    According to an Amended Form D filed on May 19, 2016, Holdings II had sold

$76,017,028 of units to 899 investors with estimated sales commissions of $8,361,873. The

associated brokerage firm was listed as Axiom. All other Defendants were aware that 12(g)

requirements of full public compliance with Exchange Act filings were then incumbent upon GPB

as this was publicly acknowledged. Yet, they continued to assist and promote the Offerings.

       279.    According to a further Amended Form D filed on May 18, 2017, Holdings II sold

$364,072,884 of limited partnership interests to 3,505 investors with estimated sales commissions

of $42,778,564. According to the filing, the associated brokerage firms were Axiom Capital

Management, Inc. and Ascendant Alternative Strategies LLC. At this point, GPB was already in

violation of the 1934 Act, Section 12(g), but never registered the equity interests thereunder.

       280.    By the time Holdings II filed its final Amended Form D filed on May 16, 2018, the

following associated brokers had sold $645,813,889 of units to 6,095 investors with estimated

sales commissions of $47,914,143. The associated brokerage firms selling these units included:

Axiom Capital Management, Inc.; Ascendant Alternative Strategies, LLC; Accelerated Capital

Group; Advisory Group Equity Services Ltd.; Aegis Capital Corp.; Ausdal Financial Partners, Inc.;

Center Street Securities, Inc.; Arkadios Capital; Aeon Capital, Inc.; Avere Financial Group, LLC;

BCG Securities, Inc.; Financial West Group; Cabot Lodge Securities LLC; Calton & Associates,

Inc.; Lion Street Financial, LLC; Capital Investment Group, Inc.; IBN Financial Services, Inc.;



                                                188
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 189 of 229




Coastal Equities, Inc.; Crown Capital Securities, L.P.; Crystal Bay Securities Inc.; Emerson Equity

LLC; Geneos Wealth Management, Inc.; Pariter Securities, LLC; Sandlapper Securities, LLC;

Vestech Securities, Inc.; Stephen A. Kohn & Associates, Ltd.; Western International Securities,

Inc.; National Securities Corporation; Orchard Securities, LLC; International Assets Advisory,

LLC; Capital Financial Services, Inc.; Cascade Financial Management, Inc.; D.H. Hill Securities,

LLP; Detalus Securities, LLC; Hightower Securities, LLC; Innovation Partners LLC; Kingsbury

Capital, Inc.; Private Client Services, LLC; Royal Alliance Associates, Inc.; Vanderbilt Securities,

LLC; Westpark Capital, Inc.; United Planners’ Financial Services of America LP; David A. Noyes

& Company; Wilmington Capital Securities, LLC; Dempsey Lord Smith, LLC; DFPG

Investments, Inc.; Dinosaur Financial Group, LLC; FSC Securities Corporation; Great Point

Capital LLC; Landolt Securities, Inc.; Lowell & Company, Inc.; Investment Architects, Inc.;

McDonald Partners LLC; Moloney Securities Co., Inc.; MSC-BD, LLC; Kalos Capital, Inc.;

Newbridge Securities Corporation; Purshe Kaplan Sterling Investments, Inc.; Sagepoint Financial,

Inc.; Money Concepts Capital Corp; Silber Bennett Financial, Inc.; Uhlmann Price Securities,

LLC; Whitehall-Parker Securities, Inc.; and Woodbury Financial Services, Inc.

       281.    The various Holdings II Form D filings are summarized in the following chart:

                                             GPB Holdings II
                             Brokerage         Total        Min for       Total          #        First Date
                Date
                               Firms          Offering     Investors      Sold       Investors     of Sale
 Initial 4/28/2015        Axiom              $500 M        $50,000      N/A          N/A
 Amended 5/19/2016        Axiom              N/A           $50,000      $76 M        899          8/11/2015
                          Axiom and
 Amended 5/18/2017        Ascendant          N/A           $50,000      $364 M       3,505        8/11/2015
 Amended 5/16/2018        Many               N/A           $50,000      $646 M       6,095        8/11/2015




                                                189
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 190 of 229




                   5.      GPB Cold Storage, LP

           282.    In or about August of 2015, GPB Capital, Gentile and Schneider, through

    Ascendant and Axiom, began offering potential investors interests in GPB Cold Storage. On

    August 26, 2015, GPB Cold Storage filed its Initial Form D with the SEC regarding its offering of

    Cold Storage units. While the Initial Form D, which was filed 15 days after the first sale, declined

    to disclose the total amount of the offering, it disclosed that $8,565,580 had been sold to 26

    investors with estimated sales commissions of $5,857. According to the filing, the minimum

    investment accepted from outside investors was $100,000, and the associated brokerage firms were

    Mori Huston Partners LLC and Landolt Securities, Inc. GPB Cold Storage claimed a federal

    registration exemption under the Investment Company Act § 3I(1).

           283.    According to an Amended Form D filed on December 18, 2015, the following

    brokers sold $35,901,575 of GPB Cold Storage limited partnership interests to 268 investors with

    estimated sales commissions of $3,521,027. The associated brokerage firms selling these units

    included: Landolt Securities, Inc.; Axiom Capital Management, Inc.; Bradley Wealth

    Management; Cascade Financial Management, Inc.; Coastal Equities, Inc.; Dempsey Lord Smith,

    LLC; International Assets Advisory, LLC; IBN Financial Services, Inc.; Kingsbury Capital, Inc.;

    Moloney Securities Co., Inc.; Pariter Wealth Management Group LLC; and RP Capital LLC.

           284.    The various Cold Storage Form D filings are summarized in the following chart:

                                           GPB Cold Storage

                                                 Total        Min for      Total        #     First Date
                Date       Brokerage Firms
                                                Offering     Investors     Sold     Investors  of Sale
                          Mori Huston and                    $100,000
Initial     8/26/2015     Landolt              N/A                       $8.5 M     26          8/11/2015
Amended 12/18/2015 Many                        N/A           $100,000 $35 M         268         8/11/2015



                                                     190
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 191 of 229




              6.      GPB NYC Development, LP

       285.   In or about May of 2016, GPB, Gentile and Schneider, through Axiom and

Ascendant, began offering potential investors participation in a $40 million offering of limited

partnership units in GPB NYC Development. On May 12, 2016, GPB NYC Development filed a

Form D with the SEC projecting that $40 million offering would generate an estimated $4,700,000

in sales commissions. As of the filing of that Initial Form D, which was six days after the first

sale, $1,400,000 had been sold to three (3) investors. According to the filing, the minimum

investment accepted from outside investors was $50,000. The associated brokerage firms were

Axiom Capital Management, Inc.; Moloney Securities Co, Inc.; and Dempsey Lord Smith, LLC.

GPB NYC Development claimed a federal registration exemption under SEC 506(b).

       286.   GPB NYC Development filed an Amended Form D on May 18, 2017, reporting a

total amount of $41,547,150 of NYC Development units sold to 369 investors, with estimated sales

commissions of $4,881,790. The associated brokerage firms were Axiom Capital Management,

Inc. and Ascendant Alternative Strategies, LLC.

              7.      GPB Waste Management, LP

       287.   In or about August of 2016, GPB, Gentile and Schneider, through Axiom and

Ascendant, began offering potential investors interests in GPB Waste Management. On August

30, 2016, GPB Waste Management, LP filed its Initial Form D with the SEC reporting an offering

for an undisclosed amount, and a minimum investment requirement of $50,000 from outside

investors. The filing contained no estimate of sales commissions. According to the filing, the

associated brokerage firms were Axiom Capital Management, Inc.; BCG Securities, Inc.; Moloney

Securities Co., Inc.; Whitehall-Parker Securities, Inc.; and Dempsey Lord Smith, LLC. GPB

Waste Management claimed a federal registration exemption under SEC Rule 506(b).



                                              191
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 192 of 229




       288.    By the time GPB Waste Management filed its Amended Form D on August 30,

2017, the following brokers had sold a total of $76,295,381 units of Waste Management to 801

investors with estimated sales commissions of $6,186,733. The associated brokerage firms selling

these units included: Axiom Capital Management, Inc.; BCG Securities, Inc.; Moloney Securities

Co., Inc.; Whitehall-Parker Securities, Inc.; Dempsey Lord Smith, LLC; Ausdal Financial

Partners, Inc.; Center Street Securities, Inc.; Coastal Equities, Inc.; Concorde Investment Services,

LLC; Crystal Bay Securities, Inc.; Emerson Equity LLC; Financial West Group; Geneos Wealth

Management, Inc.; McNally Financial Services Corporation; Lion Street Financial, LLC; Kalos

Capital, LLC; IBN Financial Services, Inc.; IMS Securities, Inc.; Crown Capital Securities, LP;

Money Concepts Capital Corporation; National Securities Corporation; Orchard Securities, LLC;

Pariter Securities, LLC; Sandlapper Securities LLC; Vestech Securities, Inc.; Stephen A. Kohn &

Associates, Ltd.; Western International Securities, Inc.; Aegis Capital Corp.; Advisory Group

Equity Services Ltd.; and International Assets Advisory LLC.

       289.    As of an Amended Form D filed on April 25, 2018, the following brokers had sold

a total of $135,012,605 units of GPB Waste Management to 1,414 investors with estimated sales

commissions of $10,828,655. The associated brokerage firms selling these units included: Axiom

Capital Management, Inc.; BCG Securities, Inc.; Moloney Securities Co., Inc.; Whitehall-Parker

Securities, Inc.; Dempsey Lord Smith, LLC; Ausdal Financial Partners, Inc.; Center Street

Securities, Inc.; Coastal Equities, Inc.; Concorde Investment Services, LLC; Crystal Bay

Securities, Inc.; Emerson Equity LLC; Financial West Group; Geneos Wealth Management, Inc.;

McNally Financial Services Corporation; Lion Street Financial, LLC; Kalos Capital, Inc.; IBN

Financial Services, Inc.; IMS Securities, Inc.; Crown Capital Securities, L.P.; Money Concepts

Capital Corp.; National Securities Corporation; Orchard Securities, LLC; Pariter Securities, LLC;



                                                192
            Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 193 of 229




   Sandlapper Securities, LLC; Vestech Securities, Inc.; Stephen A. Kohn & Associates, Ltd.;

   Western International Securities, Inc.; Aegis Capital Corp.; Advisory Group Equity Services Ltd.;

   International Assets Advisory, LLC; Arkadios Capital; Ascendant Alternative Strategies, LLC;

   Cabot Lodge Securities LLC; GVC Capital LLC; Hightower Securities, LLC; Innovation Partners

   LLC; Kingsbury Capital, Inc.; Lucia Securities, LLC; Sentinus Securities LLC; Titan Securities;

   Vanderbilt Securities, LLC; and Westpark Capital, Inc.

            290.   The various Waste Management Form D filings are summarized in the following

   chart:

                                         GPB Waste Management
                                                                                                         First
                                                    Total          Min for       Total         #
               Date        Brokerage Firms                                                              Date of
                                                   Offering       Investors      Sold      Investors
                                                                                                         Sale
 Initial    8/30/2016      Axiom, BCG,               N/A           $50,000        N/A        N/A         N/A
                         Moloney, Whitehall,
                             Dempsey
Amended     8/30/2017          Many                  N/A           $50,000       $76 M        801      9/1/2016
Amended     4/25/2018          Many                  N/A           $50,000      $135 M       1,414     9/1/2016

                   8.     GPB Holdings III, LP

            291.   In or about January of 2018, GPB, Gentile and Schneider, through Axiom and

   Ascendant, began offering potential investors participation in a $1.5 billion offering of interests in

   Holdings III. On January 26, 2018, Holdings III LP filed its Initial Form D with the SEC disclosing

   an offering for an undisclosed amount and an estimated $193,369 in sales commissions. The

   minimum investment accepted from outside investors was $50,000. The Form D reported that

   Ascendant Alternative Strategies had sold $6,430,000 of Holdings III units to two (2) investors.

            292.   As of late 2018, GPB Capital, Gentile, Schneider and the other GPB Defendants

   and Broker Defendants had raised more than $1.8 billion from investors across the country for the

   GPB-sponsored and -managed Funds, through the Broker Defendants.



                                                    193
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 194 of 229




       293.    As more fully detailed herein, Defendants’ success in raising this considerable

amount of money rested upon their failure to disclose in the GPB Funds’ PPMs and other Offering

Materials, in violation of Texas and federal securities laws, material – indeed, crucial – information

regarding the Funds’ self-dealing and conflicted ownership interests, and that undisclosed control

persons of the GPB Defendants had a tainted background which was not properly disclosed.

       K.      GPB’s Scheme Begins to Unravel

       294.    As described above, in July 2017, GPB filed a Complaint against former senior

executive Dibre and filed an amended Complaint in February 2018.

       295.    As described above, in his March 2018 Answer and Counterclaim to the Amended

Complaint, Dibre asserted that GPB engaged in deceptive and illegal conduct, including, inter alia:

            a. Charging its investors, without adequate disclosure, almost 20% in upfront fees, yet

               promising an unachievable 8% annual return on their investment;

            b. Manipulating financial statements of dealerships in order to cover up transactions

               that personally benefitted GPB, Gentile, or Schneider at the expense of the

               dealerships;

            c. Failing to disclose kickbacks that GPB caused dealerships to pay Gentile and

               Schneider; and

            d. Recording the purchase price of dealerships at several million dollars more than the

               combined actual purchase price, closing expenses, and working capital investment,

               and then funneling such excess monies back to Gentile and Schneider, or entities

               in which they held as interest, as “acquisition fees.”

       296.    GPB’s two largest Funds, Holdings II and Automotive, were required to file

financial statements with the SEC pursuant to SEC Regulation 12g-1 because their assets exceeded

$10 million and they had more than 2,000 individual investors.
                                                 194
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 195 of 229




       297.   As of July 2018, GPB still had not filed the required financial statements for

Holdings II and Automotive, and thus was operating in direct violation of the Securities Exchange

Act.

       298.   GPB represented in July 2018 that it was working to finalize the required financials.

       299.   On or about August 17, 2018, GPB made several key announcements: First, GPB

said that it would be taking a break from raising new capital in order to fix the accounting and

financial statements for Holdings II and Automotive. Second, GPB announced that it would be

suspending investor redemptions from the Funds until the audited financial statements were

completed and filed with the SEC. And third, GPB disclosed that it would be restating the 2015

and 2016 financial statements of certain Funds as part of an accounting review.

       300.   In particular, in an August 17, 2018 letter to Holdings II investors, Gentile

announced that GPB had determined that previously issued financial statement for the years ended

December 31, 2015 and 2016 would need to be restated and the “independent accountants’ reports

thereon should no longer be relied upon.”

       301.   In the following month, September 2018, Massachusetts Secretary of the

Commonwealth William Galvin announced that Massachusetts regulators were investigating

sixty-three (63) independent broker-dealers who offered PPMs sponsored by GPB.

       302.   The Massachusetts Securities Division requested information from these broker-

dealers about the extent of sales activity, investor suitability, and disclosure and marketing

documents provided to investors.

       303.    On the heels of the Massachusetts investigation, in November 2018, GPB’s

auditor, Crowe, resigned, reportedly due to perceived risks that fell outside its internal risk

tolerance parameters.



                                              195
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 196 of 229




       304.    In particular, Crowe had been engaged to audit Prime, one of the portfolio

companies in which Holdings II had invested. In a November 9, 2018 letter to Holdings II

investors, Gentile reported that the audit of Prime was necessary for RSM to complete its own

2017 audit of Holdings II, however, Crowe had “elected to resign as auditor of Prime ... due to

perceived risks that fell outside their internal risk tolerance parameters.” Gentile reported that GPB

had engaged another audit firm, EisnerAmper, to replace Crowe.

       305.    Investment advisor newsletters and GPB’s own investor updates later touted GPB’s

relationship with EisnerAmper:

           a. “We continue to await the completion of the audits through 2018 which

               EisnerAmper is targeting for 9/30 completion. Once complete, the company will

               have more flexibility in terms of dividend payments, information dissemination to

               investors, corporate borrowings, and deal structuring.” Traphagen Financial Group,

               Q2 2019 Market Synopsis.

           b. “Audits and Fair Market Values: We remain focused on completing our audited

               financial statements and filing our Form 10s with the SEC. Additionally, we expect

               to release Fair Market Values (“FMVs”) for each Partnership and, for the first time,

               for each Limited Partner, in the next two weeks.” GPB Letter to Partners, dated

               October 29, 2019.

           c. “GPB Management has also shared further details of this event with you, and on

               October 30, stated it does not currently believe the developments related to Mr.

               Cohn will further delay the delivery of the audited financials beyond the December

               31, 2019 deadline.” Madison Avenue Securities, Letter to Investor, dated

               November 15, 2019.



                                                 196
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 197 of 229




       306.    Despite knowing that its continued association with the GPB Funds was being used

by GPB Capital, Ascendant, and the GPB Principals to convince Plaintiff and Class Members to

maintain their investments, EisnerAmper continued to serve as auditor of the GPB Funds.

       307.    On November 9, 2018, GPB Capital announced that Crowe, the auditor for certain

of the portfolio operating companies of one or more of the Funds and at least three of the Funds,

Automotive, Holdings, and Holdings Qualified, had also resigned due to “perceived risks that

Crowe determined fell outside of their internal risk tolerance parameters.” GPB attributed the delay

in completing the 2017 audit of Automotive Portfolio to this development.

       308.    In December 2018, InvestmentNews reported that FINRA and the SEC had also

launched investigations into the broker-dealers selling PPMs sponsored by GPB, and announced

that the SEC had started investigating GPB, including the accuracy of its disclosures to investors,

the performance of various funds, and the distribution of capital to investors.

       309.     On February 28, 2019, the FBI and officials from the New York City Business

Integrity Commission raided GPB’s New York office and the office of Five Star Carting, a major

private trash hauler that GPB owns.

       310.    In June 2019, GPB announced that the asset value of Holdings II and Automotive

had declined in value 25.4% and 39%, respectively, and its five other smaller funds had declined

in value between 25 and 73%. GPB thus admitted that its financial disclosure had been false and

misleading.

       311.    While the GPB investment value dropped tremendously, the broker-dealers who

sold such investments were collectively paid $167 million in fees and commissions.




                                                197
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 198 of 229




       312.    On June 21, 2019, GPB disclosed to Holdings II investors that RSM, the

independent auditor of the Holdings’ II financials, had been replaced effective April 22, 2019 (i.e.,

two months earlier).

       313.    On July 19, 2019, one of GPB’s business partners, Rosenberg filed his lawsuit

against GPB in Massachusetts State Court.

       314.    Rosenberg, who was the CEO of Prime, one of GPB’s investments, alleged that

GPB tried to oust him after he provided GPB’s auditors with information and documents showing

that GPB had engaged in serious financial misconduct. Rosenberg later provided the same

information to the SEC.

       315.    As of the date of this filing, GPB and the GPB Individual Defendants have

suspended redemptions from the following Funds and have failed to provide updated financial

information regarding these Funds:

                      GPB Holdings

                      GPB Automotive Portfolio

                      GPB Holdings II

                      GPB Holdings III

                      GPB Holdings Qualified

                      GPB Cold Storage

                      GPB NYC Development

                      GPB Waste Management




                                                198
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 199 of 229




       L.      Defendants Made Numerous Materially False and Misleading Statements and
               Omissions

       316.    Throughout the Class Period, the GPB Defendants, Schneider, Gentile, and Martino

prepared, issued, and, with the assistance of the Broker Defendants, distributed PPMs and other

Offering Materials to Plaintiffs and Class members.

       317.    These materials were false and misleading for at least the following reasons and as

further outlined herein:

            a. The GPB Defendants, Gentile, Schneider, and Martino misrepresented the Funds’

               business objectives and did not disclose that they were destined to fail. First, they

               misrepresented the nature of the projected return. It was not feasible that the Funds

               would pay out an 8% current cash return to investors within three months of

               investment, as the Funds were incurring upfront costs approaching 20%. Second,

               operating returns from underlying portfolio companies could not reasonably be

               expected in such a short period of time;

            b. The GPB Defendants, Gentile, and Schneider misrepresented or omitted to disclose

               their incurable non-waivable conflicts and breaches of fiduciary duty: Schneider’s

               involvement in GPB and the Funds as a control person, Schneider’s ownership

               interest in the profits of GPB, Gentile’s ownership interest in Ascendant, and

               Schneider and Gentile’s agreement to run GPB and Ascendant jointly and split the

               proceeds without disclosure of this profit sharing and control relationship;

            c. GPB and the Funds omitted to disclose that Schneider and Ascendant were control

               persons of the GPB Corporate Defendants and that Schneider and Martino each had

               a tainted background, which Defendants improperly failed to disclose in their Form

               D;


                                               199
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 200 of 229




   d. GPB and the Funds represented that they were entitled to an exemption from

      registration under the 1934 Act when they were not so entitled because they had

      sold securities in offerings to more than 2,000 investors who had invested more

      than $10 million in assets. In addition, GPB and the Funds were required to register

      under the 1933 Act, as they had not complied with Regulation D and therefore its

      exemption from registration was inapplicable;

   e. GPB and the Funds misrepresented the GPB Defendants’ skill and expertise in

      managing businesses they were to acquire with investor money by not disclosing

      that the Funds’ results were being obtained through other wrongful conduct, as

      alleged herein, and they failed to disclose their prior poor financial results, which

      were less than 8% annualized and thus only a small portion of what they were

      telling investors they would receive from the new GPB Funds;

   f. GPB and the Funds omitted to disclose that GPB, the Funds, Ascendant and

      Schneider had engaged in or were aware of serious financial misconduct, including,

      without limitation, large conflicted transactions, and misuse and misrepresentation

      of investor money;

   g. GPB and the Funds omitted to disclose that the 2015 and 2016 financial statements

      for the GPB Defendants’ two largest Funds, Automotive and Holdings II, as well

      as other communications to investors concerning these and other Funds, contained

      highly material financial misrepresentations and/or omissions and should not have

      been relied upon by investors; and

   h. GPB and the Funds knowingly overstated the value of fund assets knowing

      investors would rely thereon. Most of the GPB investments were in preferred stock



                                      200
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 201 of 229




               and GPB refused to mark down such positions from cost, even when mark-downs

               were necessary. The Individual Defendants engaged in undisclosed conversion of

               assets belonging to the Funds and did not disclose such breaches of fiduciary duty.

       318.    In addition to the above, the Broker Defendants, the Auditor Defendants, the Fund

Administrator, and the Valuation Defendants provided substantial assistance to the other

Defendants in the commission of these wrongs. These Defendants provided material assistance in

the wrongdoing alleged herein by knowingly disseminating documents containing material

misrepresentations or failing to disclose material information to investors. This included

misrepresenting or not disclosing the information regarding the true value of Class members’

investments, the need for registration under the Securities Exchange Act and Securities Act, and

the failure to comply with Regulation D.

       319.    Such misrepresentations and omissions were material, indeed crucial, to Plaintiffs

and the other GPB investors’ evaluation of the GPB Funds, and their decision to invest in them.

       320.    Defendants knew that the prospective GPB investors, including Plaintiffs, would

rely to their detriment upon such misrepresentations and omissions in the Offering Materials, and

indeed intended for such investors and Plaintiffs to rely on those misrepresentations and omissions

in order to invest in the Funds.

       321.    Plaintiffs and the other investors were reasonable in relying upon the

misrepresentations and omissions in the Offering Materials.

       M.      M.      GPB Forms Highline Management, Inc.

       322.    June 30, 2020, GPB Capital (the general partner in each of the GPB Funds) filed an

updated Form ADV with the SEC disclosing that GPB Capital had transferred managerial control

of the GPB Funds, and their underlying portfolio companies, to a newly-formed entity, Highline

Management, Inc. (“Highline”).
                                               201
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 202 of 229




       323.    Specifically, Schedule D to that ADV provides as follows: “Regarding Item 7,

Highline Management, Inc. (“Highline”) was formed in January 2020 to assume the day to day

duties and responsibilities of GPB with respect to the management of the business affairs,

operations and financial reporting of the various limited partnerships sponsored by GPB as well

as the Portfolio Companies.”

       324.    This transfer of control gives Highline controlling influence over the management

and policies of GPB Capital and the GPB Funds.

       325.    This transfer of control was made without the consent of the limited partners in the

GPB Funds.

       326.    GPB Capital’s transfer of control to Highline without the limited partners’ consent

breached the advisory contracts entered into between GPB Capital and the limited partners in the

GPB Funds.

       327.    GPB Capital’s transfer of control to Highline without the limited partners’ consent

violated the Investment Advisors Act of 1940.

       328.    The limited partners are entitled to rescind their advisory contracts with GPB

Capital, and to receive restitution of the consideration provided for those advisory contracts.

                               CLASS ACTION ALLEGATIONS

       329.    Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23(a) and

(b)(2) and/or (b)(3) on behalf of themselves and a nationwide class consisting of:

               All investors who purchased or otherwise acquired limited partnership
               interests in one or more of the GPB Funds between June 6, 2013 and the
               present (the “Class Period”), and have been damaged by the conduct alleged
               herein (the “Class”). No plaintiff or class member is suing or asserting
               claims against the Broker who directly sold to them the limited partnership
               interests which they purchased.




                                                202
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 203 of 229




        330.   The Class excludes Defendants and any entity in which any Defendant has a

controlling interest, and their officers, directors, legal representatives, successors, and assigns. All

members of their immediate families are also excluded from the Class.

        331.   The Class is so numerous that joinder of all members is impracticable. The Class

includes thousands of investors that purchased or otherwise acquired interests in the GPB Funds

nationwide.

        332.   Plaintiffs’ claims are typical of the claims of the Class insofar as Plaintiffs similarly

purchased or acquired an interest in the GPB Funds and were harmed by the same wrongful

activity.

        333.   Plaintiffs will fairly and adequately protect the interests of the Class and do not

have any claims that are antagonistic to those of the Class. Plaintiffs have retained counsel

experienced in complex nationwide class actions, including securities litigation. Plaintiffs’ counsel

will fairly, adequately, and vigorously protect the interests of the Class.

        334.   Common questions of law and fact predominate over any questions affecting

individual Class members, including, but not limited to, the following:

            a. Whether the Offering Materials contained material misrepresentations and/or

               omissions of material fact;

            b. Whether GPB violated the Texas Securities Act;

            c. Whether the Broker Defendants and Fund Administrators and Auditors aided and

               abetted or substantially assisted violations of the Texas Securities Act and GPB’s

               breach of fiduciary duty;

            d. Whether the sale of the limited partnership interests was required to be registered

               under the 1933 Act and the Texas Securities Act;



                                                 203
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 204 of 229




           e. Whether GPB and its affiliates breached their fiduciary duties to Plaintiffs and the

                Class;

           f. Whether CKGF, DJ Partners, MR Ranger, the CKGF Defendants were “control

                persons” with regard to the violations of the Texas Securities Act; and

           g. Whether Plaintiffs and the Class members were damaged as a result of Defendants’

                conduct.

       335.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. There will be no difficulty in the management of this action as a

class action.

  EQUITABLE TOLLING, FRAUDULENT CONCEALMENT, AND DISCOVERY OF
                        THE WRONGDOING

       336.     As a result of Defendants’ conduct, Plaintiffs and the Class Members were not

aware of Defendants’ misconduct, including the Material Misrepresentations and Omissions, and

were prevented from learning of the facts necessary to commence an action against Defendants for

the wrongful conduct alleged in this Complaint until litigation involving the GPB Funds revealed

the extent of Defendants’ wrongdoing. The facts necessary for Plaintiffs to formulate the basis of

a complaint and satisfy applicable pleading standards were within the exclusive control of

Defendants, as well as the individuals and entities that aided and abetted and substantially assisted

Defendants.

       337.     Ascendant Capital and the other GPB Defendants expressly concealed the truth

about the Material Misrepresentations and Omissions from Plaintiffs and other Class members and

at Ascendant Capital’s instruction, through, inter alia, the DD Reports, the Broker Defendants

concealed that information as well.




                                                204
        Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 205 of 229




        338.   Plaintiffs and the members of the Class have acted diligently in seeking to bring

their claims promptly. Because of Defendants’ active steps – including, but not limited to, failing

to disclose various conflicts of interest, failing to disclose until recently that GPB was making

investor distributions using investor capital rather than profits from capital, and providing investors

monthly account statements that did not reveal the accurate value of their investment – Plaintiffs

assert that the applicable statute of limitations for Plaintiffs’ claims were tolled, and that

Defendants are equitably estopped from asserting any statutes of limitations defense.

        339.   Defendants are equitably estopped from asserting that any otherwise applicable

period of limitations has run.

        340.   As a result of Defendants’ breaches of fiduciary duties and other wrongdoing, and

concealment of the same (as described herein), Plaintiffs and the Class members were prevented

from discovering their claims against Defendant until recently.

        341.   In addition to the above, on account of the COVID-19 pandemic, the Supreme

Court of the State of Texas extended and tolled any deadline for the filing or service of any civil

case from at least March 13, 2020, until June 1, 2020, unless extended by the Chief Justice of the

Supreme Court. The Supreme Court of Texas further ordered that any deadline for the filing or

service of any civil case that falls on a day between March 13, 2020, and June 1, 2020, is extended

until July 15, 2020. Further, the Chief Judge of the United States District Court for the Western

District of Texas ordered that all deadlines are suspended and tolled for all purposes, including the

statutes of limitations, from April 15, 2020 through June 30, 2020 on account of the COVID-19

pandemic.

        342.   Accordingly, the discovery rule also applies to toll the statute of limitations in this

case.



                                                 205
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 206 of 229




           343.     The applicable statutes of limitations have been tolled by both federal and state

courts during the COVID-19 pandemic.

                                              CAUSES OF ACTION

                                          COUNT I
                            Violation of the Texas Securities Act,
                            Tex. Rev. Civ. Stat. Ann. art. 581-33
     (Against GPB, the GPB Funds,9 Ascendant Capital, Ascendant Strategies10, and Axiom)

           344.     Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

           345.     Section 33(A)(2) of the TSA provides:

                    A person who offers or sells a security (whether or not the security or
                    transaction is exempt under Section 5 or 6 of this Act) by means of an untrue
                    statement of a material fact or an omission to state a material fact necessary
                    in order to make the statements made, in light of the circumstances under
                    which they are made, not misleading, is liable to the person buying the
                    security from him, who may sue either at law or in equity for rescission, or
                    for damages if the buyer no longer owns the security.

           346.     Section 4(A) defines “security” to include “any limited partner interest in a limited

partnership.”

           347.     GPB, Ascendant Capital, Ascendant Strategies, Axiom, and the GPB Funds offered

the limited partnership interests in the GPB Funds that Plaintiffs and the Class members purchased.

           348.     In connection with offering the limited partnership interests, GPB, Ascendant

Capital and the GPB Funds made material untrue statements of material fact to investors, including

Plaintiffs and the Class, and omitted material facts, as described herein.




9
 The Complaint filed by the Kinnie Ma Plaintiffs does not assert claims against GPB Managed IT Fund (n/k/a Austin
Lake Technologies).
10
     The Complaint filed by the Kinnie Ma Plaintiffs does not assert this claim against Ascendant Strategies or Axiom.

                                                          206
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 207 of 229




          349.   Accordingly, Plaintiffs and the Class members are entitled to rescission or damages

in an amount to be proven at trial.

                                         COUNT II
                 Aiding and Abetting Violations of the Texas Securities Act,
                            Tex. Rev. Civ. Stat. Ann. art. 581-33
     (Against the Broker Defendants,11 GPB Defendants (Other Than the Funds), GPB
  Affiliated Defendants, Gentile, Schneider, Martino, Phoenix, the Auditor Defendants, the
            Valuation Defendants, the CKGF Defendants,12 and Gentile Pismeny)

          350.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          351.   Section 33(F)(2) of the TSA states:

                 A person who directly or indirectly with intent to deceive or defraud or with
                 reckless disregard for the truth or the law materially aids a seller, buyer, or
                 issuer of a security is liable under Section 33A, 33B, or 33C jointly and
                 severally with the seller, buyer, or issuer, and to the same extent as if he
                 were the seller, buyer, or issuer.

          352.   As set forth above, GPB, Ascendant Capital and the GPB Funds violated TSA

Section 33A by making material misstatements and omitting material facts in offering the limited

partnership interests.

          353.   As pled herein, each of the Defendants against whom this count is asserted, with

knowledge of the untruth of the false representations made by GPB, Ascendant Capital and the

GPB Funds or their violation of the law, and with actual knowledge of the nature of the fraud as

described herein, materially aided GPB, Ascendant Capital and the Funds in the sale of the subject

securities.




11
  Claims against the Broker Defendants are asserted in the Complaint filed by the Kinnie Ma Plaintiffs only. These
claims are not asserted against the Broker Defendants in the Complaint filed by the Barasch Plaintiffs.
12
  Claims against the CKGF Defendants are asserted in the Complaint filed by the Barasch Plaintiffs only. The
Complaint filed by the Kinnie Ma Plaintiffs does not assert claims against the CKGF Defendants.


                                                      207
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 208 of 229




          354.   Accordingly, the Defendants against whom this count is asserted are jointly and

severally liable with GPB, Ascendant Capital and the GPB Funds, and Plaintiffs and the Class

members are entitled to rescission or damages in an amount to be proven at trial.

                                       COUNT III
                   Control Person Violations of the Texas Securities Act,
                           Tex. Rev. Civ. Stat. Ann. art. 581-33
(Against Gentile, Schneider, Martino, Managing Partners and Directors13, MR Ranger, DJ
  Partners, Ascendant Capital, Ascendant Strategies, the CKGF Defendants, and GPB)

          355.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          356.   Section 33(A)(2) provides:

                 A person who offers or sells a security (whether or not the security or
                 transaction is exempt under Section 5 or 6 of this Act) by means of an untrue
                 statement of a material fact or an omission to state a material fact necessary
                 in order to make the statements made, in light of the circumstances under
                 which they are made, not misleading, is liable to the person buying the
                 security from him, who may sue either at law or in equity for rescission, or
                 for damages if the buyer no longer owns the security.

          357.   Section 4(A) defines “security” to include “any limited partner interest in a limited

partnership.”

          358.   Section 33(F)(1) states:

                 A person who directly or indirectly controls a seller, buyer, or issuer of a
                 security is liable under Section 33A, 33B, or 33C jointly and severally with
                 the seller, buyer, or issuer, and to the same extent as if he were the seller,
                 buyer, or issuer, unless the controlling person sustains the burden of proof
                 that he did not know, and in the exercise of reasonable care could not have
                 known, of the existence of facts by reason of which the liability is alleged
                 to exist.




13
  The Complaint filed by the Kinnie Ma Plaintiffs does not assert this claim against the Managing Partners and
Directors, or against the CKGF Defendants.


                                                    208
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 209 of 229




          359.   Gentile, Schneider, Martino, the Managing Partners and Directors, MR Ranger, DJ

Partners, Ascendant Capital, Ascendant Strategies, the CKGF Defendants, and GPB are “control

persons” in that they had actual power or influence over the Funds and induced or controlled GPB

and the Funds’ limited partnership offerings, as well as the materials disseminated in connection

with the offerings.

          360.   As set forth above, Gentile, Schneider, Martino, the Managing Partners and

Directors, MR Ranger, DJ Partners, Ascendant Capital, Ascendant Strategies and GPB violated

TSA Section 33F by controlling the Funds, which violated Section 33A of the TSA by making

material misstatements and omitting material facts in offering the limited partnership interests.

          361.   CKGF indirectly controls GPB Capital and the GPB Funds, as the principals of

CKGF and GPB Capital overlap insofar as David Gentile is a key member of both entities.

          362.   Accordingly, the Defendants against whom this count is asserted are jointly and

severally liable with the Funds, and Plaintiffs and the Class members are entitled to rescission or

damages in an amount to be proven at trial.

                                        COUNT IV
                          Violations of the Texas Securities Act,
                   Tex. Rev. Civ. Stat. Ann. art. 581-7 and 581-33(A)(1)
     (Against GPB, Ascendant Capital, Ascendant Strategies, Axiom,14 and the Funds)15

          363.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.




14
  This claim was asserted against Ascendant Strategies and Axiom in the Complaint filed by the Barasch Plaintiffs
only. The Complaint filed by the Kinnie Ma Plaintiffs does not assert this claim against Ascendant Strategies or
Axiom.
15
  The Complaint filed by the Kinnie Ma Plaintiffs does not assert claims against GPB Managed IT Fund (n/k/a Austin
Lake Technologies).


                                                      209
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 210 of 229




       364.     TSA Section 33(A)(1) provides that “[a] person who offers or sells a security in

violation of Section 7 . . . of this Act is liable to the person buying the security from him, who may

sue either at law or in equity for rescission or for damages if the buyer no longer owns the security.”

       365.     TSA Section 7(A) provides “No dealer or agent shall sell or offer for sale any

securities . . . except those which have been registered . . . and except those which come within the

classes enumerated in Section 5 [(Exempt Transactions)] or Section 6[(Exempt Securities)] of this

Act, until the issuer of such securities or a dealer registered under the provisions of this Act shall

have been granted a permit by the Commissioner . . . .”

       366.     The transactions and securities described herein do not qualify as exempt under

TSA Sections 5 or 6. Thus, as described herein, Defendants were required to register the securities

that they sold and offered for sale to Plaintiffs and the members of the Class, and their failure to

do so violated Section 7 of the TSA.

       367.     As discussed above, the sale of the securities was not exempt from registration

under TSA Section 7, as it was not exempt under the Securities Act of 1933. The National Secs.

Markets Improvement Act (“NSMIA”) does not apply to such securities as they were not exempt

from registration under Regulation D.

       368.     GPB, Ascendant Capital, and the Funds failed to the register the limited partnership

interests which were sold and offered for sale to Plaintiffs and the members of the Class.

       369.     Accordingly, Plaintiffs and the Class members seek to rescind their purchase of the

securities described herein, or, in the alternative, seek to recover the damages allowed pursuant to

TSA Section 33(D).

                                            COUNT V
                   Aiding and Abetting Violations of the Texas Securities Act,
              Tex. Rev. Civ. Stat. Ann. art. 581-7 and 581-33(A)(1) and 581-33F(2)



                                                 210
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 211 of 229




 (Against Broker Defendants,16 GPB Defendants (Other Than the Funds), GPB Affiliated
 Defendants, Gentile, Schneider, Martino, MR Ranger, DJ Partners, Fund Administrator,
        the Auditor Defendants, the Valuation Defendants, and Gentile Pismeny)

          370.    Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          371.    As shown, the transactions and securities described herein do not qualify as exempt

under TSA Sections 5 and 6. Thus, pursuant to Section 7 of the TSA, GPB and the Funds were

required to register the securities that they sold to Plaintiffs and the Class members.

          372.    Further, as discussed above, the sale of the securities was not exempt from

registration under TSA Section 7, as it was not exempt under the Securities Act of 1933.

          373.    GPB and the Funds failed to the register the limited partnership interests that they

sold and offered for sale to Plaintiffs and the Class members and, as set forth above, are, therefore,

liable under TSA Section 33A(1).

          374.    The Defendants against whom this claim is asserted knew that GPB improperly

failed to register the sale of the limited partnership interests when they knew such registration was

required and nevertheless materially aided the Funds in the sale of the subject securities.

          375.    Each of The Broker Defendants, GPB, GPB Affiliated Defendants, Gentile,

Schneider, Martino, MR Ranger, DJ Partners, Fund Administrator, the Auditor Defendants, the

Valuation Defendants, Gentile Pismeny, and Ascendant Capital violated TSA Section 33F(2)

having directly or indirectly with intent to deceive or defraud or with reckless disregard for the

truth or the law materially aided a seller, buyer, or issuer of GPB limited partnership interest.




16
  Claims against the Broker Defendants are asserted in the Complaint filed by the Kinnie Ma Plaintiffs only. These
claims are not asserted in the Complaint filed by the Barasch Plaintiffs. The Complaint filed by the Barasch Plaintiffs
asserted this claim against the Auditor Defendants (including EisnerAmper) and the Fund Administrator only.


                                                         211
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 212 of 229




          376.   Accordingly, Plaintiffs and the Class members seek to rescind their purchase of the

securities described herein, or, in the alternative, seek to recover the damages allowed pursuant to

TSA Section 33(D), for which the Defendants against whom this count is asserted are jointly and

severally liable.

                                           COUNT VI
                     Control Person Violations of the Texas Securities Act,
              Tex. Rev. Civ. Stat. Ann. art. 581-7 and 581-33(A)(1) and 581-33F(1)
      (Against Gentile, Schneider, Martino, Managing Partners and Directors,17 the CKGF
     Defendants, MR Ranger, DJ Partners, Ascendant Capital and Ascendant Strategies, and
                                               GPB)

          377.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          378.   As discussed above, the sale of the securities was not exempt from registration

under TSA Section 7, as it was not exempt under the Securities Act of 1933.

          379.   The transactions and securities described herein do not qualify as exempt under

TSA Sections 5 or 6. Thus, GPB and the Funds were required to register the securities that they

sold, as described herein.

          380.   GPB and the Funds failed to the register the limited partnership interests that it sold

and offered for sale to Plaintiffs and the Class members and, as set forth above, are liable under

TSA Section 33A(1).

          381.   Gentile, Schneider, Martino, the Managing Partners and Directors, the CKGF

Defendants, MR Ranger, DJ Partners, Ascendant Capital, Ascendant Strategies and GPB are

“control persons” to the extent that they had actual power or influence over the Funds and/or GPB

and induced or controlled the Funds’ limited partnership offerings complained of herein.


17
   This claim is not asserted against the Managing Partners and Directors or the CKGF Defendants in the Complaint
filed by the Kinnie Ma Plaintiffs. This claim is not asserted against MR Rangers, DJ Partners, or Ascendant in the
Complaint filed by the Barasch Plaintiffs.

                                                      212
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 213 of 229




          382.   As set forth above, Gentile, Schneider, Martino, MR Ranger, DJ Partners, the

Managing Partners and Directors, the CKGF Defendants, Ascendant Capital, Ascendant Strategies

and GPB violated TSA Section 33F by directly or indirectly controlling the Funds and/or GPB,

which violated TSA Section 33A(1) by failing to register the limited partnership interests that they

sold and offered for sale to Plaintiffs and the Class members.

          383.   Accordingly, Plaintiffs and the Class members seek to rescind their purchase of the

securities described herein, or, in the alternative, seek to recover the damages allowed pursuant to

TSA Section 33(D), for which the Defendants against whom this count is asserted are jointly and

severally liable.


                                       COUNT VII
                                          Fraud
                             18
     (Against GPB Defendants, GPB Affiliated Defendants, Gentile, Schneider, Martino,
               Ascendant, Axiom, and the Managing Partners and Directors19)

          384.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          385.   The GPB Defendants, GPB Affiliated Defendants, Gentile, Schneider, Martino,

Ascendant, Axiom, and the Managing Partners and Directors knowingly made materially false

representations and omissions regarding the limited partnership interests that Plaintiffs and Class

members purchased, as alleged herein.

          386.   The GPB Defendants, GPB Affiliated Defendants, Gentile, Schneider, and Martino

knew these representations and omissions were false or misleading when made.




18
  The Complaint filed by the Kinnie Ma Plaintiffs does not assert claims against GPB Managed IT Fund (n/k/a Austin
Lake Technologies).
19
  This claim is not asserted against the Managing Partners and Directors in the Complaint filed by the Kinnie Ma
Plaintiffs.

                                                      213
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 214 of 229




          387.     The GPB Defendants, GPB Affiliated Defendants, Ascendant, Axiom, Gentile,

Schneider, Martino, and the Managing Partners and Directorsmade the false representations and

omitted material facts intending to induce Plaintiffs and the Class members to rely on the

representations and purchase the limited partnership interests.

          388.     Plaintiffs and the Class members justifiably relied on The GPB Defendants, GPB

Affiliated Defendants, Ascendant, Axiom, Gentile, Schneider, Martino, and the Managing Partners

and Directors’ false representations and non-disclosures and, as a result, were injured insofar as

their limited partnership interests have declined in value materially.

          389.     Accordingly, Plaintiffs and the Class members seek damages in an amount to be

proven at trial.

                                          COUNT VIII
                       Substantially Assisting in the Commission of Fraud
     (Against the GPB Defendants (Other Than the Funds), GPB Affiliated Defendants, Fund
       Administrator Phoenix, the Auditor Defendants, the Valuation Defendants, Gentile
                 Pismeny, Broker Defendants,20 Gentile, Schneider, and Martino)

          390.     Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          391.     As set forth above, the GPB Defendants (other than the Funds) committed fraud by

knowingly making material misrepresentations and omissions regarding the limited partnership

interests.




20
  Claims against the Broker Defendants are asserted in the Complaint filed by the Kinnie Ma Plaintiffs only. These
claims are not asserted in the Complaint filed by the Barasch Plaintiffs. The Complaint filed by the Barasch Plaintiffs
asserted these claims against the Auditor Defendants (including EisnerAmper) and the Fund Administrator only.



                                                         214
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 215 of 229




           392.      For the reasons discussed herein, the GPB Defendants, GPB Affiliated Defendants,

the Fund Administrator, the Auditor Defendants, the Valuation Defendants, Gentile Pismeny,

Broker Defendants, and Gentile, Schneider, and Martino knew that GPB engaged in the fraud.

           393.      As described herein, the Defendants named in this Count substantially assisted

GPB, the Funds, and Ascendant Capital in committing fraud by, inter alia, facilitating the sale of,

and offering for sale, the limited partnership interests, through the use of false and misleading

Offering Materials in part prepared by them (as well as other false and misleading documents) in

violation of Texas law.

           394.      Accordingly, Plaintiffs and the Class members are entitled to damages in an amount

to be proven at trial.

                                       COUNT IX
                          Fraudulent Transfer Under TUFTA
 (Against the Broker Defendants,21 Ascendant Capital, Ascendant Strategies and Axiom)22

           395.      Plaintiffs reallege and incorporate by reference the allegations set forth in the

preceding paragraphs, as if fully set forth herein.

           396.      This is an action for equitable and other relief pursuant to the Texas Uniform

Fraudulent Transfer Act (“TUFTA”) (Texas Business and Commerce Code, § 24.005(a), et. seq.).

           397.      Under TUFTA, a transfer made with actual or constructive intent to defraud any

creditor, including the Class as defined herein, may be avoided to the extent necessary to satisfy a

creditor’s claims. The relevant statute states:

           (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
               … if the debtor made the transfer or incurred the obligation:



21
  Claims against the Broker Defendants are asserted in the Complaint filed by the Kinnie Ma Plaintiffs only. These
claims are not asserted in the Complaint filed by the Barasch Plaintiffs.
22
     This Count is not asserted in the Complaint filed by the Barasch Plaintiffs.


                                                            215
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 216 of 229




                 (1) With actual intent to hinder, delay, or defraud any creditor of the
                 debtor; or
                 (2) Without receiving a reasonable equivalent value in exchange for the
                 transfer or obligation, and the debtor:
                       a. Was engaged or was about to engage in a business or a transaction
                       for which the remaining assets of the debtor were unreasonably
                       small in relation to the business or transactions; or
                       b. Intended to incur, or believed or reasonably should have believed
                       that the debtor would incur, debts beyond the debtor’s ability to pay
                       as they became due.”

       398.    In determining actual intent under TUFTA, courts look to a list of eleven non-

exclusive indicia fraudulent intent. However, when a Ponzi scheme, such as that at issue in this

case is involved, courts applying TUFTA have bypassed the statutory badges of fraud analysis in

favor of a binding and conclusive presumption that any transfer in furtherance of the Ponzi scheme,

or in connection with the Ponzi scheme, was made with actual intent to defraud as defined in

TUFTA. Such transfers are fraudulent per se because they are based on the enterprise or corporate

entities’ illegality or insolvency, which is also presumed under TUFTA. Both Texas courts and

the Fifth Circuit have adopted these presumptions with respect to the intent to defraud in

connection with a Ponzi scheme. Here, as described, the GPB Defendants, with the substantial

assistance of the remaining GPB Defendants, engaged in a Ponzi scheme in violation of the TSA

involving the issuance of Offering Materials containing material omissions and material

misstatements and the failure to register such Offering Materials under the Securities Act of 1933

and under the TSA.

       399.    As shown, the Broker Defendants, Ascendant Capital, Ascendant Strategies, and

Axiom had actual knowledge of the misrepresentations and omissions described herein and the

illegality of the Offerings which were improperly registered. Plaintiffs have pled that the Broker

Defendants, Ascendant Capital, Ascendant Strategies, and Axiom had actual knowledge of the

GPB entities being involved in a Ponzi scheme and the TSA violations outlined herein.

                                               216
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 217 of 229




Throughout the Class Period, GPB and the Funds transferred to each of these Defendants monies

and other considerations in the form of commissions and other compensation (described herein)

ostensibly in payment for brokerage and related services rendered by such Broker Defendants,

Ascendant Capital, Ascendant Strategies, and Axiom to GPB and the Funds in connection with

the Offerings described herein.

       400.    Throughout the Class Period, the Broker Defendants received more than $150

million of fraudulently transferred compensation in connection with their purported sales efforts

on behalf of GPB and the Funds. During the same period, Ascendant Capital, Ascendant Strategies

and Axiom received tens of millions of dollars of additional fraudulently transferred compensation

in connection with such sales efforts.

       401.    Each such transfer to each such Defendant was made without adequate

consideration being paid or offered on the part of such Defendant.            None of such Broker

Defendants, Ascendant Capital, Ascendant Strategies or Axiom rendered reasonably equivalent

value in exchange for the transfer of such brokerage commissions to them. This is so because

under established Texas and Fifth Circuit law, the term “value” as used in TUFTA is viewed from

an objective standpoint and is only deemed to be “value” if it actually results in value to the debtor.

Case law makes clear that brokerage services which further a Ponzi scheme do not have value as

defined under TUFTA. Instead, they increase the size of the Ponzi scheme and provide no benefit

to the corporate issuer or its creditors. Broker sales efforts pursuant to established case law do not

provide any value to the Ponzi scheme entity at issue, but only exacerbate the harm to the creditors

under applicable law. Moreover, as described herein, such commissions were excessive and at

least double the industry standard.




                                                 217
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 218 of 229




           402.      Here, the Broker Defendants’, Ascendant Capital’s, Ascendant Strategies’ and

Axiom’s transactions at issue, and the transfer of more than $150 million to the Broker Defendants,

and tens of millions of dollars more to Ascendant Capital, Ascendant Strategies and Axiom,

rendered the relevant GPB entity insolvent, or left it with a reasonably small capital in relation to

the size of its business or purported transactions, and with debts beyond the relevant GPB entities’

ability to pay as they became due.

           403.      The transfers of the creditors’ assets to the Broker Defendants, Ascendant Capital,

Ascendant Strategies and Axiom were made with actual intent to hinder, delay or defraud creditors,

and these constituted fraudulent transfers in violation of TUFTA. GPB and the Funds, with respect

to each such transfer, did not receive reasonably equivalent value, or any value, for any of the

transfers made herein, and did incur, and intended to incur, or believed, or reasonably should have

believed, that post these transfers, it would incur debts beyond its ability to pay as they became

due, and thus the transfers were and are fraudulent in violation of TUFTA. The Class is entitled

to relief under TUFTA, including legal fees and costs for bringing this action.

                                                 COUNT X
                                      Fraudulent Transfer and TUFTA
                                   (Against Fund Administrator Phoenix)23

           404.      Plaintiff realleges and incorporates by reference the allegations set forth in the

proceeding paragraphs as if fully set forth herein.

           405.      This is an action for equitable and other relief pursuant to the Texas Uniform

Fraudulent Transfer Act (“TUFTA”).




23
     This Count is not asserted in the Complaint filed by the Barasch Plaintiffs.


                                                            218
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 219 of 229




       406.    Under TUFTA, a transfer made with actual or constructive intent to defraud any

creditor, including the Class as defined herein, may be avoided to the extent necessary to satisfy a

creditor’s claims. The relevant statute states:

       (a) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor
           … if the debtor made the transfer or incurred the obligation:
                 (1) With actual intent to hinder, delay, or defraud any creditor of the
                 debtor; or
                 (2) Without receiving a reasonable equivalent value in exchange for the
                 transfer or obligation, and the debtor:
                       a. Was engaged or was about to engage in a business or a transaction
                       for which the remaining assets of the debtor were unreasonably
                       small in relation to the business or transactions; or
                       b. Intended to incur, or believed or reasonably should have believed
                       that the debtor would incur, debts beyond the debtor’s ability to pay
                       as they became due.”

       407.    In determining actual intent under TUFTA, courts look to a list of eleven non-

exclusive indicia fraudulent intent. However, when a Ponzi scheme, such as that at issue in this

case is involved, courts applying TUFTA have bypassed the statutory badges of fraud analysis in

favor of a binding and conclusive presumption that any transfer in furtherance of the Ponzi scheme,

or in connection with the Ponzi scheme, was made with actual intent to defraud as defined in

TUFTA. Such transfers are fraudulent per se because they are based on the enterprise or corporate

entities’ illegality or insolvency, which is also presumed under TUFTA. Both Texas courts and

the Fifth Circuit have adopted these presumptions with respect to the intent to defraud in

connection with a Ponzi scheme. Here, as described, the GPB Defendants, with the substantial

assistance of the remaining GPB Defendants, engaged in a Ponzi scheme in violation of the TSA

involving the issuance of Offering Materials containing material omissions and material

misstatements and the failure to register such Offering Materials under the Securities Act of 1933

and under the TSA.




                                                  219
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 220 of 229




       408.    As shown, Phoenix had actual knowledge of the misrepresentations and omissions

described herein and the illegality of the Offerings which were improperly unregistered. Phoenix

processed payments to GPB/Ascendant insiders and thus knew of their undisclosed co-ownership

of GPB/Ascendant. Phoenix also knew that only approximately 80% of investor capital was

actually credited to investor limited partnership accounts and thus that the monthly NAV

statements to investors prepared and distributed by GPB were false and misleading and part of the

Ponzi scheme. Throughout the Class Period, Phoenix was paid fees which were dramatically in

excess of the value of the Administrator services rendered by them, including unprecedented 20%

fee on open transfer of Funds at the direction of GPB/Ascendant.

       409.    Throughout the Class Period, Phoenix received transfer of Funds made without

adequate consideration being provided on the part of Phoenix.

       410.    The 20% fee described herein was excessive, unearned compensation for which

Phoenix rendered no valuable services.

       411.    Each such transfer of millions of dollars to Phoenix was made without adequate

consideration on the part of Phoenix, because Phoenix did not render reasonably equitable value

in exchange for the transfer of such Funds to it. Instead, such payments were “hush money” to

Phoenix designed to effect Phoenix’s continued participation in the Ponzi scheme.

       412.    The transfer at issue rendered the relevant GPB Defendant insolvent, or left it with

unreasonably small capital in relation to the size of its business, and with debts beyond the relevant

GPB’s investor’s ability to pay as they became due.

       413.    The transfers of the creditors’ assets to Phoenix were made with actual intent to

hinder, delay or defraud creditors, and these constituted fraudulent transfers, were in violation of

TUFTA. GPB and the Funds, with respect to each such transfer, did not receive reasonably



                                                 220
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 221 of 229




equivalent value, or any value, for any of the transfers made herein, and did incur, and intended to

incur, or believed, or reasonably should have believed, that post these transfers, it would incur

debts beyond its ability to pay as they became due, and thus the transfers were and are fraudulent

in violation of TUFTA. The Class is entitled to relief under TUFTA, including legal fees and costs

for bringing this action.

                                        COUNT XI
                                 Breach of Fiduciary Duty
     (Against GPB Capital, Highline, Gentile, and the Managing Partners and Directors24)
,
          414.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          415.   Defendant GPB was, and is, a general partner of the GPB Funds at all times relevant

hereto. GPB was also a registered investment advisor under the IAA. Gentile was GPB’s

managing member.

          416.   As such, GPB and Gentile owed fiduciary duties to the limited partners of the

Funds. Under the IAA, these fiduciary duties could not be waived or otherwise contractually

eliminated.

          417.   Plaintiffs and the Class members were and are limited partners of the Funds, to

whom GPB and Gentile owed fiduciary duties. By law, these Defendants could not limit or seek

waiver of such fiduciary duties.

          418.   As described herein, GPB and Gentile breached their fiduciary duties. Gentile had

serious undisclosed conflicts of interest in that he owned interests in both GPB and the lead broker

or underwriter that was selling the GPB Funds’ securities. In addition, GPB and Gentile did not

disclose the material financial improprieties involving GPB and the Funds’ business and that the


24
  This claim is not asserted against the Managing Partners and Directors in the Complaint filed by the Kinnie Ma
Plaintiffs.

                                                     221
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 222 of 229




account statements being provided to Class members did not accurately reflect the status of their

investment.

          419.   As a direct and proximate result of Gentile’s and GPB’s breach of their fiduciary

duties, Plaintiffs and the Class members were damaged. Highline now manages the day to day

operations of GPB.

          420.   Accordingly, Plaintiffs and the other Class members are entitled to damages in an

amount to be proven at trial.

                                        COUNT XII
                  Substantially Assisting in the Breach of Fiduciary Duty
  (Against Fund Administrator, Broker Defendants,25 GPB Defendants (other than GPB
 Capital),26 GPB Affiliated Defendants, the Auditor Defendants, the Valuation Defendants,
            the CKGF Defendants, and Gentile Pismeny, Schneider and Martino)

          421.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          422.   As set forth above, GPB and Gentile owed fiduciary duties to Plaintiffs and the

members of the Class because they were the general partner and managing member, respectively,

of the Funds in which they invested and were Registered Investment Advisors.

          423.   The Defendants named in this cause of action knew that GPB was a general partner

of the Funds, a Registered Investment Advisor, and knew of Gentile’s role therein. Thus, these

Defendants knew of GPB’s and Gentile’s fiduciary relationship with Plaintiffs and the members

of the Class. Each such Defendant knew that GPB and Gentile breached their fiduciary duties as

discussed herein.



25
  Claims against the Broker Defendants are asserted in the Complaint filed by the Kinnie Ma Plaintiffs only. These
claims are not asserted in the Complaint previously filed by the Barasch Plaintiffs.
26
  The Complaint filed by the Kinnie Ma Plaintiffs does not assert claims against GPB Managed IT Fund (n/k/a Austin
Lake Technologies) or the CKGF Defendants.


                                                      222
          Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 223 of 229




          424.   As described herein, each of these Defendants provided substantial assistance to

GPB in breaching its fiduciary duties by, inter alia, facilitating the sale of, and offering for sale,

the limited partnership interests.

          425.   These Defendants all knew of the fiduciary relationship and Defendants’ breach

thereof. They also knew that they were participating in a breach of GPB’s and Gentile’s fiduciary

relationship.

          426.   As a direct and proximate cause of each of the Fund Administrator’s, Broker

Defendants’, GPB Defendants’ (other than GPB Capital), GPB Affiliated Defendants’, the Auditor

Defendants’, the Valuation Defendants’, Gentile Pismeny’s, Schneider’s, and Martino’s

substantial assistance alleged herein, Plaintiffs and the other Class members were damaged and

are entitled to damages in the amount to be proven at trial.

                                       COUNT XIII
                                         Negligence
                   (Against Fund Administrator and the Auditor Defendants)

          427.   Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

          428.   Each of the Auditor Defendants owed a duty to the limited partners to correctly

audit the Funds’ financial statements. Each such Defendant knew the name and address of each

limited partner of the GPB Funds (i.e., Plaintiffs and the other Class members herein) and

consented that their audit and audit opinion be provided to such limited partners. Instead, the

Auditor Defendants prepared clean audit opinions for financials which were materially incorrect,

and which were later withdrawn. RSM and the other Auditor Defendants failed to comply with

applicable accounting standards and were negligent in preparing their audit opinions.




                                                 223
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 224 of 229




           429.     The Fund Administrator also owed a duty to the limited partners to correctly advise

them of the value of their holdings in the Funds. The Fund Administrator had a privity relationship

with the limited partners as it (a) obtained personal financial information from them through the

Subscription Agreements; (b) provided the limited partners (Plaintiffs and the other Class members

herein) with the Admit Confirmation that advised them that they had been admitted to the

particular GPB limited Partnership (Fund) in which they had invested; (c) directly contacted the

limited partners at their respective homes on a monthly basis with false information as to the value

of their capital accounts; and (d) custodied their assets, including cash paid for the limited

partnership interests. The Fund Administrator breached this duty by reporting the incorrect value

of such limited partners’ capital accounts on a monthly basis. As such, the Fund Administrator

failed to comply with applicable industry standards.

           430.     The Fund Administrator’s breach was knowing at all times the value of such limited

partners’ capital accounts but failing to correctly report it to them to preserve its highly unusual

income stream from GPB.

           431.     As a direct and proximate result of the Fund Administrator’s, and the Auditor

Defendants’ negligence and role in the sale of the limited partnership interests, Plaintiffs and the

members of the Class were damaged in an amount to be proven at trial.

                                               COUNT XIV
                                             Civil Conspiracy
                             (Against All Defendants Except the GPB Funds)27


           432.     Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.



27
     This Count is not asserted in the Complaint filed by the Kinnie Ma Plaintiffs.


                                                           224
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 225 of 229




       433.    The GPB Funds were the vehicle through which all other Defendants—GPB

Capital, Ascendant, Axiom, the GPB Owners, the GPB Principals, the Auditors, EisnerAmper, the

Fund Administrator, and the CKGF Defendants—perpetuated a complex and multi-faceted

scheme to solicit investment income from investors such as Plaintiffs and the class members, and

then extract the proceeds of those investments for their own gain.

       434.    While each of the players or groups of players had their own part in the overall

scheme, and their own particularized income streams derived from their part, taken as a whole this

amounts to a coordinated effort by all Defendants (by and through the Funds) to defraud Plaintiffs

and class members.

       435.    Under Texas law, a civil conspiracy requires “(1) two or more persons; (2) an object

to be accomplished; (3) a meeting of minds on the object or course of action; (4) one or more

unlawful, overt acts; and (5) damages as the proximate result.” Agar Corp., Inc. v. Electro Circuits

Int’l, LLC, 580 S.W.3d 136, 141 (Tex. 2019).

       436.    As set forth in this complaint, dozens of individuals and entities, named as

Defendants in this matter, are involved in some element of the overall scheme.

       437.    The object to be accomplished in this case was clear—to bring in investment

proceeds under false and misleading circumstances, and to then appropriate those assets for their

own benefit at the expense of those investors.

       438.    All Defendants had a meeting of the minds in this matter. They either engaged in

operations that were explicitly and intentionally designed to defraud investors, or had full

information necessary to know that the purpose of the GPB Funds was to defraud investors and

chose nevertheless to participate.

       439.    Defendants, individually and collectively, engaged in numerous unlawful, overt



                                                 225
           Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 226 of 229




acts as set forth in Plaintiffs’ subsequent causes of action.

           440.     Finally, Plaintiffs and class members have lost, collectively over $1.8 billion,

representing the money invested in the GPB Funds that is currently in the hands of Defendants, or

remaining in the funds themselves.

                                            COUNT XV
                   Declaration that Plaintiffs and Class Members are Entitled to
            Rescind their GPB Investments and to Restitution of the Consideration Paid
               (Against Defendants GPB Capital, Highline, And The GPB Funds)28

           441.     Plaintiffs incorporate by reference the preceding paragraphs as if set forth in full

herein.

           442.     On June 30, 2020 GPB Capital filed Form ADV with the SEC disclosing that GPB

Capital had transferred managerial control of the GPB Funds, as well as their underlying portfolio

companies, to Highline Management, Inc.

           443.     The advisory contracts between Plaintiffs and GPB Capital, including but not

necessarily limited to each Plaintiff’s respective subscription and limited partnership agreements,

prohibit GPB Capital from transferring control to another entity without Plaintiffs’ consent.

           444.     GPB Capital’s purported assignments of control without Plaintiffs’ consent voided

the advisory contracts pursuant to Section 215(b) of the Investment Advisors Act of 1940.

           445.     Plaintiffs and Class Members are entitled to rescind the voided advisory contracts.

           446.     Plaintiffs and Class Members are entitled to restitution of the consideration they

paid for the voided advisory contracts.

           447.     GPB Capital, Highline, and the GPB Funds are jointly and severally liable for the

violations set forth in Count Thirteen.

                                             PRAYER FOR RELIEF


28
     This Count is not asserted in the Complaint filed by the Kinnie Ma Plaintiffs.

                                                           226
       Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 227 of 229




       WHEREFORE, Plaintiffs pray for judgment and relief as follows:

       A.        Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure, appointing Plaintiffs as Class representatives and Plaintiffs’ counsel as

Class counsel;

       B.        Awarding compensatory damages to Plaintiffs and the Class against all Defendants,

jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing in an amount

to be determined at trial;

       C.        Awarding Plaintiffs and the Class pre-judgment and post-judgment interest to the

extent permitted by law;

       D.        Rescinding the transaction or granting a rescissory measure of damages to Plaintiffs

and the Class, or granting Plaintiffs and the Class money damages;

       E.        Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees;

       F.        Granting Plaintiffs and the Class appropriate equitable relief; and

       G.        Granting such other and further relief as the Court may deem just and proper.

                                   JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury on all issues so triable.


 Dated: July 1, 2022                             EDMUNDSON SHELTON WEISS PLLC


                                                 By: /s/ Jesse Z. Weiss
                                                        Ryan Shelton
                                                        SBN: 24037484
                                                        Jesse Z. Weiss
                                                        SBN: 24013728
                                                 317 Grace Lane, Suite 210
                                                 Austin, Texas 78746
                                                 Telephone: (512) 596-3058

                                                 227
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 228 of 229




                               Facsimile: (512) 532-6637
                               Email: ryan@eswpllc.com
                                      jesse@eswpllc.com

                               KAPLAN FOX & KILSHEIMER LLP
                               Peter S. Linden (admitted pro hac vice)
                               Jason A. Uris (admitted pro hac vice)
                               850 Third Avenue, 14th Floor
                               New York, New York 10022
                               Telephone: (212) 687-1980
                               Facsimile: (212) 687-7714
                               Email: plinden@kaplanfox.com
                                        juris@kaplanfox.com

                               LAW OFFICES OF RICHARD L. STONE,
                               PLLC
                               Richard L. Stone (admitted pro hac vice)
                               11 East 44th Street, Suite 1900
                               New York, New York 10017
                               Telephone: (561) 358-4800
                               Email: rstoneesq@rstoneesq.com

                               Counsel for the Kinnie Ma Plaintiffs


                               STOLL STOLL BERNE LOKTING &
                               SHLACHTER P.C.


                               /s/ Timothy S. DeJong
                               Timothy S. DeJong (admitted pro hac vice)
                               Email: tdejong@stollberne.com
                               Cody Berne (will seek admission pro hac vice)
                               209 SW Oak Street, Ste. 500
                               Portland, OR 97204
                               Telephone: (503) 227-1600
                               Facsimile: (503) 227-6840

                               PEIFFER WOLF CARR KANE CONWAY
                               & WISE, LLP
                               Joseph Peiffer (pro hac vice)
                               Email: jpeiffer@pwcklegal.com
                               Kevin P. Conway (pro hac vice)
                               Email: kconway@pwcklegal.com
                               Jason J. Kane (pro hac vice)
                               Email: jkane@pwcklegal.com

                               228
Case 1:19-cv-01050-LY Document 916 Filed 07/01/22 Page 229 of 229




                               Daniel B. Centner (pro hac vice)
                               Email: dcentner@pwcklegal.com
                               1519 Robert C. Blakes Sr. Drive
                               New Orleans, LA 70130
                               Telephone: (504) 523-2434
                               Facsimile: (504) 523-2464

                               MEYER WILSON CO., LPA
                               David Meyer (pro hac vice)
                               Email: dmeyer@meyerwilson.com
                               Matthew R. Wilson (pro hac vice)
                               Email: mwilson@meyerwilson.com
                               Michael J. Boyle, Jr. (pro hac vice)
                               Email: mboyle@meyerwilson.com
                               Courtney M. Werning (pro hac vice)
                               Email: cwerning@meyerwilson.com
                               1320 Dublin Road, Ste. 100
                               Columbus, Ohio 43215
                               Telephone: (614) 224-6000
                               Facsimile: (614) 224-6066

                               Counsel for the Barasch Plaintiffs




                               229
